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10
                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12
13   DEBBIE KROMMENHOCK and
                                                    Case No.:
     STEPHEN HADLEY, on behalf of
14   themselves, all others similarly situated, and
                                                    CLASS ACTION
15   the general public,
16                                                  COMPLAINT FOR VIOLATIONS OF
           Plaintiffs,
                                                    CALIFORNIA’S FALSE ADVERITSING
17                                                  LAW, CONSUMERS LEGAL
                         v.
18                                                  REMEDIES ACT, AND UNFAIR
                                                    COMPETITION LAW
19   POST FOODS LLC,
20                                                  DEMAND FOR JURY TRIAL
           Defendant.
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 1         Plaintiffs Debbie Krommenhock and Stephen Hadley, on behalf of themselves, all
 2   others similarly situated, and the general public, by and through their undersigned counsel,
 3   hereby bring this action against Post Foods, LLC (“Post”), and allege the following upon their
 4   own knowledge, or where they lack personal knowledge, upon information and belief
 5   including the investigation of their counsel.
 6                                        INTRODUCTION
 7         1.     The scientific evidence is compelling: Excessive consumption of added sugar is
 8   toxic to the human body. Experimentally sound, peer-reviewed studies and meta-analyses
 9   convincingly show that consuming excessive added sugar—any amount above approximately
10   5% of daily caloric intake—greatly increases the risk of heart disease, diabetes, liver disease,
11   and a wide variety of other chronic morbidity.
12         2.     Despite the compelling evidence that the fructose in sugar acts as a chronic liver
13   toxin, detrimentally affecting health, to increase their price and sales, Post leverages a policy
14   and practice of marketing high-sugar cereals with health and wellness claims. These claims,
15   however, are deceptive because they are incompatible with the significant dangers of the
16   excessive added sugar consumption to which these foods contribute.
17         3.     Plaintiffs bring this action against Post on behalf of themselves, other Post cereal
18   consumers, and the general public, primarily to enjoin Post from continuing to engage in its
19   practice of using deceptive health and wellness claims to market high-sugar cereals.
20                                          THE PARTIES
21         4.     Plaintiff Debbie Krommenhock is a resident of Dublin, California.
22         5.     Plaintiff Stephen Hadley is a resident of Monterey, California.
23         6.     Defendant Post Foods, LLC is a Delaware limited liability corporation with its
24   principal place of business at 2503 S. Hanley Road, St. Louis, Missouri 63144.
25                                 JURISDICTION AND VENUE
26         7.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §
27   1332(d)(2)(A), the Class Action Fairness Act, because the matter in controversy exceeds the
28   sum or value of $5,000,000 exclusive of interest and costs, at least one member of the class
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 1   of plaintiffs is a citizen of a state different from Post. In addition, more than two-thirds of the
 2   members of the class reside in states other than the state in which Post is a citizen and in
 3   which this case is filed, and therefore any exceptions to jurisdiction under 28 U.S.C. § 1332(d)
 4   do not apply.
 5          8.      The Court has personal jurisdiction over Post pursuant to Cal. Code Civ. P. §
 6   410.10, as a result of Post’s substantial, continuous and systematic contacts with the state,
 7   and because Post has purposely availed itself of the benefits and privileges of conducting
 8   business activities within the state.
 9          9.      Venue is proper in the Northern District of California pursuant to 28 U.S.C. §
10   1391(b) and (c), because Post resides (i.e., is subject to personal jurisdiction) in this district,
11   and a substantial part of the events or omissions giving rise to the claims occurred in this
12   district.
13                                INTRADISTRICT ASSIGNMENT
14          10.     Pursuant to N.D. Cal. Civ. L.R. 3-2(c), (d) & 3-5(b), this action is properly
15   assigned to either the San Francisco or Oakland Division because the action arises in Alameda
16   County in that a substantial part of the events or omissions that give rise to plaintiffs’ claims
17   occurred in Alameda County.
18                                                FACTS
19   A.     There Has Been a Recent Rise in Human Sugar Consumption
20          11.     Sugars are sweet, short-chain, soluble carbohydrates. Simple sugars are called
21   monosaccharides, while disaccharides are formed when two monosaccharides undergo a
22   condensation reaction. The three most common sugars in our diets are fructose, glucose, and
23   sucrose. Other sugars, like lactose, found in milk, and maltose, formed during the germination
24   of grains like barley, are not generally consumed in large amounts. Glucose is a
25   monosaccharide that occurs naturally in fruits and plant juices and is the primary product of
26   photosynthesis. Most ingested carbohydrates (like bread and pasta) are converted into glucose
27   during digestion, and glucose is the form of sugar transported around the body in the
28   bloodstream, and used by the cells for energy. Fructose is a monosaccharide that occurs
                                                2
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 1   naturally in fruits and honey. It is the sweetest of the sugars. Sucrose is a disaccharide
 2   comprised of one molecule of glucose chemically linked to one molecule of fructose. It is
 3   found in sugar cane and beets. Common table sugar is sucrose. During digestion and prior to
 4   blood absorption, enzymes called sucrases cleave a sucrose molecule into its constituent parts,
 5   glucose and fructose.
 6             12.     Humans’ consumption of sugar has shifted dramatically over time. Cro-Magnon
 7   men during the Paleolithic age were hunters and gatherers, with a diet mainly comprised of
 8   meat, high in protein, moderate in fat, and low in carbohydrates. Fruits and berries were the
 9   major source of carbohydrates, and starch consumption was low. 1 In 1200 B.C., a process
10   was developed in India for extracting sugar in the form of cane juice called khanda, which is
11   where the word “candy” comes from. For nearly 3,000 years, sugar was rare, reserved for
12   nobility. The invention of the pot still in 1700 A.D., however, allowed mass production of
13   refined sugar. But it was still extraordinarily expensive until the middle of the 18th century,
14   when there was a worldwide growth in sugar production, including in America. Thus, humans
15   have been consuming sugar in substantial amounts for less than 300 years.
16             13.     For most of that time, Americans’ sugar consumption was almost exclusively
17   table sugar, with only small amounts of glucose and fructose ingested from fruit.2 And sugar
18   was a condiment, added to coffee or tea, with control over the amount eaten.
19             14.     In the 1960s, the food industry developed technologies to extract starch from
20   corn, then convert it to glucose, some of which could then be converted to fructose, leading
21   to the development of corn-derived sweeteners, most notably high-fructose corn syrup
22   (HFCS). 3 Although HFCS is comprised of both fructose and glucose, unlike with sucrose, the
23
24   1
      Tappy, L., et al., “Metabolic Effects of Fructose in the Worldwide Increase in Obesity,”
25   Physiology Review, Vol. 90, 23-46, at 24 (2010) [hereinafter “Tappy, Metabolic Effects of
26   Fructose”].
     2
27       Id.
28   3
         Id. (citation omitted).
                                                    3
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 1   fructose is not chemically bound to the glucose in a new molecule. Thus the fructose in HFCS
 2   is referred to as “free” fructose. HFCS can be produced with different fructose-to-glucose
 3   ratios. The most common are HFCS-42 and HFCS-55, containing 42% and 55% fructose.
 4   Some HFCS, however, can be as much as 90% fructose, i.e., HFCS-90. Food manufacturers
 5   have recently begun referring to HFCS-90 on food label ingredients statements as simply
 6   “fructose.”
 7         15.     Fructose is sweeter than either glucose or sucrose. In fruit, it serves as a marker
 8   for foods that are nutritionally rich. Before the development of the worldwide sugar industry,
 9   fructose in the human diet was limited to items like honey, dates, raisins, molasses, figs,
10   grapes, raw apples, apple juice, persimmons, and blueberries (which contain approximately
11   10-15% fructose). Food staples like milk, vegetables, and meat have essentially no fructose.
12   Thus, until relatively recently, human beings have had little dietary exposure to fructose.4
13         16.     But the low cost and long shelf-life of HFCS has contributed to a rapid increase
14   in its consumption over the last 45 years, and thus the consumption of fructose. Between 1970
15   and 2000, the United States’ yearly per capita HFCS consumption went from 0.292 kg per
16   person, to 33.4 kg per person, a greater than 100-fold increase.5
17         17.     Today, the majority of sugars in typical American diets are added to foods during
18   processing, preparation, or at the table.6 The two primary sources of added sugar in processed
19   food are HFCS and sucrose (i.e., granulated sugar used, for example, in baked goods). Added
20
21
22   4
      Bray, G., “How bad is fructose?,” American Journal of Clinical Nutrition, Vol. 86, 895-96
23   (2007) [hereinafter, “Bray, How Bad is Fructose?”].
24   5
       Bray, G.A., et al., “Consumption of high-fructose corn syrup in beverages may play a role
25   in the epidemic of obesity,” American Journal of Clinical Nutrition, Vol. 79, 537-43, at 537,
     540 (2004) [hereinafter “Bray, HFCS Role in Obesity Epidemic”].
26
     6
27     U.S. Dep’t of Agric. & U.S. Dep’t of Health & Human Servs., “Dietary Guidelines for
     Americans,         2010,”         at        27        (2010)        available      at
28   http://www.health.gov/dietaryguidelines/dga2010/DietaryGuidelines2010.pdf.
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 1   sugar is in more than 74% of processed foods, 7 under more than 60 different names. 8
 2   Although the tendency is to associate sugar with sweets, added sugar is found in many savory
 3   processed foods, like bread, soup, and pasta sauce.
 4         18.     There has been a rise over the past 45 years in Americans’ consumption of added
 5   sugars. From 1970 to 2000, there was a 25% increase in available added sugars in the U.S. 9
 6   The American Heart Association found that between 1970 and 2005, sugars available for
 7   consumption increased by an average of 76 calories per day, from 25 teaspoons (400 calories)
 8   to 29.8 teaspoons (476 calories), a 19% increase.10 The Continuing Survey of Food Intake by
 9
     7
10    Ng, S.W., et al., “Use of caloric and non-caloric sweeteners in US consumer packaged foods,
     2005-9, Journal of the Academy of Nutrition and Dietetics, Vol. 112, No. 11, 1828-34 (2012).
11
     8
12     Some examples: Agave nectar, Barbados sugar, Barley malt, Barley malt syrup, Beet sugar,
     Brown sugar, Buttered syrup, Cane juice, Cane juice crystals, Cane sugar, Caramel, Carob
13   syrup, Castor sugar, coconut palm sugar, Coconut sugar, Confectioner’s sugar, Corn
14   sweetener, Corn syrup, Corn syrup solids, Date sugar, Dehydrated case juice, Demerara
     sugar, Dextrin, Dextrose, Evaporated cane juice, Free-flowing brown sugars, Fructose, Fruit
15   juice, Fruit juice concentrate, Glucose, Glucose solids, Golden sugar, Golden syrup, Grape
16   sugar, High-Fructose Corn Syrup (HFCS), Honey, Icing sugar, Invert sugar, Malt syrup,
     Maltodextrin, Maltol, Maltose, Mannose, Maple syrup, Molasses, Muscovado, Palm sugar,
17   Panocha, Powdered sugar, Raw sugar, Refiner’s syrup, Rice syrup, Saccharose, Sorghum
18   Syrup, Sucrose, Sugar (granulated), Sweet Sorghum, Syrup, Treacle, Turbinado sugar, and
     Yellow sugar.
19
     9
       Bray, How Bad is Fructose?, supra n.4, at 895 (citing Havel, P.J., “Dietary fructose:
20   implications for dysregulation of energy homeostasis and lipid/carbohydrate metabolism,
21   Nutrition Reviews, Vol. 63, 133-57 (2005) [hereinafter, “Havel, Dietary Fructose”]).
22   10
       Johnson, R.K., et al., on behalf of the American Heart Association Nutrition Committee of
23   the Council on Nutrition, Physical Activity, and Metabolism and Council on Epidemiology
     and Prevention, “Dietary Sugars Intake and Cardiovascular Health: A Scientific Statement
24   From the American Heart Association,” Circulation, Vol. 120, 1011-20, at 1016-17 (2009)
25   [hereinafter “AHA Scientific Statement”]. See also World Health Organization, Sugars intake
     for    adult   and      children:    Guideline”    (March      4,    2014)   available   at
26   http://www.who.int/nutrition/publications/guidelines/sugars_intake/en (Based on scientific
27   evidence, recommending adults and children reduce daily intake of free sugars to less than
     10% of total energy intake and noting that “[a] further reduction to below 5% or roughly 25
28   grams (6 teaspoons) per say would provide additional health benefits.”).
                                                    5
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 1   Individuals from 1994 to 1996 showed that the average person had a daily added sugars intake
 2   of 79 grams, equal to 316 calories and about 15% of energy intake. Those in the top one-third
 3   of fructose consumption ingested 137 grams of added sugars per day (548 calories, about
 4   26% of energy per day), and those in the top 10% of fructose consumption ingested 178 grams
 5   of fructose per day (712 calories, about 34% of energy). 11
 6            19.      In 2014, researchers analyzing data obtained from National Health and Nutrition
 7   Examination Survey (NHANES) showed that during the most recent period of 2005-2010,
 8   the mean percent of calories from added sugar in the American diet was 14.9%. Most adults,
 9   71.4%, consumed 10% or more of their calories from added sugar, while about 10% of adults
10   consumed 25% or more of their calories from added sugar. 12
11            20.      Today, “the vast majority of the U.S. population exceeds recommended intakes
12   of . . . added sugars.” 13 Despite some reduction in added sugar intake recently, “intakes of
13   added sugars are still very high . . . and are well above recommended limits . . . .” 14
14   Approximately 90% of the population exceeds recommended daily limits.15
15   B.       The Body’s Physiological Response to Excess Sugar Consumption
16            1.       The Body’s Response to Glucose
17            21.      The body needs some glucose, largely to meet the brain’s metabolic demands,
18
19   11
          Bray, How Bad is Fructose?, supra n.4, at 895.
20
     12
       Yang, Quanhe, et al., “Added Sugar Intake and Cardiovascular Diseases Mortality Among
21   US Adults,” Journal of the American Medical Association, at E4-5 (published online Feb. 3,
22   2014) [hereinafter, “Yang, NHANES Analysis”].
23   13
        U.S. Dep’t of Agric. & U.S. Dep’t of Health & Human Servs., “Scientific Report of the
24   2015 Dietary Guidelines Advisory Committee: Advisory Report to the Secretary of Health
     and Human Services and the Secretary of Agriculture,” at 26 (February 2015), available at
25   http://www.health.gov/dietaryguidelines/2015-scientific-report/PDFs/Scientific-Report-of-
26   the-2015-Dietary-Guidelines-Advisory-Committee.pdf.
     14
27        Id. at 38.
28   15
          Id. at 35.
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 1   but also because all living cells use glucose for energy. Blood glucose levels below 25mg/dL
 2   may result in coma, seizure, or death, while levels consistently exceeding 180 mg/dL can
 3   cause long-term damage, including renal failure and atherosclerosis.
 4         22.     For these reasons, blood glucose concentration is tightly-regulated by
 5   homeostatic regulatory systems. When blood glucose rises after a meal, beta cells in the
 6   pancreas secrete insulin into the blood, which helps muscle, fat, and liver cells absorb the
 7   glucose for energy, lowering the blood sugar. Too little blood sugar stimulates the secretion
 8   of hormones that counteract the insulin and thus restore normal blood sugar.16
 9         23.     During certain steps in processing glucose, the body forms fructose. However,
10   unlike with glucose, there is no biological need for dietary fructose, i.e., fructose consumed
11   from food, whether fruit, honey, HFCS, or some other form. Moreover, unlike glucose,
12   fructose does not directly stimulate insulin secretion.
13         24.     The body processes glucose and fructose differently. With little processing,
14   fructose passes through the small intestine, into blood bound for the liver, so that it is taken
15   up nearly 100% for processing in the liver (a characteristic shared by substances commonly
16   referred to as poisons). By contrast, glucose is both “burned up” by cells directly, and
17   processed elsewhere outside the liver, so that the liver must process only 20% of glucose
18   consumed.
19         25.     So much glucose is burned up prior to liver processing, because all the body’s
20   cells contain a transporter that, when stimulated by insulin, takes in glucose from the blood.
21   By contrast, fructose can only be absorbed by cells that contain a different transporter, which
22   most cells lack.
23         26.     The liver is capable of processing relatively small amounts of sugar, meted out
24   slowly. This is one of the reasons that eating the fructose in fruit is not problematic: the fiber
25   slows the sugar’s uptake, and some sugars encased in fiber may not even be released, and
26
     16
27     Ludwig, David S., “The Glycemic Index: Physiological Mechanisms Relating to Obesity,
     Diabetes, and Cardiovascular Disease,” Journal of the American Medical Association, Vol.
28   287, No. 18, 2414-23, at 2415 (May 8, 2002) (citation omitted).
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 1   thus fruit consumption does not overwhelm the liver. Fruit also comes packaged with
 2   nutrients, like vitamins, that are beneficial for health, and sends satiation signals to the brain,
 3   telling it that the body is full.
 4          27.     Because the liver has some capacity to process sugar, there does appear to be a
 5   “safe” threshold of daily added sugar consumption, small enough not to overload the liver:
 6   approximately 5% of calories, or about 38 grams (9 teaspoons, 150 calories) per day for men,
 7   25 grams (6 teaspoons, 100 calories) per day for women, 17 and 12-15 grams (3-6 teaspoons,
 8   50-60 calories) for children depending on age and caloric needs. 18
 9          28.     But the long-term consumption of excess sugar can have dire physiological
10   consequences, acting as a chronic, dose-dependent liver toxin, overloading the liver and
11   causing chronic metabolic disease, also sometimes called metabolic syndrome, a cluster of
12   symptoms that, when present together, increase a person’s risk of chronic disease like
13   cardiovascular disease and type 2 diabetes.
14          29.     When excess sugar consumption overloads the liver, the glucose increases
15   insulin secretion, while the fructose gets turned into liver fat, causing insulin resistance. The
16   combination over time results in rapid and dramatic increases in blood glucose and insulin
17   concentrations. 19 Over time, individuals with frequent insulin secretion may develop insulin
18   resistance, where the body produces insulin but does not use it effectively, so that glucose
19   builds up in the blood instead of being absorbed by the cells. Because the muscle, fat, and
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21   17
        AHA Scientific Statement, supra n.10. Similarly, the World Health Organization
22   recommends that no more than 10% of an adult’s calories—and ideally less than 5%—should
     come from added sugar or from natural sugars in honey, syrups, and fruit juice.
23
     18
       See “How Much Is Too Much?,” at http://www.sugarscience.org/the-growing-concern-of-
24   overconsumption.
25   19
       Janssens, J.P., et al., “Effects of soft drink and table beer consumption on insulin response
26   in normal teenagers and carbohydrate drink in youngsters,” European Journal of Cancer
27   Prevention, Vol. 8, 289-95 (1999) (“In contrast to table beer, consumption of regular soft
     drinks induced a fast and dramatic increase in both glucose and insulin concentration within
28   a maximum 1 hour after consumption.”).
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 1   liver cells do not respond properly to insulin and thus cannot easily absorb glucose from the
 2   bloodstream, the body needs higher levels of insulin. Eventually the pancreas’ beta cells
 3   cannot keep up with this increasing demand, and over time can no longer produce enough
 4   insulin to overcome insulin resistance, so blood glucose levels remain high.
 5            30.     Currently, about two-thirds of the American population is overweight, about
 6   one-quarter to one-third is diabetic or pre-diabetic, and another one-quarter is hypertensive.
 7   Many Americans also have high serum triglycerides. Insulin resistance is a component of all
 8   of these health issues.
 9            31.     Energy deposition into fat cells by insulin stimulate them to secrete a hormone
10   called leptin, which is a natural appetite suppressant that tells the brain the body is full and
11   can stop eating. Generally, glucose suppresses the hunger hormone, ghrelin, and stimulates
12   leptin. But high insulin levels brought on by excess sugar consumption have been linked to
13   leptin resistance, where the brain is desensitized to the hormone and so no longer “hears” the
14   message to stop eating. 20 Because increased insulin makes the body feel hungry, excess sugar
15   consumption can create a vicious cycle in which the more sugar one eats, the hungrier one
16   feels.
17            2.      The Body’s Response to Fructose
18            32.     But it is the fructose, found in most processed foods, that appears to cause the
19   greatest harm in the shortest amount of time. Nearly all added sugars contain significant
20   amounts of fructose. For example, HFCS typically contains nearly 42% or 55% fructose,
21   while table sugar and other sweeteners, like cane sugar, contain 50% fructose.
22            33.     Fructose is the most lipophilic carbohydrate, meaning it easily converts to a
23   form, glycerol, that supports conversion to fats, including free fatty acids, a damaging form
24   of cholesterol called very low-density lipoprotein (VLDL), and triglycerides, which get stored
25   as fat. Studies in humans and animals have shown that fructose is preferentially metabolized
26
     20
27     Shapiro, A., et al., “Fructose-induced leptin resistance exacerbates weight gain in response
     to subsequent high-fat feeding,” American Journal of Physiology, Regulatory, Integrative
28   and Comparative Physiology, Vol. 295, No. 5, R1370-75 (2008).
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 1   to lipid (fat) in the liver, leading to increased triglyceride levels, which are associated with
 2   insulin resistance and cardiovascular disease.21 Fatty acids created during fructose
 3   metabolism accumulate as fat droplets in the liver, also causing insulin resistance, as well as
 4   non-alcoholic fatty liver disease. In addition, when the liver turns excess sugar into liver fat
 5   and becomes insulin resistant, that generates hyperinsulinemia, which drives energy storage
 6   into body fat.
 7         34.     Glucose does not do this. Following consumption of 120 calories of glucose,
 8   less than 1 calorie should be stored as fat, while 120 calories of fructose should result in 40
 9   calories being stored as fat.
10         35.     The metabolism of fructose also creates several waste products and toxins,
11   including uric acid, which drives up blood pressure, causes gout, and is a risk factor for
12   cardiovascular disease because the production of uric acid utilizes nitric oxide, a key
13   modulator of vascular function, and causes inflammation. Experimental human studies
14   confirm that fructose feeding raises serum uric acid levels. 22
15         36.     Moreover, fructose interferes with the brain’s communication with leptin, which
16   may result in overeating. And while glucose suppresses ghrelin, thus reducing hunger,
17   fructose has no effect on ghrelin.
18         3.      The Addiction Response
19         37.     Research shows that, for some people, eating sugar produces characteristics of
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     21
       Elliot, S.S., et al., “Fructose, weight gain, and the insulin resistance syndrome,” American
22   Journal of Clinical Nutrition, Vol. 76, 911-22 (2002) [hereinafter, “Elliot, Fructose & Insulin
23   Resistance”]; Bray, How Bad is Fructose?, supra n.4; Havel, Dietary Fructose, supra n.9.
24   22
       Nguyen, S., et al., “Sugar Sweetened Beverages, Serum Uric Acid, and Blood Pressure in
25   Adolescents,” Journal of Pediatrics, Vol. 154, No. 6, 807-13 (June 2009) (citations omitted)
     [hereinafter, “Nguyen, Serum Uric Acid”]; Johnson, R.J., “Potential role of sugar (fructose)
26   in the epidemic of hypertension, obesity and the metabolic syndrome, diabetes, kidney
27   disease, and cardiovascular disease,” American Journal of Clinical Nutrition, Vol. 86, 899-
     906 (2007); Nakagawa, T., et al., “A causal role for uric acid in fructose-induced metabolic
28   syndrome,” American Journal of Physiology, Vol. 290, F625-31 (2006).
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 1   craving and withdrawal, along with chemical changes in the brain’s reward center, the limbic
 2   region, which can be similar to those of people addicted to drugs like cocaine and alcohol.23
 3   These changes are linked to a heightened craving for more sugar. 24 This can create a vicious
 4   cycle leading to chronic illness.
 5   C.    There Has Been a Dramatic Rise in Obesity & Chronic Disease That Parallels the
 6         Rise in Human Sugar Consumption
 7         38.     As noted above, there was a dramatic rise in Americans’ use of sugar, first in the
 8   mid-18th century, then again starting in the United States in about 1970, with the introduction
 9   into the market of HFCS. Concurrently with these changes in the diet have been alarming
10   rises in obesity and chronic disease.
11         39.     In 1924, New York City health commissioner Haven Emerson noted a seven-
12   fold increase in diabetes rate in the city. In 1931, Dr. Paul Dudley White, a cardiologist at
13   Massachusetts General Hospital, warned of an epidemic of heart disease. And in 1988,
14   scientists learned about the advent of adolescent type 2 diabetes.
15         40.     In 2004, researchers reported their analysis of food consumption patterns from
16   1967 to 2000. Noting that HFCS consumption increased more than 1,000% from 1970 to
17   1990, “far exceeding the changes in intake of any other food or food group,” researchers
18   found this “mirrors the rapid increase in obesity” seen during the same period, as
19   demonstrated in the below graphic.25
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     23
22     Volkow, N.D., et al., “Drug addiction: the neurobiology of behavior gone awry,” Nature
     Reviews Neuroscience, Vol. 5, No. 12, 963-70 (2004); Brownell, K.D., et al., “Food and
23   addiction: A comprehensive handbook,” Oxford University Press (2012).
24   24
        Avena, N., “Evidence for sugar addiction: behavioral and neurochemical effects of
25   intermittent, excessive sugar intake,” Neuroscience Behavior Review, Vol. 52, No. 1, 20-39
     (2008).
26
     25
27      Bray, HFCS Role in Obesity Epidemic, supra n.5, at 537, 540-41 & Table 2; see also
     Flegal, K.M., et al., “Prevalence and trends in obesity among US adults, 1999-2000,” Journal
28   of the American Medical Association, Vol. 288, 1723-27 (2002); Putnam, J.J., et al., “Food
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12         41.     Besides the compelling circumstantial evidence that increased sugar
13   consumption has led to chronic disease, there is substantial research showing the causal
14   mechanisms of disease and demonstrating substantial increased risk of chronic disease with
15   excess sugar consumption.
16   D.    There is Substantial Scientific Evidence That Excess Sugar Consumption Causes
17         Metabolic Syndrome, Cardiovascular Disease, Type 2 Diabetes, and Other
18         Morbidity
19         42.     Research shows that overloading the mitochondria—the energy-burning
20   factories within the cells—in any given organ will manifest various forms of chronic
21   metabolic disease. Whatever organ becomes insulin resistant manifests its own chronic
22   metabolic disease. For example, insulin resistance of the liver leads to type 2 diabetes. Insulin
23   resistance of the brain causes Alzheimer’s disease. Insulin resistance of the kidney leads to
24   chronic renal disease.
25         43.     After artificial trans fat, the chemical that most overloads mitochondria is sugar.
26
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     consumption, prices and expenditures, 1970-97,” U.S. Department of Agriculture Economic
28   Research Service statistical bulletin no. 695 (April 1999).
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 1          1.      Excess Sugar Consumption Causes Metabolic Syndrome
 2          44.     Excess consumption of added sugar leads to metabolic syndrome by stressing
 3   and damaging crucial organs, including the pancreas and liver. When the pancreas, which
 4   produces insulin, becomes overworked, it can fail to regulate blood sugar properly. Large
 5   doses of fructose can overwhelm the liver, which metabolizes fructose. In the process, the
 6   liver will convert excess fructose to fat, which is stored in the liver and released into the
 7   bloodstream. This process contributes to key elements of metabolic syndrome, including high
 8   blood fats and triglycerides, high cholesterol, high blood pressure, and extra body fat,
 9   especially in the belly. 26
10          45.     Metabolic disease has been linked to type 2 diabetes, cardiovascular disease,
11   obesity, polycystic ovary syndrome, nonalcoholic fatty liver disease, and chronic kidney
12   disease, and is defined as the presence of any three of the following:
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                    a.    Large Waist Size (35” or more for women, 40” or more for men);
14
                    b.    High triglycerides (150mg/dL or higher, or use of cholesterol
15                        medication);
16
                    c.    High total cholesterol, or HDL levels under 50mg/dL for women,
17                        and 40 mg for men;
18                  d.    High blood pressure (135/85 mm or higher); or
19
                    e.    High blood sugar (100mg/dL or higher).
20
21          46.     More generally, “metabolic abnormalities that are typical of the so-called
22   metabolic syndrome . . . includ[e] insulin resistance, impaired glucose tolerance, high
23   concentrations of circulating triacylglycerols, low concentrations of HDLs, and high
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27     Te Morenga, L., et al., “Dietary sugars and body weight: systematic review and meta-
     analyses of randomized controlled trials and cohort studies,” BJM (January 2013)
28   [hereinafter, “Te Morenga, Dietary Sugars & Body Weight”].
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 1   concentrations of small, dense LDLs.”27
 2         47.      56 million Americans have metabolic syndrome, or about 22.9% over the age of
 3   20, placing them at higher risk for chronic disease.
 4         48.      In 2010, Harvard researchers published a meta-analysis of three studies,
 5   involving 19,431 participants, concerning the effect of consuming sugar-sweetened
 6   beverages on risk for metabolic syndrome. They found participants in the highest quantile of
 7   1-2 servings per day28 had an average 20% greater risk of developing metabolic syndrome
 8   than did those in the lowest quantile of less than 1 serving per day, showing “a clear link
 9   between SSB consumption and risk of metabolic syndrome . . . .” 29
10         49.      Researchers who studied the incidence of metabolic syndrome and its
11   components in relation to soft drink consumption in more than 6,000 participants in the
12   Framingham Heart Study found that individuals who consumed 1 or more soft drinks per day
13   (i.e., 140-150 calories and 35-37.5 grams of sugar or more) had a 48% higher prevalence of
14   metabolic syndrome than infrequent consumers, those who drank less than 1 soft drink per
15   day. In addition, the frequent-consumer group had a 44% higher risk of developing metabolic
16   syndrome. 30
17         50.      Recently, researchers concluded a study to determine whether the detrimental
18
19   27
       Fried, S.K., “Sugars, hypertriglyceridemia, and cardiovascular disease,” American Journal
20   of Clinical Nutrition, Vol. 78 (suppl.), 873S-80S, at 873S (2003) [hereinafter, “Fried,
     Hypertriglyceridemia”].
21
     28
22     Because 1 sugar-sweetened beverage typically has 140-150 calories and 35-37.5 grams of
     sugar per 12-ounce serving, this is equivalent to between 140 and 300 calories per day, and
23   35 to 75 grams of sugar per day.
24   29
       Malik, Vasanti S., et al., “Sugar-Sweetened Beverages and Risk of Metabolic Syndrome
25   and Type 2 Diabetes,” Diabetes Care, Vol. 33, No. 11, 2477-83, at 2477, 2480-81 (November
     2010) [hereinafter “Malik, 2010 Meta-Analysis”].
26
     30
27     Dhingra, R., et al., “Soft Drink Consumption and Risk of Developing Cardiometabolic Risk
     Factors and the Metabolic Syndrome in Middle-Aged Adults in the Community,”
28   Circulation, Vol. 116, 480-88 (2007) [hereinafter “Dhingra, Cardiometabolic Risk”].
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 1   effects of dietary sugar were due to extremely high dosing, excess calories, or because of its
 2   effects on weight gain, rather than caused by sugar consumption directly. 31 In other words,
 3   the researchers dissociated the metabolic effects of dietary sugar from its calories and effects
 4   on weight gain.
 5            51.     Because the researchers did not want to give subjects sugar to see if they got
 6   sick, they instead took sugar away from people who were already sick to see if they got well.
 7   But if subjects lost weight, critics would argue that the drop in calories or weight loss was the
 8   reason for the clinical improvement. Therefore, the researchers designed the study to by
 9   isocaloric, by giving back to subjects the same number of calories in starch that were taken
10   away in sugar. The study involved 43 children, ages 8 to 19, each obese with at least one
11   other co-morbidity demonstrating metabolic problems. All were high consumers of added
12   sugar in their diets. 32
13            52.     To perform the study, researchers assessed subjects’ home diets by two
14   questionnaires to determine how many calories, and how much fat, protein, and carbohydrate
15   they were eating. Subjects were then tested at a hospital based on their home diets. Then, for
16   the next 9 days, researchers catered the subjects’ meals. The macronutrient percentages of
17   fat, protein, and carbohydrate were not changed. Subjects were fed them the same calories
18   and percent of each macronutrient as their home diet; but within the carbohydrate fraction,
19   researchers took the added sugar out, and substituted starch. For example, researchers took
20   pastries out, and put bagels in; took yogurt out, and put baked potato chips in; took chicken
21   teriyaki out, and put turkey hot dogs in (although subjects were still given whole fruit).
22   Researchers reduced subjects’ dietary sugar consumption from 28% to 10% of calories.
23   Researchers also gave subjects a scale to take home, and each day they would weigh
24
25
     31
       Robert H. Lustig, et al., “Isocaloric Fructose Restriction and Metabolic Improvement in
26   Children with Obesity and Metabolic Syndrome,” Pediatric Obesity, Vol. 24, No. 2, 453-60
27   (Feb. 2016).
28   32
          See id. at 453-54.
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 1   themselves. If they were losing weight, they were instructed to eat more. The goal was for
 2   subjects to remain weight-stable over the 10 days of study. On the final day, subjects came
 3   back to the hospital for testing on their experimental low-added sugar diet. The study team
 4   analyzed the pre- and post-data in a blinded fashion so as not to introduce bias.33
 5            53.     Researchers analyzed three types of data. First, diastolic blood pressure
 6   decreased by 5 points. Second, baseline blood levels of analytes associated with metabolic
 7   disease, such as lipids, liver function tests, and lactate (a measure of metabolic performance)
 8   all improved significantly. Third, fasting glucose decreased by 5 points. Glucose tolerance
 9   improved markedly, and fasting insulin levels fell by 50%. Each of these results was highly-
10   statistically-significant.34
11            54.     In sum, the study indicated that subjects improved their metabolic status in just
12   10 days, even while eating processed food, by just removing added sugar and substituting
13   starch. The metabolic improvement, moreover, was unrelated to changes in weight or body
14   fat.
15            2.      Excess Sugar Consumption Causes Type 2 Diabetes
16            55.     Diabetes affects 25.8 million Americans, and can cause kidney failure, lower-
17   limb amputation, and blindness. In addition, diabetes doubles the risk of colon and pancreatic
18   cancers and is strongly associated with coronary artery disease and Alzheimer’s disease. 35
19            56.     In 2010, Harvard researchers also performed a meta-analysis of 8 studies
20   concerning sugar-sweetened beverage consumption and risk of type 2 diabetes, involving a
21
22   33
          See id. at 454-55.
23
     34
          See id. at 455-56.
24
     35
25      Aranceta Bartrina, J. et al., “Association between sucrose intake and cancer: a review of
     the evidence,” Nutrición Hospitalaria, Vol. 28 (Suppl. 4), 95-105 (2013); Garcia-Jimenez,
26   C., “A new link between diabetes and cancer: enhanced WNT/beta-catenin signaling by high
27   glucose,” Journal of Molecular Endrocrinology, Vol. 52, No. 1 (2014); Linden, G.J., “All-
     cause mortality and periodontitis in 60-70-year-old men: a prospective cohort study,” Journal
28   of Clinical Periodontal, Vol. 39, No. 1, 940-46 (October 2012).
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 1   total of 310,819 participants. They concluded that individuals in the highest quantile of SSB
 2   intake had an average 26% greater risk of developing type 2 diabetes than those in the lowest
 3   quantile.36 Moreover, “larger studies with longer durations of follow-up tended to show
 4   stronger associations.” 37 Thus, the meta-analysis showed “a clear link between SSB
 5   consumption and risk of . . . type 2 diabetes.” 38
 6              57.     An analysis of data for more than 50,000 women from the Nurses’ Health
 7   Study, 39 during two 4-year periods (1991-1995, and 1995-1999), showed, after adjusting for
 8   confounding factors, that women who consumed 1 or more sugar-sweetened soft drink per
 9   day (i.e., 140-150 calories and 35-37.5 grams of sugar), had an 83% greater relative risk of
10   type 2 diabetes compared with those who consumed less than 1 such beverage per month, and
11   women who consumed 1 or more fruit punch drinks per day had a 100% greater relative risk
12   of type 2 diabetes. 40
13              58.     The result of this analysis shows a statistically significant linear trend with
14   increasing sugar consumption.41
15
16   36
          Malik, 2010 Meta-Analysis, supra n.29 at 2477, 2480.
17   37
          Id. at 2481.
18   38
          Id.
19   39
        The Nurses’ Health Study was established at Harvard in 1976, and the Nurses’ Health Study
20   II, in 1989. Both are long-term epidemiological studies conducted on women’s health. The
     study followed 121,700 women registered nurses since 1976, and 116,000 female nurses
21
     since 1989, to assess risk factors for cancer, diabetes, and cardiovascular disease. The Nurses’
22   Health Studies are among the largest investigations into risk factors for major chronic disease
     in women ever conducted. See generally “The Nurses’ Health Study,” at
23
     http://www.channing.harvard.edu/nhs.
24   40
       Schulze, M.B., et al., “Sugar-Sweetened Beverages, Weight Gain, and Incidence of Type
25   2 Diabetes in Young and Middle-Aged Women,” Journal of the American Medical
26   Association, Vol. 292, No. 8, 927-34 (Aug. 25, 2004) [hereinafter “Schulze, Diabetes in
     Young & Middle-Aged Women”].
27   41
       Hu, F.B., et al., “Sugar-sweetened beverages and risk of obesity and type 2 diabetes:
28   Epidemioligic evidence,” Physiology & Behavior, Vol. 100, 47-54 (2010).
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12         59.     A prospective cohort study of more than 43,000 African American women
13   between 1995 and 2001 showed that the incidence of type 2 diabetes was higher with higher
14   intake of both sugar-sweetened soft drinks and fruit drinks. After adjusting for confounding
15   variables, those who drank 2 or more soft drinks per day (i.e., 140-300 calories and 35-75
16   grams of sugar) showed a 24% greater risk of type 2 diabetes, and those who drank 2 or more
17   fruit drinks per day showed a 31% greater risk of type 2 diabetes, than those who drank 1 or
18   less such drinks per month. 42
19         60.     A large cohort study of more than 70,000 women from the Nurses’ Health Study
20   followed for 18 years showed that those who consumed 2 to 3 apple, grapefruit, and orange
21   juices per day (280-450 calories and 75-112.5 grams of sugar) had an 18% greater risk of
22   type 2 diabetes than women who consumed less than 1 sugar-sweetened beverage per month.
23   The data also showed a linear trend with increased consumption, as demonstrated below. 43
24
     42
25     Palmer, J.R., et al., “Sugar-Sweetened Beverages and Incidence of Type 2 Diabetes
     Mellitus in African American Women,” Archive of internal Medicine, Vol. 168, No. 14,
26   1487-82 (July 28, 2008) [hereinafter “Palmer, Diabetes in African American Women”].
27   43
      Bazzano, L.A., et al., “Intake of fruit, vegetables, and fruit juices and risk of diabetes in
28   women,” Diabetes Care, Vol. 31, 1311-17 (2008).
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18          61.     An analysis of more than 40,000 men from the Health Professionals Follow-Up
19   Study, a prospective cohort study conducted over a 20-year period, found that, after adjusting
20   for age and a wide variety of other confounders, those in the top quartile of sugar-sweetened
21   beverage intake had a 24% greater risk of type 2 diabetes than those in the bottom quartile,
22   while consumption of artificially-sweetened beverages, after adjustment, showed no
23   association. 44
24          62.     Most convincingly, an econometric analysis of repeated cross-sectional data
25   published in 2013 established a causal relationship between sugar availability and type 2
26
     44
27     de Konig, L., et al., “Sugar-sweetened and artificially sweetened beverage consumption
     and risk of type 2 diabetes in men,” American Journal of Clinical Nutrition, Vol. 93, 1321-
28   27 (2011).
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 1   diabetes. After adjusting for a wide range of confounding factors, researchers found that an
 2   increase of 150 calories per day related to an insignificant 0.1% rise in diabetes prevalence
 3   by country, while an increase of 150 calories per day in sugar related to a 1.1% rise in diabetes
 4   prevalence by country, a statically-significant 11-fold difference. 45
 5              3.      Excess Sugar Consumption Causes Cardiovascular Disease
 6              63.     Sixteen million Americans have heart disease, which is the number one killer in
 7   the United States. 46
 8              64.     Data obtained from NHANES surveys during the periods of 1988-1994, 1999-
 9   2004, and 2005-2010, after adjusting for a wide variety of other factors, demonstrate that
10   those who consumed between 10% - 24.9% of their calories from added sugars had a 30%
11   greater risk of cardiovascular disease (CVD) mortality than those who consumed 5% or less
12   of their calories from added sugar. In addition, those who consumed 25% or more of their
13   calories from added sugars had an average 275% greater risk of CVD mortality than those
14   who consumed less than 5% of calories from added sugar.47
15              65.     Similarly, when compared to those who consumed approximately 8% of calories
16   from added sugar, participants who consumed approximately 17% - 21% (the 4th quintile) of
17   calories from added sugar had a 38% higher risk of CVD mortality, while the relative risk
18   was more than double for those who consumed 21% or more of calories from added sugar
19   (the 5th quintile). Thus, “[t]he risk of CVD mortality increased exponentially with increasing
20   usual percentage of calories from added sugar,”48 as demonstrated in the chart below.
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     45
       Basu, S., et al., “The Relationship of Sugar to Population-Level Diabetes Prevelance: An
23   Econometric Analysis of Repeated Cross-Sectional Data,” PLOS Online, Vol. 8, Issue 2
24   (February 27, 2013).
25   46
        Gaddam, K.K., et al., “Metabolic syndrome and heart failure—the risk, paradox, and
26   treatment,” Current Hypertension Reports, Vol. 13, No. 2, 142-48 (2011).
     47
27        Yang, NHANES Analysis, supra n.12 at E4-5.
28   48
          Id.
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13            66.      The NHANES analysis also found “a significant association between sugar-
14   sweetened beverage consumption and risk of CVD mortality,” with an average 29% greater
15   risk of CVD mortality “when comparing participants who consumed 7 or more servings/wk
16   (360 mL per serving) with those who consumed 1 serving/wk or less . . . .” 49 The study
17   concluded that “most US adults consume more added sugar than is recommended for a
18   healthy diet. A higher percentage of calories from added sugar is associated with significantly
19   increased risk of CVD mortality. In addition, regular consumption of sugar-sweetened
20   beverages is associated with elevated CVD mortality.” 50
21            67.      The Nurses’ Health Study found that, after adjusting for other unhealthy lifestyle
22   factors, those who consumed two or more sugar-sweetened beverages per day (280 calories
23   and 70 grams of sugar or more) had a 35% greater risk of coronary heart disease compared
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27        Id. at E6.
28   50
          Id. at E8.
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 1   with infrequent consumers. 51
 2         4.      Excess Sugar Consumption Causes Liver Disease
 3         68.     Fructose consumption causes serious liver disease, including non-alcoholic fatty
 4   liver disease (NAFLD), characterized by excess fat build-up in the liver. Five percent of these
 5   cases develop into non-alcoholic steatohepatitis (NASH), scarring as the liver tries to heal its
 6   injuries, which gradually cuts off vital blood flow to the liver. About 25% of NASH patients
 7   progress to non-alcoholic liver cirrhosis, which requires a liver transplant or can lead to
 8   death.52
 9         69.     Since 1980, the incidence of NAFLD and NASH has doubled, along with the
10   rise of fructose consumption, with approximately 6 million Americans estimated to have
11   progressed to NASH and 600,000 to Nash-related cirrhosis. Most people with NASH also
12   have type 2 diabetes. NASH is now the third-leading reason for liver transplant in America.53
13         70.     Moreover, because the liver metabolizes sugar virtually identically to alcohol,
14   the U.S. is now seeing for the first time alcohol-related diseases in children. Conservative
15   estimates are that 31% of American adults, and 13% of American children suffer from
16   NAFLD. 54
17
     51
18    Fung T.T., et al., “Sweetened beverage consumption and risk of coronary heart disease in
     women,” American Journal of Clinical Nutrition, Vol. 89 at 1037-42 (February 2009).
19
     52
20      Farrell, G.C., et al., “Nonalcoholic fatty liver disease: from steatosis to cirrhosis,”
     Hepatology, Vol. 433, No. 2 (Suppl. 1), S99-S112 (February 2006); Powell, E.E., et al., “The
21   Natural History of Nonalcoholic Steatohepatitis: A Follow-up Study of Forty-two Patients
22   for Up to 21 Years,” Hepatology, Vol. 11, No. 1 (1990).
     53
23      Charlton, M.R., et al., “Frequency and outcomes of liver transplantation for nonalcoholic
     steatohepatitis in the United States,” Gastroenterology, Vol. 141, No. 4, 1249-53 (October
24   2011).
25   54
        Lindback, S.M., et al., “Pediatric Nonalcoholic Fatty Liver Disease: A Comprehensive
26   Review,” Advances in Pediatrics, Vol. 57, No. 1, 85-140 (2010); Lazo, M. et al., “The
27   Epidemiology of Nonalcoholic Fatty Liver Disease: A Global Perspective,” Seminars in Liver
     Disease, Vol. 28, No. 4, 339-50 (2008); Schwimmer, J.B., et al., “Prevalence of Fatty Liver
28   in Children and Adolescents,” Pediatrics, Vol. 118, No. 4, 1388-93 (2006); Browning, J.D.,
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 1         5.      Excess Sugar Consumption Causes Obesity
 2         71.     Excess sugar consumption also leads to weight gain and obesity because insulin
 3   secreted in response to sugar intake instructs the cells to store excess energy as fat. This
 4   excess weight can then exacerbate the problems of excess sugar consumption, because excess
 5   fat, particularly around the waist, is in itself a primary cause of insulin resistance, another
 6   vicious cycle. Studies have shown that belly fat produces hormones and other substances that
 7   can cause insulin resistance, high blood pressure, abnormal cholesterol levels, and
 8   cardiovascular disease. And belly fat plays a part in the development of chronic inflammation
 9   in the body, which can cause damage over time without any signs or symptoms. Complex
10   interactions in fat tissue draw immune cells to the area, which triggers low-level chronic
11   inflammation. This in turn contributes even more to insulin resistance, type 2 diabetes, and
12   cardiovascular disease.
13         72.     Based on a meta-analysis of 30 studies between 1966 and 2005, Harvard
14   researchers found “strong evidence for the independent role of the intake of sugar-sweetened
15   beverages, particularly soda, in the promotion of weight gain and obesity in children and
16   adolescents. Findings from prospective cohort studies conducted in adults, taken in
17   conjunction with results from short-term feeding trials, also support a positive association
18   between soda consumption and weight gain, obesity, or both.”55
19         73.     A recent meta-analysis by Harvard researchers evaluating change in Body Mass
20   Index per increase in 1 serving of sugar-sweetened beverages per day found a significant
21   positive association between beverage intake and weight gain.56
22
23   et al., “Prevalence of hepatic steatosis in an urban population in the United States: Impact of
24   ethnicity,” Hepatology, Vol. 40, No. 6, 1387-95 (2004).
     55
25     Malik, V.S., et al., “Intake of sugar-sweetened beverages and weight gain: a systematic
     review,” American Journal of Clinical Nutrition, Vol. 84, 274-88 (2006).
26
     56
27      Malik, V.S., et al., “Sugar-sweetened beverages and BMI in children and adolescents:
     reanalyses of a meta-analysis,” American Journal of Clinical Nutrition, Vol. 29, 438-39
28   (2009).
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 1           74.     One study of more than 2,000 2.5-year-old children followed for 3 years found
 2   that those who regularly consumed sugar-sweetened beverages between meals had a 240%
 3   better chance of being overweight than non-consumers. 57
 4           75.     An analysis of data for more than 50,000 women from the Nurses’ Health Study
 5   during two 4-year periods showed that weight gain over a 4-year period was highest among
 6   women who increased their sugar-sweetened beverage consumption from 1 or fewer drinks
 7   per week, to 1 or more drinks per day (8.0 kg gain during the 2 periods), and smallest among
 8   women who decreased their consumption or maintained a low intake level (2.8 kg gain). 58
 9           76.     A study of more than 40,000 African American women over 10 years had similar
10   results. After adjusting for confounding factors, those who increased sugar-sweetened
11   beverage intake from less than 1 serving per week, to more than 1 serving per day, gained the
12   most weight (6.8 kg), while women who decreased their intake gained the least (4.1 kg).59
13           77.     A study of more than 6,000 participants in the Framingham Heart Study found
14   those who consumed more than 1 soft drink per day had a 31% greater risk of obesity than
15   those who consumed less than 1 soft drink per day. 60
16           78.     The link between sugar intake and weight gain was also demonstrated in a
17   randomized, controlled intervention study, where “[a] simple 12 month school based
18   intervention focused on reducing consumption of carbonated drinks resulted in significant
19   differences in the proportion of overweight children in the control and intervention groups,”
20   as demonstrated in the chart below.
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23   57
        Dubois, L., et al., “Regular sugar-sweetened beverage consumption between meals
24   increases risk of overweight among preschool-aged children,” Journal of the American
     Dietetic Association, Vol. 107, Issue 6, 924-34 (2007).
25
     58
26        Schulze, Diabetes in Young & Middle-Aged Women, supra n.40.
     59
27        Palmer, Diabetes in African American Women, supra n.42.
28   60
          Dhingra, Cardiometabolic Risk, supra n.30.
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10   At a three-year follow-up, however, the significant difference seen between the groups after
11   a year of focused education was no longer evident, with overweight more prevalent in both
12   groups, providing further support for the link between sugar and weight gain. 61
13         79.     Similarly, experimental short-term feeding studies comparing sugar-sweetened
14   beverages to artificially-sweetened beverages have illustrated that consumption of the former
15   leads to greater weight gain. As demonstrated in the chart below, one 10-week trial involving
16   more than 40 men and women demonstrated that the group that consumed daily supplements
17   of sucrose (for 28% of total energy) increased body weight and fat mass, by 1.6 kg for men
18   and 1.3 kg for women, while the group that was supplemented with artificial sweeteners lost
19   weight—1.0 kg for men and 0.3 kg for women. 62
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22   61
        James, J. et al., “Preventing childhood obesity: two year follow-up results from the
23   Christchurch obesity prevention programme in schools (CHOPPS),” BJM, Vol. 335, 762
24   (2007) (discussing James, J., et al., “Preventing childhood obesity by reducing consumption
     of carbonated drinks: cluster randomized controlled trial,” BJM, Vol. 328, 1237 (April 27,
25   2004)).
26   62
        Raben, A., et al., “Sucrose compared with artificial sweeteners: different effects on ad
27   libitum food intake and body weight after 10 wk of supplementation in overweight subjects,”
     American Journal of Clinical Nutrition, Vol. 76, 721-29 (2002) [hereinafter, “Raben, Sucrose
28   vs. Artificial Sweeteners”].
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20         80.     In another, 3-week study, researchers gave normal-weight subjects 1150 grams
21   of soda per day, sweetened with either aspartame or HFCS. The experiment found that
22   drinking artificially-sweetened soda reduced calorie intake and body weight of men, while
23   drinking HFCS-sweetened soda significantly increased calorie intake and body weight of
24   both sexes, as demonstrated in the chart below.63
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26
     63
27     Tordoff, M.G., et al., “Effect of drinking soda sweetened with aspartame or high-fructose
     corn syrup on food intake and body weight,” American Journal of Clinical Nutrition, Vol.
28   51, 963-69 (1990).
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17         6.      Excess Sugar Consumption Causes Inflammation
18         81.     Inflammation has been associated with type 2 diabetes, myocardial infarction,
19   and stroke, as well as weight gain and obesity. 64
20         82.     A 10-week study comparing a group whose sucrose intake was increased by
21   151% to a group whose intake was decreased by 42% showed the former’s blood
22   concentration of the biological markers for inflammation, haptoglobin, transferrin, and C-
23   reactive protein, increased by 13%, 5%, and 6%, respectively, while the later group’s
24
     64
25     Sorensen, L.B., et al., “Effect of sucrose on inflammatory markers in overweight humans,”
     American Journal of Clinical Nutrition, Vol. 82, 421-27 (2005) (citations omitted)
26   [hereinafter, “Sorensen, Inflammatory Markers”]; see also Pearson, T.A., et al., “Markers of
27   Inflammation and Cardiovascular Disease: Application to Clinical and Public Health
     Practice, A Statement for Healthcare Professionals From the Centers for Disease Control and
28   Prevention and the American Heart Association,” Circulation, Vol. 107, 499-511 (2003).
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 1   concentrations decreased by 16%, 2%, and 26% respectively. 65
 2            83.     In a prospective, randomized, controlled crossover trial, 29 subjects were studied
 3   over six 3-week interventions in which they either consumed various amounts of fructose,
 4   glucose, or sucrose, or received dietary advice to consume low amounts of fructose. The study
 5   showed LDL particle size reducing (associated with atherosclerosis) by 0.51 nm after high-
 6   fructose intake (80 grams per day), and by 0.43 nm after high-sucrose intake (also 80 grams
 7   per day). It also found significant increases in fasting glucose and C-reactive protein, leading
 8   the authors to conclude that the “data show potentially harmful effects of low to moderate
 9   consumption of SSBs on markers of cardiovascular risk such as LDL particles, fasting
10   glucose, and [C-reactive protein] within just 3 wk in healthy young men, which is of particular
11   significance for young consumers.” 66
12            84.     In a nested case-control study of 656 cases of type 2 diabetes and 694 controls
13   from the Nurses Study, researchers identified a dietary pattern strongly related to
14   inflammatory markers, which was high in sugar-sweetened soft drinks, showing linear trends
15   across quintiles of dietary pattern for six inflammation markers.
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     65
           Sorensen, Inflammatory Markers, supra n.64.
26
     66
27      Aeberli, I., et al., “Low to moderate sugar-sweetened beverage consumption impairs
     glucose and lipid metabolism and promotes inflammation in healthy young men: a
28   randomized controlled trial,” American Journal of Clinical Nutrition, Vol. 94, 479-85 (2011).
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23           7.      Excess Sugar Consumption Causes High Blood Triglycerides and
24                   Abnormal Cholesterol Levels
25           85.     Fructose facilitates the biochemical formation of triacylglycerols more
26   efficiently than does glucose. 67 This is because fructose metabolism in the liver converts the
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28   67
          Elliot, Fructose & Insulin Resistance, supra n.21.
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 1   fructose to fructose-1-phosphate, which readily becomes a substrate for the backbone of the
 2   triglyceride molecule. 68 As compared to starches, sugars—particularly sucrose and
 3   fructose—tend to increase serum triacylglycerol concentrations by about 60%. 69
 4            86.     Cholesterol is a waxy, fat-like substance found in the body’s cells, used to make
 5   hormones, bile acids, vitamin D, and other substances. The human body manufactures all the
 6   cholesterol it requires, which circulates in the bloodstream in packages called lipoproteins.
 7   Excess cholesterol in the bloodstream can become trapped in artery walls, building into
 8   plaque and narrowing blood vessels, making them less flexible, a condition called
 9   atherosclerosis. When this happens in the coronary arteries, it restricts oxygen and nutrients
10   to the heart, causing chest pain or angina. When cholesterol-rich plaques in these arteries
11   burst, a clot can form, blocking blood flow and causing a heart attack.
12            87.     Most blood cholesterol is low-density lipoprotein, or LDL cholesterol, which is
13   sometimes called “bad” cholesterol because it carries cholesterol to the body’s tissues and
14   arteries, increasing the risk of heart disease. High-density lipoprotein, or HDL cholesterol, is
15   sometimes called “good” cholesterol because it removes excess cholesterol from the
16   cardiovascular system, bringing it to the liver for removal. Thus, a low level of HDL
17   cholesterol increases the risk of heart disease.
18            88.     Diet affects blood cholesterol. For example, the body reacts to saturated fat by
19   producing LDL cholesterol.
20            89.     When the liver is overwhelmed by large doses of fructose, it will convert excess
21   to fat, which is stored in the liver and then released into the bloodstream, contributing to key
22   elements of metabolic syndrome, like high blood fat and triglycerides, high total cholesterol,
23   and low HDL “good” cholesterol.70
24
25   68
       Bray, G.A., “Soft Drinks and Obesity: The Evidence,” CMR e-Journal, Vol. 2, Issue, 2,
26   10-14, at 13 (Oct. 2009).
     69
27        Fried, Hypertriglyceridemia, supra n.27, at 873S.
28   70
          Te Morenga, Dietary Sugars & Body Weight, supra n.26.
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 1            90.     A study of more than 6,000 participants in the Framingham Heart Study found
 2   those who consumed more than 1 soft drink per day had a 25% greater risk of
 3   hypertriglyceridemia, and 32% greater risk of low HDL cholesterol than those who consumed
 4   less than 1 soft drink per day. 71
 5            91.     A systematic review and meta-analysis of 37 randomized controlled trials
 6   concerning the link between sugar intake and blood pressure and lipids found that higher
 7   sugar intakes, compared to lower sugar intakes, significantly raised triglyceride
 8   concentrations, total cholesterol, and low density lipoprotein cholesterol.72
 9            92.     A cross-sectional study among more than 6,100 U.S. adults from the NHANES
10   1999-2006 data were grouped into quintiles for sugar intake as follows: (1) less than 5% of
11   calories consumed from sugar, (2) 5% to less than 10%, (3) 10% to less than 17.5%, (4) 17.5%
12   to less than 25%, and (5) 25% or more. These groups had the following adjusted mean HDL
13   levels (because HDL is the “good” cholesterol, higher levels are better): 58.7 mg/dL, 57.5,
14   53.7, 51.0, and 47.7. Mean triglyceride levels were 105 mg/dL, 102, 111, 113, and 114. Mean
15   LDL levels were 116 mg/dL, 115, 118, 121, and 123 among women, with no significant trend
16   among men. Consumers whose sugar intake accounted for more than 10% of calories had a
17   50% - 300% higher risk of low HDL levels compared to those who consumed less than 5%
18   of calories from sugar. Likewise, high-sugar consumers had greater risk of high triglycerides.
19   All relationships were linear as demonstrated in the charts below. 73
20   ///
21   ///
22   ///
23
     71
24         Dhingra, Cardiometabolic Risk, supra n.30.
     72
25     Te Morenga, L., et al., “Dietary sugars and cardiometabolic risk: systematic review and
     meta-analyses of randomized controlled trials on the effects on blood pressure and lipids,”
26   American Journal of Clinical Nutrition, Vol. 100, No. 1, 65-79 (May 7, 2014).
27   73
       Welsh, J.A., et al., “Caloric Sweetener Consumption and Dyslipidemia Among US Adults,”
28   Journal of the American Medical Association, Vol. 303, No. 15, 1490-97 (April 21, 2010).
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 9         93.     One experimental study showed that, when a 17% fructose diet was provided to
10   healthy men, they showed an increase in plasma triacylglycerol concentrations of 32%. 74
11         94.     Another 10-week experimental feeding study showed that those who were fed
12   25% of their energy requirements as fructose experienced increases in LDL cholesterol, small
13   dense LDL cholesterol, and oxidized LDL cholesterol, as well as increased concentrations of
14   triglycerides and total cholesterol, while those fed a 25% diet of glucose did not experience
15   the same adverse effects.75
16         95.     In a cross-sectional study of normal weight and overweight children aged 6-14,
17   researchers found that “the only dietary factor that was a significant predictor of LDL particle
18   size was total fructose intake.”76
19         8.      Excess Sugar Consumption is Associated with Hypertension
20         96.     A study of more than 6,000 participants in the Framingham Heart Study found
21   those who consumed more than 1 soft drink per day had a 22% greater incidence, and an 18%
22
23   74
       Bantle, J.P., et al., “Effects of dietary fructose on plasma lipids in healthy subjects,”
24   American Journal of Clinical Nutrition, Vol. 72, 1128-34 (2000).
     75
25     Stanhope, K.L., et al., “Consuming fructose-sweetened, not glucose-sweetened, beverages
     increases visceral adiposity and lipids and decreases insulin sensitivity in overweight/obese
26   humans,” The Journal of Clinical Investigation, Vol. 119, No. 5, 1322-34 (May 2009).
27   76
       Aeberli, I., et al., “Fructose intake is a predictor of LDL particle size in overweight
28   schoolchildren,” American Journal of Clinical Nutrition, Vol. 86, 1174-78 (2007).
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 1   greater risk of high blood pressure than those who consumed less than 1 soft drink per day. 77
 2           97.     An analysis of the NHANES data for more than 4,800 adolescents also showed
 3   a positive, linear association between sugar-sweetened beverages and higher systolic blood
 4   pressure, as well as corresponding increases in serum uric acid levels. 78
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19           98.     In one study, 15 healthy men drank 500 ml water containing either no sugar, 60
20   grams of fructose, or 60 grams of glucose. Blood pressure, metabolic rate, and autonomic
21   nervous system activity were measured for 2 hours. While the administration of fructose was
22   associated with an increase in both systolic and diastolic blood pressure, blood pressure did
23   not rise in response to either water or glucose ingestion, as demonstrated in the chart below.79
24
25   77
          Dhingra, Cardiometabolic Risk, supra n.30.
26   78
          Nguyen, Serum Uric Acid, supra n.22.
27   79
       Brown, C.M., et al., “Fructose ingestion acutely elevates blood pressure in healthy young
28   humans,” Am. J. Physiol. Regul. Integr. Compl. Physiol., Vol. 294, R730-37 (2008).
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21           99.     In another study, more than 40 overweight men and women were supplemented
22   for 10 weeks with either sucrose or artificial sweeteners. The sucrose group saw an increase
23   in systolic and diastolic blood pressure, of 3.8 and 4.1 mm Hg, respectively, while the
24   artificial sweetener group saw a decrease in systolic and diastolic blood pressure, of 3.1 and
25   1.2 mm Hg, respectively. 80
26           100. Another study took a variety of approaches to measuring the association between
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28   80
          Raben, Sucrose vs. Artificial Sweeteners, supra n.62.
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 1   sugar intake and blood pressure, concluding that an increase of 1 serving of sugar-sweetened
 2   beverages per day (i.e., 140-150 calories, and 35-37.5 grams of sugar) was associated with
 3   systolic/diastolic blood pressure differences of +1.6 and +0.8 mm Hg (and +1.1/+0.4 mm Hg
 4   with adjustment for height and weight), while an increase of 2 servings results in
 5   systolic/diastolic blood pressure differences of +3.4/+2.2, demonstrating that the relationship
 6   is direct and linear.81
 7          9.     Excess Sugar Consumption is Associated with Alzheimer’s Disease,
 8                 Dementia, and Cognitive Decline
 9          101. In a study of over 2,000 participants over 6.8 years, researchers found that higher
10   average glucose levels within the preceding 5 years (115 mg/dL compared to 100 mg/dL)
11   were related to an 18% increased risk of dementia among those without diabetes. For those
12   with diabetes, higher average glucose levels (190 mg/dL compared to 160 mg/dL) were
13   related to a 40% increased risk of dementia. 82
14          102. “To evaluate a possible association between fructose mediated metabolic
15   changes and cognitive behaviour,” researchers “assessed the correlation of serum triglyceride
16   and insulin resistance levels with memory,” and “found a positive correlation between serum
17   triglyceride levels and insulin resistance index . . . , which indicates that increased serum
18   triglyceride levels may contribute to increase[d] insulin resistance . . . .” And researchers
19   “found that the latency time varied in proportion to the insulin resistance . . . , which suggests
20   that memory performance may rely on levels of insulin resistance . . . .” 83
21
22   81
       Brown, I.J., et al., “Sugar-Sweetened Beverage, Sugar Intake of Individuals, and Their
23   Blood Pressure: International Study of Macro/Micronutrients and Blood Pressure,”
24   Hypertension, Vol. 57, 695-701 (2011).
     82
25     Crane, P.K, et al., “Glucose Levels and Risk of Dementia,” New England Journal of
     Medicine, Vol. 369, No. 6, 540-48 (2013).
26
     83
27     Agrawal, R., et al., “‘Metabolic syndrome’ in the brain: deficiency in omega-3 fatty acid
     exacerbates dysfunctions in insulin receptor signaling and cognition,” Journal of Physiology,
28   Vol. 590, No. 10, 2485-99, at 2489 (2012).
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 1         10.     Excess Sugar Consumption is Linked to Some Cancers
 2         103. In a population-based case-control study involving 424 cases and 398 controls,
 3   women in the highest quartile of added sugar intake had an 84% greater risk of endometrial
 4   cancer.84 Similarly, in a study of patients with stage 3 colon cancer, those in the highest
 5   quintile of glycemic load experienced worsening in disease-free survival of approximately
 6   80% compared to those in the lowest quintile.85
 7         104. A population based case-control study on Malaysian women found a significant,
 8   two-fold increased risk of breast cancer among premenopausal and postmenopausal women
 9   in the highest quartile of sugar intake.86
10         105. A prospective epidemiological study of nearly 45,000 cancer cases among
11   436,000 participants aged 50-71, found added sugars were positively associated with risk of
12   esophageal adenocarcinoma; added fructose was associated with risk of small intestine
13   cancer; and all investigated sugars were associated with increased risk of pleural cancer. 87
14   E.    There is Substantial Evidence That Consuming Artificial Trans Fat—Found in
15         Some Post Cereals—is Detrimental to Health
16         106. Artificial trans fat is created through the industrial process of hydrogenation, in
17   which hydrogen atoms are added to normal vegetable oil by heating it in the presence of an
18   ion donor catalyst metal, like nickel. The process was invented in 1901 by German scientist
19
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     84
       King, M.G., et al., “Consumption of Sugary Foods and Drinks and Risk of Endometrial
21   Cancer,” Cancer Causes Control, Vol. 24, No. 7, 1427-36 (July 2013).
22   85
       Meyerhardt, J.A., et al. “Association of dietary patterns with cancer recurrence and survival
23   in patients with stage III colon cancer,” Journal of the American Medical Association, Vol.
24   298, 754-64 (2007).
     86
25     Sulaiman, S., et al., “Dietary carbohydrate, fiber and sugar and risk of breast cancer
     according to menopausal status in Malaysia,” Asian Pacific Journal of Cancer Prevention,
26   Vol. 15, 5959 (2014)
27   87
       Tasevska, N., et al., “Sugars in diet and risk of cancer in the NIH-AARP Diet and Health
28   Study,” International Journal of Cancer, Vol. 130, No. 1, 159-69 (Jan. 1, 2012)
                                                    36
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 1   Wilhelm Normann. The resulting partially hydrogenated vegetable oil (or PHVO) is useful
 2   in manufacturing packaged foods because, unlike natural fat which needs refrigeration for
 3   rigidity or else liquefies, trans fat remains solid at room temperature.
 4         107. Human beings, however, have not evolved to digest this artificial fat. Instead, it
 5   is readily incorporated into organ and blood cells in place of natural fats with devastating
 6   consequences, causing and exacerbating cardiovascular disease, type-2 diabetes and cancer.
 7   When trans fat invades blood cell walls, for example, their ability to recognize and use insulin
 8   is retarded, leading to excessive blood sugar and insulin swings, and eventually to diabetes.
 9   And for existing diabetics, trans fat exacerbates symptoms and causes cognitive decline. By
10   disfiguring the body’s cells, trans fat also interferes with the immune system’s ability to
11   distinguish the body’s cells from foreign infections, causing it to become persistently
12   overactive, a condition known as chronic systemic inflammation, damaging nearly every
13   human organ.
14         108. But it is the deleterious effects of trans fat on the cardiovascular system that
15   presents the gravest public health danger. Analysis of the Nurses’ Health Study data shows
16   risk of coronary heart disease doubles for each 2% increase in trans fat calories consumed.88
17   And a wide variety of experimentally sound, peer-reviewed studies convincingly demonstrate
18   that consuming even small quantities of artificial trans fat greatly increases incidences of
19   death from cancer, diabetes, and heart disease.89
20
     88
21     Hu, F.B., et al., “Dietary Fat Intake and the Risk of Coronary Heart Disease in Women,”
     New England Journal of Medicine, Vol. 337, No. 2, at 1491-99 (Nov. 20, 1997).
22
     89
23     Koppe, S. et al., “Trans fat feeding results in higher serum alanine aminotransferase and
     increased insulin resistance compared with a standard murine high-fat diet,” American
24   Journal of Physiology, Gastriointestinal and Liver Physiology, Vol. 297 at G378 (2009);
25   Wang, Y. et al., “Trans-11 Vaccenic Acid Dietary Supplementation Induces Hypolipidemic
     Effects on JCR:LA-cp Rats,” Journal of Nutrition, Vol. 138, at 2117 (Nov. 2008); Chajès,
26   V., et al., “Association between Serum Trans-Monounsaturated Fatty Acids and Breast
27   Cancer Risk in the E3N-EPIC Study,” American Journal of Epidemiology, Vol. 167 at 1312
     (2008); Vinikoor, L.C. , et al., “Consumption of Trans-Fatty Acid and its Association with
28   Colorectal Adenomas,” American Journal of Epidiemiology, Vol. 168, at 181 (2007); Liu,
                                                   37
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 1         109. Epidemiologists estimate that artificial trans fat consumption contributes to as
 2   many as 100,000 otherwise preventable American deaths each year. 90
 3         110. In November 2013, the FDA issued a Tentative Determination Regarding
 4   Partially Hydrogenated Oils, in which it stated:
 5         Based on new scientific evidence and the findings of expert scientific panels,
 6         the Food and Drug Administration (FDA) has tentatively determined that
           partially hydrogenated oils (PHOs), which are the primary dietary source of
 7         industrially-produced trans fatty acids, or trans fat, are not generally
 8         recognized as safe (GRAS) for any use in food based on current scientific
           evidence establishing the health risks associated with the consumption of
 9         trans fat . . . .
10         [...]
11
           The current scientific evidence . . . identifies significant health risks caused
12         by the consumption of trans fat. This evidence includes the opinions of expert
13
     X., et al., “Trans-Fatty Acid Intake and Increased Risk of Advanced Prostate Cancer:
14   Modification by RNASEL R462Q Variant,” Carcinogenesis, Vol. 28, at 1232 (2007);
15   Mozaffairan, D., et al., “Trans Fatty Acids and Cardiovascular Disease,” New England
     Journal of Medicine, Vol. 354, at 1601 (2006); Chavarro, J., et al., “A Prospective Study of
16   Blood Trans Fatty Acid Levels and Risk of Prostate Cancer,” Proceedings of the American
17   Association of Cancer Research, Vol. 47, at 95 (2006); Clifton, P.M., et al., “Trans Fatty
     Acids In Adipose Tissue And The Food Supply Are Associated With Myocardial Infarction,”
18   Journal of Nutrition, Vol. 134, at 874 (2004); Lemaitre, R.N., et al., “Cell Membrane Trans-
19   Fatty Acids and the Risk of Primary Cardiac Arrest,” Circulation, Vol. 105, at 697 (2002);
     Salmeron, J., et al., “Dietary Fat Intake and Risk of Type 2 Diabetes in Women,” American
20   Journal of Clinical Nutrition, Vol. 73, at 1019 (2001); De Roos, N.M., et al., “Replacement
21   of Dietary Saturated Fatty Acids by Trans Fatty Acids Lowers Serum HDL Cholesterol and
     Impairs Endothelial Function in Healthy Men and Women,” Arteriosclerosis, Thrombosis,
22   and Vascular Biology, Vol. 21, at 1233 (2001); Ascherio, A., et al., “Trans Fatty Acids &
23   Coronary Heart Disease,” New England Journal of Medicine, Vol. 340, at 94 (1999)
     [hereinafter “Ascherio, Replacement of Dietary Saturated Fat with Trans Fat”]; Willet, W.C.,
24   et al., “Trans Fatty Acids: Are the Effects only Marginal?,” American Journal of Public
25   Health, Vol. 84, at 722 (1994).
26   90
       Ascherio, Replacement of Dietary Saturated Fat with Trans Fat, supra n.89 (Removing 2%
27   of daily calories from trans fat from the American diet “would prevent approximately 30,000
     premature coronary deaths per year, and epidemiologic evidence suggests this number is
28   closer to 100,000 premature deaths annually.”).
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 1         panels and the 2005 recommendation of the Institute of Medicine (IOM) to
           limit trans fat consumption as much as possible while consuming a
 2
           nutritionally adequate diet . . . . In addition, according to the Centers for
 3         Disease Control and Prevention (CDC), elimination of PHOs from the food
           supply could prevent 10,000 to 20,000 coronary events and 3,000 to 7,000
 4
           coronary deaths annually . . . . Given this evidence, we have tentatively
 5         determined that there is no longer a consensus among qualified scientific
           experts that PHOs, the primary dietary source of industrially-produced trans
 6
           fatty acids, are safe for human consumption, either directly or as ingredients
 7         in other food products.
 8   75 Fed. Reg. 67169, 67169 (Nov. 8, 2013).
 9               POST’S MARKETING & SALE OF HIGH-SUGAR CEREALS
10         111. Post was founded in 1895, in Battle Creek, Michigan. Post is a multi-billion
11   dollar food company that manufactures, markets and sells a wide variety of breakfast cereals.
12   It is the United States’ third-largest cereal manufacturer behind Kellogg and General Mills.
13         112. Post’s largest brand, Honey Bunches of Oats, was the third-best selling cereal in
14   2015, behind just General Mills’ Honey Nut Cheerios and Kellogg’s Frosted Flakes, enjoying
15   sales of $411 million, a 4% share of the country’s $8.9 billion market.
16         113. In 2014, the cereal industry used 816 million pounds of sugar, or about 2.5 lbs.
17   for each of the 318.9 million people in the U.S. in 2014. That is 1,134 grams per person, or 3
18   grams per person, per day, for every man, woman, and child in the U.S. That totals more than
19   361 billion grams of sugar in one year.
20         114. During the last decade, as consumer interest in healthy eating has grown, and
21   based on sophisticated consumer research, Post has intentionally positioned itself in the
22   market as a purportedly “healthy” brand of processed food, by using various labeling
23   statements to suggest its cereals are healthy food choices.
24         115. Many of Post’s cereals, however, contain high amounts of sugar, such that their
25   regular consumption is likely to contribute to excess added sugar consumption and, thereby,
26   increased risk for and contraction of chronic disease.
27         116. As with any company the size of Post, and with as many products, Post makes
28   occasional changes in product offerings (for example, discontinuing or introducing new
                                                39
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 1   products or varieties), product formulations, and product labeling and packaging.
 2         117. Regardless of such changes, however, during the previous four years and dating
 3   back even further into at least the mid-2000s, Post has maintained, and to this day actively
 4   maintains a policy and practice of labeling high-sugar cereals—those that contribute
 5   significantly more than 5% of calories from sugar, and thus whose regular consumption is
 6   likely to contribute to increased risk of illness—with various health and wellness claims that
 7   suggest the cereals are healthy, when they are not.
 8         118. Post bolsters this practice with websites dedicated to the products that repeat and
 9   in some instances state even more aggressive health and wellness claims.
10         119. This policy and practice is apparent in Post’s consistent use of certain words and
11   phrases across many cereals, flavors, varieties, and packaging. For example, this Complaint
12   details a non-exclusive set of misleading statements made in the labeling of 54 different Post
13   cereals. Among those statements:
14                a.    The phrase “whole grain” appears more than 125 times;
15                b.    The word “fiber” appears more than 75 times
16                c.    The word “nutrition” or “nutritious” appears more than 50 times;
17                d.    The word “natural” appears more than 35 times;
18                e.    The word “wholesome” appears more than 30 times;
19                f.    The word “healthy” appears more than 20 times;
20                g.    The phrase “multi grain” appears more than 20 times;
21                h.    The phrase “no high fructose corn syrup” appears more than 20 times;
22                i.    The phrase “less processed” appears more than 20 times;
23                j.    The word “balance” or “balanced” appears 15 times.
24                k.    The phrase “good for you” or “good for your family” appears more than
25         10 times
26                l.    The word “benefit” or “benefits” appears more than 10 times.
27                m.    The phrase “whole food(s) from the field to your bowl” appears
28         approximately 10 times.
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 1         120. Although plaintiffs were victims of Post’s longtime and general policy and
 2   practice with respect to the cereals they purchased and labels they saw, this Complaint and
 3   their claims are not so limited; rather, plaintiffs seek through this lawsuit to enjoin Post’s
 4   policy and practice generally, including but not necessarily limited to the products, labels,
 5   and label claims challenged herein.
 6         121. In fact, plaintiffs have enjoyed Post’s products in the past. If they could be
 7   assured through prospective injunctive relief that, if a Post cereal’s label sets forth health and
 8   wellness claims, the product does not contain excess sugar, they would consider purchasing
 9   Post cereals bearing such claims in the future.
10         122. Further, if plaintiffs could be assured that unhealthy Post cereals—those high in
11   added sugar—are appropriately priced, rather than artificially inflated in price due to Post’s
12   use of misleading health and wellness claims, plaintiffs might, under certain circumstances,
13   consider purchasing such Post cereals in the future, “eyes wide open,” for example to
14   consume in careful moderation as a reward or treat, to accommodate food allergies or
15   preferences for guests, or due to cost, convenience, or circumstances beyond control, such as
16   when only certain food is available.
17         123. The cereals that are the subject of this Complaint and examples of Post’s policy
18   and practice of marketing high-sugar cereals with misleading health and wellness claims, are
19   the following:
20                a.     Post Selects/Great Grains Cereals
                            (i.) Selects Blueberry Morning
21
                            (ii.) Great Grains Blueberry Morning
22                          (iii.) Selects Cranberry Almond Crunch
                            (iv.) Selects/Great Grains Cranberry Almond Crunch
23
                            (v.) Great Grains Cranberry Almond Crunch
24                          (vi.) Selects Banana Nut Crunch
                            (vii.) Great Grains Banana Nut Crunch
25
                            (viii.) Selects/Great Grains Raisins, Dates & Pecans
26                          (ix.) Great Grains Raisins, Dates & Pecans
                            (x.) Selects Maple Pecan Crunch
27
                            (xi.) Selects/Great Grains Crunchy Pecans
28                          (xii.) Great Grains Crunchy Pecans
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 1              (xiii.) Great Grains Blueberry Pomegranate
                (xiv.) Digestive Blend: Vanilla Graham
 2
                (xv.) Digestive Blend: Berry Medley
 3              (xvi.) Protein Blend: Honey, Oats & Seeds
                (xvii.) Protein Blend: Cinnamon Hazelnut
 4
 5     b.    Post Honey Bunches of Oats Cereals
                (i.) Honey Roasted
 6              (ii.) Raisin Medley
 7              (iii.) With Almonds
                (iv.) With Pecan Bunches
 8              (v.) With Cinnamon Bunches
 9              (vi.) With Apples & Cinnamon Bunches
                (vii.) With Vanilla Bunches
10              (viii.) With Real Strawberries
11              (ix.) With Real Peaches
                (x.) Fruit Blends – Banana Blueberry
12              (xi.) Fruit Blends – Peach Raspberry
13              (xii.) Tropical Blends – Mango Coconut
                (xiii.) Whole Grain Honey Crunch
14              (xiv.) Whole Grain with Vanilla Bunches
15              (xv.) Greek Honey Crunch
                (xvi.) Greek Mixed Berry
16              (xvii.) Morning Energy Cinnamon Crunch
17              (xviii.) Morning Energy Chocolatey Almond Crunch
                (xix.) Honey Roasted Granola
18              (xx.) Raspberry Granola
19              (xxi.) Cinnamon Granola
                (xxii.) Protein Granola with Dark Chocolate
20
       c.    Post Shredded Wheat
21
                (i.) Honey Nut
22              (ii.) Crunch!
                (iii.) Lightly Frosted
23
24     d.    Post Good Morenings Cereals
                (i.) Cocoa Cinnamon Crunch
25              (ii.) Strawberry and Crème
26              (iii.) Berry Loops
                (iv.) Waffle Crunch
27              (v.) Vanilla O’s
28              (vi.) Frosted Flakes
                                    42
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 1                e.     Single-Variety Post Cereals
                            (i.) Raisin Bran
 2
                            (ii.) Bran Flakes
 3                          (iii.) Alpha-Bits
                            (iv.) Golden Crisp
 4
                            (v.) Honeycomb
 5                          (vi.) Waffle Crisp
 6         124. Although discussed more specifically below, annexed to this Complaint as
 7   Appendix 1 is a table setting forth for each challenged cereal:
 8                a.     the health and wellness labeling claims plaintiffs challenge as misleading;
 9                b.     the forms of sweeteners (added sugars) used;
10                c.     the amount of sugar in each serving;
11                d.     the proportion of sugar by weight in each serving;
12                e.     the proportion of the product’s calories that come from sugar; and
13                f.     the contribution of the product’s sugar to the AHA’s maximum
14         recommended daily added sugar intake for men (M), women (W), and children (C).
15         125. The information set forth in Appendix 1 is made on the best information
16   available at the time of filing. However, in certain cases some aspects of the table in Appendix
17   1 may be incomplete or inaccurate. Plaintiffs expressly reserve the right to amend their
18   specific challenges, following discovery, based on information currently exclusively in Post’s
19   possession, custody, and control.
20   A.    Post Selects/Great Grains Cereals
21         126. Post has long sold a line of cereals, in several varieties, under its “Selects” line.
22         127. Starting in about 2011, Post transitioned certain varieties from its “Selects” line
23   to its “Great Grains” line. In or around 2014, Post expanded the Great Grains line by adding
24   Digestive Blend and Protein Blend varieties.
25         128. Regardless of the variety, during at least the past four years and continuing
26   today, Post maintained and maintains a policy and practice of labeling Selects/Great Grains
27   cereals with health and wellness claims.
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 1         1.     Selects Blueberry Morning
 2         129. Two versions of the front of the packaging, and the back of Post Selects
 3   Blueberry Morning cereal are pictured below.
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 1         130. The packaging of Post Selects Blueberry Morning has made at least the
 2   following claims suggesting, both individually and especially in the context of the label as a
 3   whole, that the product is healthy:
 4                a.     “Nutrition Benefits”
 5                b.     “multi grain Flakes & Clusters”
 6                c.     Whole Grains Council Stamp
 7                d.     “we blend together these blueberries, bursting with flavor, with the perfect
 8         crunch of nutritious multi grain flakes, granola clusters and specially selected almonds”
 9         2.     Great Grains Blueberry Morning
10         131. The front of the packaging of Post Great Grains Blueberry Morning cereal is
11   pictured below.
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26         132. The packaging of Post Great Grains Blueberry Morning has made at least the
27   following labeling claims suggesting, both individually and especially in the context of the
28   label as a whole, that the product is healthy:
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 1                a.    “Great Grains”
 2                b.    “Less processed nutrition you can see”
 3                c.    “nutritious Blueberries”
 4                d.    “multi grain Flakes & Clusters”
 5                e.    “Why less processed? Quite simply, because it’s good for you!”
 6                f.    “We gently crack the whole wheat berry and add a mix of grains to our
 7         flakes, while some of the competition add artificial sweeteners and flavors along with
 8         isolated fiber to their flakes. We then add in nutritious fruits and nuts and balance them
 9         with our grains for a great taste that’s irresistible. The result? A crispy, delicious, less
10         processed whole grain cereal that’s a good source of fiber.”
11         3.     Selects Cranberry Almond Crunch
12         133. The front of the packaging of Post Selects Cranberry Almond Crunch cereal is
13   pictured below.
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27         134. The packaging of Post Selects Cranberry Almond Crunch has made at least the
28   following labeling claims suggesting, both individually and especially in the context of the
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 1   label as a whole, that the product is healthy:
 2                a.     “nutrition benefits”
 3                b.     “multi grain Flakes & Clusters”
 4         4.     Selects/Great Grains Cranberry Almond Crunch
 5         135. Post transitioned its Selects Cranberry Almond Crunch cereal to its “Great
 6   Grains” line, but for some time maintained packaging that straddled both lines. Two versions
 7   of the packaging of Post Selects/Great Grains Cranberry Almond Crunch are pictured below.
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24         136. The packaging of Post Selects/Great Grains Cranberry Almond Crunch has
25   made at least the following labeling claims suggesting, both individually and especially in
26   the context of the label as a whole, that the product is healthy:
27                a.     “nutritious CRANBERRIES”
28                b.     “fiber packed multi grain FLAKES & CLUSTERS”
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 1                c.     “scoops of wholesome ALMONDS”
 2                d.     Whole Grains Council Stamp
 3         5.     Great Grains Cranberry Almond Crunch
 4         137. Two versions of the front of the packaging, and the back of the packaging of
 5   Post Great Grains Cranberry Almond Crunch is pictured below.
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19         138. The packaging of Post Great Grains Cranberry Almond Crunch has made at
20   least the following labeling claims suggesting, both individually and especially in the context
21   of the label as a whole, that the product is healthy:
22                a.     “Great Grains”
23                b.     “Less processed nutrition you can see”
24                c.     “scoops of wholesome Almonds”
25                d.     “nutritious Cranberries”
26                e.     “fiber packed multi grain Flakes & Clusters”
27                f.     “Why less processed? Quite simply because it’s good for you!”
28                g.     “We gently crack the whole wheat berry and add a mix of grains to our
                                                48
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 1         flakes, while some of the competition add artificial sweeteners and flavors along with
 2         isolated fiber to their flakes. We then add in nutritious fruits and nuts and balance them
 3         with our grains for a great taste that’s irresistible. The result? A crispy, delicious, less
 4         processed whole grain cereal that’s high in natural fiber.”
 5                h.     “Our delicious flakes, made with whole grain wheat, barley and oats are
 6         combined with nutritious cranberries, multigrain clusters and scoops of wholesome
 7         almonds.”
 8                i.     “It’s whole foods from the field to your bowl, with whole grains, fiber and
 9         nutritious ingredients in every bite!”
10         6.     Selects Banana Nut Crunch
11         139. The packaging of Post Selects Banana Nut Crunch is pictured below.
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26         140. The packaging of Post Selects Banana Nut Crunch has made at least the
27   following labeling claims suggesting, both individually and especially in the context of the
28   label as a whole, that the product is healthy:
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 1               a.    “nutrition benefits”
 2               b.    “real bananas baked into MULTI GRAIN CLUSTERS”
 3               c.    “multi grain FLAKES”
 4        7.     Great Grains Banana Nut Crunch
 5        141. Two versions of the front of the packaging, and the back of the packaging of
 6   Post Great Grains Banana Nut Crunch are pictured below.
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20         142. The packaging of Post Great Grains Banana Nut Crunch has made at least the
21   following labeling claims suggesting, both individually and especially in the context of the
22   label as a whole, that the product is healthy:
23                a.     “Great Grains”
24                b.     “Less processed nutrition you can see”
25                c.     “scoops of wholesome Walnuts”
26                d.     “scoops wholesome Almonds”
27                e.     “real bananas baked into multi grain Flakes & Clusters”
28                f.     “Why less processed? Quite simply, because it’s good for you!”
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 1                g.    “We gently crack the whole wheat berry and add a mix of grains to our
 2         flakes, while some of the competition add artificial sweeteners and flavors along with
 3         isolated fiber to their flakes. We then add in nutritious fruits and nuts and balance them
 4         with our grains for a great taste that’s irresistible. The result? A crispy, delicious, less
 5         processed whole grain cereal that’s high in natural fiber.”
 6                h.    “Our delicious flakes, made with whole grain wheat, barley and oats are
 7         combined with real bananas baked into multi grain clusters and scoops of wholesome
 8         walnuts and almonds.”
 9                i.    “It’s whole foods from the field to your bowl, with whole grains, fiber and
10         nutritious ingredients in every bite!”
11                j.    Whole Grains Council Stamp
12         8.     Selects/Great Grains Raisins, Dates & Pecans
13         143. The front of the packaging of Post Selects/Great Grains Raisins, Dates &
14   Pecans is pictured below.
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 1         144. The packaging of Post Selects/Great Grains Raisins, Dates & Pecans has made
 2   at least the following labeling claims suggesting, both individually and especially in the
 3   context of the label as a whole, that the product is healthy:
 4                a.     “nutrition benefits”
 5                b.     “naturally sweet RAISINS & DATES”
 6                c.     “multi grain FLAKES & CLUSTERS”
 7         9.     Great Grains Raisins, Dates & Pecans
 8         145. The front and back of the packaging of Post Great Grains Raisins, Dates &
 9   Pecans is pictured below.
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 1         146. The packaging of Post Great Grains Raisins, Dates & Pecans has made at least
 2   the following labeling claims suggesting, both individually and especially in the context of
 3   the label as a whole, that the product is healthy:
 4                 a.    “Great Grains”
 5                 b.    “Less processed nutrition you can see”
 6                 c.    “scoops of wholesome Pecans”
 7                 d.    “naturally nutritious Raisins & Dates”
 8                 e.    “fiber rich whole grain Flakes & Clusters”
 9                 f.    “Why less processed? Quite simply, because it’s good for you!”
10                 g.    “We gently steam, roll and bake our whole grains to help maintain the full
11         flavor and nutrition of our flakes, while some of the competition add artificial
12         sweeteners and flavors along with isolated fiber to their flakes. We then add in
13         nutritious fruits and nuts and balance them with our grains for a great taste that’s
14         irresistible. The result? A crispy, delicious, less processed whole grain cereal that’s
15         high in natural fiber.”
16                 h.    “Our delicious flakes are combined with naturally nutritious raisins and
17         dates, multi grain clusters and scoops of wholesome pecans.”
18                 i.    “It’s whole foods from the field to your bowl, with whole grains, fiber and
19         nutritious ingredients in every bite!”
20                 j.    Whole Grains Council Stamp
21         10.     Selects Maple Pecan Crunch
22         147. The front of the packaging of Post Selects Maple Pecan Crunch is depicted
23   below.
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18         148. The packaging of Post Selects Maple Pecan Crunch has made at least the
19   following labeling claims suggesting, both individually and especially in the context of the
20   label as a whole, that the product is healthy:
21                 a.    “nutrition benefits”
22                 b.    “multi grain FLAKES”
23                 c.    “multi grain CLUSTERS”
24         11.     Selects/Great Grains Crunchy Pecans
25         149. Post transitioned its Selects Maple Pecan Crunch cereal to its “Great Grains”
26   line (changing the product slightly to “Crunchy Pecan” flavor), but for some time maintained
27   packaging that straddled both lines. The packaging of Post Selects/Great Grains Crunchy
28   Pecans is pictured below.
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17         150. The packaging of Post Selects/Great Grains Crunchy Pecans has made at least
18   the following labeling claims suggesting, both individually and especially in the context of
19   the label as a whole, that the product is healthy:
20                a.     “scoops of wholesome PECANS”
21                b.     “fiber rich whole grain FLAKES”
22                c.     “multi grain CLUSTERS”
23                d.     Whole Grain Council stamp
24                e.     “features wholesomely sweet pecans”
25                f.     “contains several heart-healthy ingredients, making it a good choice for
26         breakfast each morning”
27                g.     “a smart, filling choice”
28                h.     “The crunchy pecans add protein for a balanced diet”
                                                 56
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 1                 i.    “Visit postcereals.com and click on ‘get recipes’ to make yummy,
 2         wholesome snacks your whole family will enjoy.”
 3         12.     Great Grains Crunchy Pecans
 4         151. The front and back of the packaging of Post Great Grains Crunchy Pecans is
 5   pictured below.
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21         152. The packaging of Post Great Grains Crunchy Pecans has made at least the
22   following labeling claims suggesting, both individually and especially in the context of the
23   label as a whole, that the product is healthy:
24                 a.    “Great Grains”
25                 b.    “Less processed nutrition you can see”
26                 c.    “multi grain Clusters”
27                 d.    “scoops of wholesome Pecans”
28                 e.    “fiber rich whole grain Flakes”
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 1                f.    “Why less processed? Quite simply, because it’s good for you!”
 2                g.    “We gently steam, roll and bake our whole grains to help maintain the full
 3        flavor and nutrition of our flakes, while some of the competition add artificial
 4        sweeteners and flavors along with isolated fiber to their flakes. We then add in
 5        nutritious fruits and nuts and balance them with our grains for a great taste that’s
 6        irresistible. The result? A crispy, delicious, less processed whole grain cereal that’s
 7        high in natural fiber.”
 8                h.    “Our delicious flakes are combined with multi grain clusters and scoops
 9        of wholesome pecans.”
10                i.    “It’s whole foods from the field to your bowl, with whole grains, fiber and
11        nutritious ingredients in every bite!”
12        13.     Great Grains Blueberry Pomegranate
13        153. The front and back of the packaging of Post Great Grains Blueberry
14   Pomegranate is depicted below.
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 1         154. The packaging of Post Great Grains Blueberry Pomegranate has made at least
 2   the following labeling claims suggesting, both individually and especially in the context of
 3   the label as a whole, that the product is healthy:
 4                 a.    “Great Grains”
 5                 b.    “Less processed nutrition you can see”
 6                 c.    “real Pomegranate Juice”
 7                 d.    “nutritious Blueberries”
 8                 e.    “fiber packed multi grain Flakes & Clusters”
 9                 f.    “Why less processed? Quite simply, because it’s good for you!”
10                 g.    “We gently steam, roll and bake our whole grains to help maintain the full
11         flavor and nutrition of our flakes, while some of the competition add artificial
12         sweeteners and flavors along with isolated fiber to their flakes. We then add in
13         nutritious fruits and nuts and balance them with our grains for a great taste that’s
14         irresistible. The result? A crispy, delicious, less processed whole grain cereal that’s
15         high in natural fiber.”
16                 h.    “Our delicious whole grain flakes are combined with multi grain clusters,
17         naturally nutritious blueberries, and cranberries with real pomegranate juice.”
18                 i.    “It’s whole foods from the field to your bowl, with whole grains, fiber and
19         nutritious ingredients in every bite!”
20         14.     Great Grains Digestive Blend: Vanilla Graham
21         155. The front and back of the packaging of Post Great Grains Digestive Blend:
22   Vanilla Graham cereal packaging appears below.
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17         156. The packaging of Post Great Grains Digestive Blend: Vanilla Graham has made
18   at least the following labeling claims suggesting, both individually and especially in the
19   context of the label as a whole, that the product is healthy:
20                a.     “Great Grains”
21                b.     “nutritious Whole Grain Barley”
22                c.     “SUPPORTS HEALTHY DIGESTION”
23                d.     “Our delicious flakes made with whole grain wheat, whole grain barley
24         and whole grain oats are combined with our signature granola and sweetened with a
25         hint of vanilla flavor. With 41g of whole grain, 7g of fiber and active cultures, Great
26         Grains Digestive Blend cereal provides whole food from the field to your bowl, with
27         nutritious ingredients in every bite! Great Grains Digestive Blend cereal blends whole
28         grain, fiber and active cultures - three key ingredients to help support a healthy
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 1         digestive system.”
 2                 e.    “Support and Maintain a Healthy Digestive System”
 3                 f.    “By consuming at least 48g of whole grains per day, you can support
 4         healthy digestion and reduce the risk of several chronic diseases like heart disease and
 5         diabetes. The Great Grains Digestive Blend cereal has 41g of whole grain which is
 6         more than 85% of the daily recommended amount!”
 7                 g.    “Nine out of 10 Americans are not getting enough fiber. Health
 8         professionals recognize that eating fiber provides important benefits like promoting
 9         laxation and supporting healthy digestion. Dieticians recommend that most adults
10         consume at least 25g of fiber daily. With Digestive Blend cereal, you are taking a smart
11         step towards a healthy digestive system. Make sure to choose a diet that is rich in a
12         variety of fiber containing foods such as cereals, whole grains, fruits, vegetables and
13         legumes. New Grains Digestive Blend cereal is an excellent source of fiber with 7g of
14         fiber which is more than a quarter of your daily recommended requirement.”
15                 h.    “Our digestive system normally has what we would call ‘good’ bacteria
16         and ‘bad’ bacteria. Maintaining the correct balance between the ‘good’ bacteria and
17         the ‘bad’ bacteria is necessary for optimal digestive health. Things like medications,
18         diet and your environment can upset that balance. The Active cultures delivered in
19         Great Grains Digestive Blends are the ‘good’ bacteria that can help support digestive
20         health.”
21                 i.    “New Great Grains Digestive Blend cereal has active cultures along with
22         whole grains and a diet right in fiber can help support a healthy digestive system.”
23         15.     Great Grains Digestive Blends: Berry Medley
24         157. The front and back of the packaging of Post Great Grains Digestive Blend:
25   Berry Medley is depicted below.
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17         158. The packaging of Post Great Grains Digestive Blend: Berry Medley has made
18   at least the following labeling claims suggesting, both individually and especially in the
19   context of the label as a whole, that the product is healthy:
20                a.     “Great Grains”
21                b.     “Clusters made with real fruit juice”
22                c.     “nutritious whole grain barley”
23                d.     “multi grain flakes”
24                e.     “SUPPORTS HEALTHY DIGESTION”
25                f.     “Our delicious flakes made with whole grain wheat, whole grain barley
26         and whole grain oats are combined with our signature granola and sweetened with a
27         hint of berry juice. With 43g of whole grain, 7g of fiber and active cultures, Great
28         Grains Digestive Blend cereal provides whole food from the field to your bowl, with
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 1         nutritious ingredients in every bite!”
 2                 g.    “Support and Maintain a Healthy Digestive System”
 3                 h.    “By consuming at least 48g of whole grains per day, you can support
 4         healthy digestion and reduce the risk of several chronic diseases like heart disease and
 5         diabetes. The Great Grains Digestive Blend cereal has 43g of whole grain which is
 6         more than 85% of the daily recommended amount!”
 7                 i.    “Nine out of 10 Americans are not getting enough fiber. Health
 8         professionals recognize that eating fiber provides important benefits like promoting
 9         laxation and supporting healthy digestion. Dieticians recommend that most adults
10         consume at least 25g of fiber daily. With Digestive Blend cereal, you are taking a smart
11         step towards a healthy digestive system. Make sure to choose a diet that is rich in a
12         variety of fiber containing foods such as cereals, whole grains, fruits, vegetables and
13         legumes. New Grains Digestive Blend cereal is an excellent source of fiber with 7g of
14         fiber which is more than a quarter of your daily recommended requirement.”
15                 j.    “Our digestive system normally has what we would call ‘good’ bacteria
16         and ‘bad’ bacteria. Maintaining the correct balance between the ‘good’ bacteria and
17         the ‘bad’ bacteria is necessary for optimal digestive health. Things like medications,
18         diet and your environment can upset that balance. The Active cultures delivered in
19         Great Grains Digestive Blends are the ‘good’ bacteria that can help support digestive
20         health.”
21         16.     Great Grains Protein Blend: Honey, Oats & Seeds
22         159. Two versions of the front of the packaging, and the back of the packaging of
23   Post Great Grains Protein Blend: Honey, Oats & Seeds are depicted below.
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14         160. A later version of the front of the packaging of Post Great Grains Protein Blend:
15   Honey, Oats & Seeds is depicted below.
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 1         161. The packaging of Post Great Grains Protein Blend: Honey, Oats & Seeds has
 2   made at least the following labeling claims suggesting, both individually and especially in
 3   the context of the label as a whole, that the product is healthy:
 4                a.     “Great Grains”
 5                b.     “HELPS SUPPORT A HEALTHY METABOLISM”
 6                c.     “scoops of wholesome Almonds”
 7                d.     “nutritious Pumpkin Seeds”
 8                e.     “fiber packed multi grain Flakes & Clusters”
 9                f.     “Our delicious flakes, made with whole grain wheat, barley and oats are
10         sweetened with a kiss of honey and combined with scoops of nutritious pumpkin seeds,
11         almonds, and multi grain clusters studded with sunflower seeds.”
12                g.     “It’s whole foods from the field to your bowl, with nutritious ingredients
13         in every bite!”
14                h.     “Support a Healthy Metabolism”
15                i.     “The process of metabolism establishes the rate at which we burn our
16         calories and, ultimately, how quickly we gain weight or how easily we lose it. Although
17         some factors affecting metabolic rate, like age and genetics can’t be changed, there are
18         ways to maximize your metabolism.” Breakfast: Eat breakfast. One important part of
19         metabolism is how many calories you burn while at rest; did you know that eating
20         breakfast to ‘break the fast’ can increase your metabolism by as much as 10%? Start
21         your day with the less processed whole grain nutrition of Great Grains Protein Blend
22         to help jumpstart your metabolism.” Protein: Eat protein. Did you know that protein
23         generally requires about 25% more energy to digest? Because protein takes longer to
24         breakdown than fat and carbohydrate, the body uses more energy to digest protein and
25         this helps you burn more calories. As a good source of protein, Great Grains Blend can
26         actually help enhance your metabolism!” [ . . . ] Fiber: Consume fiber. Diets rich in
27         fiber help keep you fuller longer which is important for weight management. Great
28         Grains Protein Blend can help keep you satisfied with the staying power of an excellent
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 1         source of fiber.”
 2         17.     Great Grains Protein Blend: Cinnamon Hazelnut
 3         162. Two versions of the front, and the back of the packaging of Post Great Grains
 4   Protein Blend: Cinnamon Hazelnut are depicted below.
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 1         163. The packaging of Post Great Grains Protein Blend: Cinnamon Hazelnut has
 2   made at least the following labeling claims suggesting, both individually and especially in
 3   the context of the label as a whole, that the product is healthy:
 4                a.     “Great Grains”
 5                b.     “HELPS SUPPORT A HEALTHY METABOLISM”
 6                c.     “scoops of wholesome Almonds”
 7                d.     “nutritious Hazelnuts”
 8                e.     “fiber packed multi grain Flakes & Clusters”
 9                f.     “Why Less Processed? Quite simply because it’s good for you!”
10                g.     “less processed whole grain cereal”
11                h.     “We gently crack the whole wheat berry and add a mix of grains to our
12         flakes, while some of the competition add artificial sweeteners, flavors or isolated
13         fibers to their flakes. We then add in nutritious nuts and balance them with our grains
14         for a great taste that's irresistible. The result? A crispy, delicious, less processed whole
15         grain cereal that's high in natural fiber.”
16                i.     “Our delicious flakes, made with whole grain wheat, barley and oats are
17         combined with scoops of wholesome hazelnuts, almonds, and multi grain clusters with
18         real cinnamon.”
19                j.     “It’s whole foods from the field to your bowl, with nutritious ingredients
20         in every bite!”
21                k.     “Support a Healthy Metabolism”
22                l.     “The process of metabolism establishes the rate at which we burn our
23         calories and, ultimately, how quickly we gain weight or how easily we lose it. Although
24         some factors affecting metabolic rate, like age and genetics can’t be changed, there are
25         ways to maximize your metabolism.” Breakfast: Eat breakfast. One important part of
26         metabolism is how many calories you burn while at rest; did you know that eating
27         breakfast to ‘break the fast’ can increase your metabolism by as much as 10%? Start
28         your day with the less processed whole grain nutrition of Great Grains Protein Blend
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 1         to help jumpstart your metabolism.” Protein: Eat protein. Did you know that protein
 2         generally requires about 25% more energy to digest? Because protein takes longer to
 3         breakdown than fat and carbohydrate, the body uses more energy to digest protein and
 4         this helps you burn more calories. As a good source of protein, Great Grains Blend can
 5         actually help enhance your metabolism!” [ . . . ] Fiber: Consume fiber. Diets rich in
 6         fiber help keep you fuller longer which is important for weight management. Great
 7         Grains Protein Blend can help keep you satisfied with the staying power of an excellent
 8         source of fiber.”
 9                  m.   Whole Grains Council Stamp
10         164. These health and wellness claims, individually and especially in the context of
11   the packaging as a whole, affirmatively suggest the Great Grains Protein Blend: Cinnamon
12   Hazelnut is healthy, and particularly that it is formulated to increase metabolism and promote
13   weight loss.
14   B.    Post Honey Bunches of Oats Cereal and Granola
15         1.       Honey Roasted
16         165. Different versions of the front of the packaging, and the side panel of the
17   packaging of Post Honey Bunches of Oats Cereal – Honey Roasted are depicted below.
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 1         166. The packaging of Post Honey Bunches of Oats Cereal – Honey Roasted has
 2   made at least the following labeling claims suggesting, both individually and especially in
 3   the context of the label as a whole, that the product is healthy:
 4                a.     “Our Post Promise | No High Fructose Corn Syrup”
 5                b.     Depiction of whole grains and a heart in two adjacent circles
 6                c.     “a Touch of Honey!”
 7                d.     “A delicious, wholesome start to your day!”
 8                e.     “4 Wholesome  Grains”
 9                f.     “Made with Natural Wildflower Honey”
10                g.     Whole Grains Council Stamp
11         2.     Raisin Medley
12         167. Two versions of the packaging of Post Honey Bunches of Oats Cereal – Raisin
13   Medley are depicted below.
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28         168. The packaging of Post Honey Bunches of Oats Cereal – Raisin Medley has made
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 1   at least the following labeling claims suggesting, both individually and especially in the
 2   context of the label as a whole, that the product is healthy:
 3                a.     “4 Wholesome  Grains”
 4                b.     “a Touch of Honey!”
 5                c.     “Made with Natural Wildflower Honey”
 6                d.     “WITH MULTI-GRAIN FLAKES”
 7                e.     “With three different kinds of sun-ripened raisins, crispy multigrain flakes
 8         and crunchy oat clusters, new Raisin Medley provides the perfect harmony of a
 9         wholesome breakfast and tasty morning treat.”
10                f.     “Each one-cup serving of heart- healthy Honey Bunches of Oats Raisin
11         Medley provides 12 grams of whole grains, nine essential vitamins and minerals, and
12         contains zero grams of trans fat, saturated fat or cholesterol.”
13                g.     Whole Grains Council Stamp
14         3.     With Almonds
15         169. Two versions of the packaging of Post Honey Bunches of Oats Cereal – With
16   Almonds are depicted below.
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 1         170. The packaging of Post Honey Bunches of Oats Cereal – With Almonds has made
 2   at least the following labeling claims suggesting, both individually and especially in the
 3   context of the label as a whole, that the product is healthy:
 4                a.     Depiction of whole grains and a heart in two adjacent circles
 5                b.     “a Touch of Honey!”
 6                c.     Whole Grains Council Stamp
 7                d.     “A delicious, wholesome start to your day!”
 8                e.     “Our Post Promise | No High Fructose Corn Syrup”
 9                f.     “4 Wholesome  Grains”
10                g.     “Made with Natural Wildflower Honey”
11         4.     With Pecan Bunches
12         171. Different versions of the packaging of Post Honey Bunches of Oats Cereal –
13   With Pecan Bunches are depicted below.
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25         172. The packaging of Post Honey Bunches of Oats Cereal – With Pecan Bunches
26   has made at least the following labeling claims suggesting, both individually and especially
27   in the context of the label as a whole, that the product is healthy:
28                a.     “a Touch of Honey!”
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 1                b.     “nutrition benefits”
 2                c.     Depiction of whole grains and a heart in two adjacent circles
 3                d.     “Delicious…and Nutritious Too!”
 4                e.     “4 Wholesome  Grains”
 5                f.     “Made with Natural Wildflower Honey”
 6                g.     Whole Grains Council Stamp
 7         5.     With Cinnamon Bunches
 8         173. Two versions of the packaging of Post Honey Bunches of Oats Cereal – With
 9   Cinnamon Bunches are depicted below.
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25         174. The packaging of Post Honey Bunches of Oats Cereal – With Cinnamon
26   Bunches has made at least the following labeling claims suggesting, both individually and
27   especially in the context of the label as a whole, that the product is healthy:
28                a.     “Our Post Promise | No High Fructose Corn Syrup”
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 1                b.     Depiction of whole grains and a heart in two adjacent circles
 2                c.     “a Touch of Honey!”
 3                d.     “A delicious wholesome start to your day!”
 4                e.     Whole Grain Council stamp
 5         6.     With Vanilla Bunches
 6         175. Two versions of the packaging of Post Honey Bunches of Oats Cereal – With
 7   Vanilla Bunches are depicted below.
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23         176. The packaging of Post Honey Bunches of Oats Cereal – With Vanilla Bunches
24   has made at least the following labeling claims suggesting, both individually and especially
25   in the context of the label as a whole, that the product is healthy:
26                a.     “Our Post Promise | No High Fructose Corn Syrup”
27                b.     Depiction of whole grains and a heart in two adjacent circles
28                c.     “a Touch of Honey!”
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 1                d.      “Over 2/3 of your day’s Whole Grain”
 2                e.      “WHOLE GRAIN FLAKES”
 3         7.     With Apples & Cinnamon Bunches
 4         177. The packaging of Post Honey Bunches of Oats Cereal – With Apples &
 5   Cinnamon Bunches is depicted below.
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13         178. The packaging of Post Honey Bunches of Oats Cereal – With Apples &
14   Cinnamon Bunches has made at least the following labeling claims suggesting, both
15   individually and especially in the context of the label as a whole, that the product is healthy:
16                a.      “Made with Real Apple Slices”
17                b.      “Made with Natural Wildflower Honey”
18                c.      Whole Grains Council Stamp
19         8.     With Real Strawberries
20         179. The packaging of Post Honey Bunches of Oats Cereal – With Real Strawberries
21   is depicted below.
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 1         180. The packaging of Post Honey Bunches of Oats Cereal – With Real Strawberries
 2   has made at least the following labeling claims suggesting, both individually and especially
 3   in the context of the label as a whole, that the product is healthy:
 4                 a.    “4 Wholesome  Grains”
 5                 b.    “Made with Natural Wildflower Honey”
 6                 c.    Whole Grains Council Stamp
 7         9.      With Real Peaches
 8         181. Two versions of the packaging of Post Honey Bunches of Oats Cereal – With
 9   Real Peaches are depicted below.
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19         182. The packaging of Post Honey Bunches of Oats Cereal – With Real Peaches has
20   made at least the following labeling claims suggesting, both individually and especially in
21   the context of the label as a whole, that the product is healthy:
22                 a.    “Delicious…and Nutritious Too!”
23                 b.    “LIGHTLY SWEETENED CEREAL”
24                 c.    “BAKED with a TOUCH OF HONEY”
25                 d.    “Touch of Honey!”
26                 e.    Depiction of whole grains and a heart in two adjacent circles
27         10.     Fruit Blends – Banana Blueberry
28         183. Two versions of the packaging of Post Honey Bunches of Oats Cereal – Fruit
                                              75
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 1   Blends – Banana Blueberry are depicted below.
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18         184. The packaging of Post Honey Bunches of Oats Cereal – Fruit Blends – Banana
19   Blueberry has made at least the following labeling claims suggesting, both individually and
20   especially in the context of the label as a whole, that the product is healthy:
21                 a.    “a Touch of Honey!”
22                 b.    “A delicious, wholesome start to your day!”
23                 c.    “4 Wholesome Grains”
24                 d.    “Made with Natural Wildflower Honey”
25                 e.    Whole Grains Council Stamp
26         11.     Fruit Blends – Peach Raspberry
27         185. Two versions of the packaging of Post Honey Bunches of Oats Cereal – Fruit
28   Blends – Peach Raspberry are depicted below.
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17         186. The packaging of Post Honey Bunches of Oats Cereal – Fruit Blends – Peach
18   Raspberry has made at least the following labeling claims suggesting, both individually and
19   especially in the context of the label as a whole, that the product is healthy:
20                 a.    “a Touch of Honey!”
21                 b.    “A delicious, wholesome start to your day!”
22                 c.    “4 Wholesome Grains”
23                 d.    “Made with Natural Wildflower Honey”
24                 e.    Whole Grains Council Stamp
25         12.     Tropical Blends – Mango Coconut
26         187. The packaging of Post Honey Bunches of Oats Cereal – Tropical Blends –
27   Mango Coconut is depicted below.
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10         188. The packaging of Post Honey Bunches of Oats Cereal – Tropical Blends –
11   Mango Coconut has made at least the following labeling claims suggesting, both individually
12   and especially in the context of the label as a whole, that the product is healthy:
13                 a.    “4 Wholesome Grains”
14                 b.    “Made with Natural Wildflower Honey”
15                 c.    Whole Grains Council Stamp
16         13.     Whole Grain Honey Crunch
17         189. The packaging of Post Honey Bunches of Oats Cereal – Whole Grain Honey
18   Crunch is depicted below.
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 1         190. The packaging of Post Honey Bunches of Oats Cereal – Whole Grain Honey
 2   Crunch has made at least the following labeling claims suggesting, both individually and
 3   especially in the context of the label as a whole, that the product is healthy:
 4                 a.    “OVER 2/3 OF YOUR DAY’S WHOLE GRAIN”
 5                 b.    “Made with Natural Wildflower Honey”
 6                 c.    “Our Post Promise | No High Fructose Corn Syrup”
 7                 d.    “Whole Grain”
 8                 e.    Whole Grains Council Stamp
 9                 f.    “WHOLE GRAINS – good for your family, good for your health, good
10         for you.”
11                 g.    “Honey Bunches of Oats Whole Grain Cereal has it all. Each serving
12         contains: 4 grams of fiber: Fiber fills you up, helps keep you satisfied and is important
13         to help maintain digestive health. Rich in nutrients: Honey Bunches of Oats Whole
14         Grain Cereal is rich in nutrients such as iron and folic acid – important for moms-to-
15         be and growing children.” Over 2/3 of your day’s whole grain: Whole grains are an
16         important part of a balanced diet, but on average, Americans eat less than 1 serving of
17         whole grains per day.”
18                 h.    “Staring your day with a bowl of Honey Bunches of Oats Whole Grain
19         Cereal is a smart step toward eating a balanced diet.”
20         14.     Whole Grain with Vanilla Bunches
21         191. The packaging of Post Honey Bunches of Oats Cereal – Whole Grain with
22   Vanilla Bunches is depicted below.
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13         192. The packaging of Post Honey Bunches of Oats Cereal – Whole Grain With
14   Vanilla Bunches has made at least the following labeling claims suggesting, both individually
15   and especially in the context of the label as a whole, that the product is healthy:
16                a.     “OVER 2/3 OF YOUR DAY’S WHOLE GRAIN”
17                b.     “Made with Natural Wildflower Honey”
18                c.     “Our Post Promise | No High Fructose Corn Syrup”
19                d.     “Whole Grain”
20                e.     Whole Grains Council Stamp
21                f.     “WHOLE GRAINS – good for your family, good for your health, good
22         for you.”
23                g.     “Honey Bunches of Oats Whole Grain Cereal has it all. Each serving
24         contains: 4 grams of fiber: Fiber fills you up, helps keep you satisfied and is important
25         to help maintain digestive health. Rich in nutrients: Honey Bunches of Oats Whole
26         Grain Cereal is rich in nutrients such as iron and folic acid – important for moms-to-
27         be and growing children.” Over 2/3 of your day’s whole grain: Whole grains are an
28         important part of a balanced diet, but on average, Americans eat less than 1 serving of
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 1         whole grains per day.”
 2                 h.    “Staring your day with a bowl of Honey Bunches of Oats Whole Grain
 3         Cereal is a smart step toward eating a balanced diet.”
 4         15.     Greek Honey Crunch
 5         193. Two versions of the front, and the back of the packaging of Post Honey Bunches
 6   of Oats Cereal – Greek Honey Crunch are depicted below.
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19         194. The packaging of Post Honey Bunches of Oats Cereal – Greek Honey Crunch
20   has made at least the following labeling claims suggesting, both individually and especially
21   in the context of the label as a whole, that the product is healthy:
22                 a.    “made with real Greek yogurt, crispy whole grain flakes and a touch of
23         honey”
24                 b.    “WHOLESOME NUTRITION”
25                 c.    “+ whole grain”
26                 d.    “over 2/3 of your day’s whole grain”
27                 e.    “GOODNESS AND TASTE IN EVERY BOWL”
28                 f.    Whole Grains Council Stamp
                                                 81
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 1         16.     Greek Mixed Berry
 2         195. The packaging of Post Honey Bunches of Oats Cereal – Whole Grain Honey
 3   Crunch is depicted below.
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16         196. The packaging of Post Honey Bunches of Oats Cereal – Greek Mixed Berry has
17   made at least the following labeling claims suggesting, both individually and especially in
18   the context of the label as a whole, that the product is healthy:
19                 a.    “made with real Greek yogurt, crispy whole grain flakes and a touch of
20         wildflower honey”
21                 b.    “made with real fruit”
22                 c.    “WHOLESOME NUTRITION”
23                 d.    “+ whole grain”
24                 e.    “over 2/3 of your day’s whole grain”
25                 f.    “GOODNESS AND TASTE IN EVERY BOWL”
26                 g.    Whole Grains Council Stamp
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 1         17.     Morning Energy Cinnamon Crunch & Chocolatey Almond Crunch
 2         197. Post introduced its “Morning Energy” line of cereals in or around the beginning
 3   of 2014 and recently discontinued the product.
 4         198. The packaging of Post Honey Bunches of Oats Cereal – Morning Energy
 5   Cinnamon Crunch and Chocolatey Almond Crunch are depicted below.
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 1         199. The packaging of Post Honey Bunches of Oats Cereal – Morning Energy
 2   Cinnamon Crunch and Chocolatey Almond Crunch has made at least the following labeling
 3   claims suggesting, both individually and especially in the context of the label as a whole, that
 4   the products are healthy:
 5                 a.    “Made with Natural Wildflower Honey”
 6                 b.    “MORNING ENERGY”
 7                 c.    “Over 2/3 of your day’s WHOLE GRAIN”
 8                 d.    “HELPS GET YOU GOING & KEEPS YOU GOING”
 9                 e.    “DON’T SKIP breakfast! YOUR BODY NEEDS MORNING
10         ENERGY! FUEL YOUR BODY with a breakfast that PROVIDES WHOLE
11         GRAIN, FIBER & PROTEIN FOR ENERGY that lasts.”
12                 f.    “Start your day with the tasty crunch of Honey Bunches of Oats Morning
13         Energy cereal. It’s full of crispy flakes, crunchy oat clusters, and a touch of wildflower
14         honey. The combination of energizing whole grains, satisfying fiber and protein helps
15         you get going and keeps you going.”
16         18.     Granola – Honey Roasted
17         200. The packaging of Post Honey Bunches of Oats Granola – Honey Roasted is
18   pictured below.
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 1         201. The packaging of Post Honey Bunches of Oats Granola – Honey Roasted has
 2   made at least the following labeling claims suggesting, both individually and especially in
 3   the context of the label as a whole, that the product is healthy:
 4                 a.    “Packed with 34g of whole grain that ... the entire family will love!”
 5                 b.    “Made with Natural Wildflower Honey”
 6                 c.    “Bring your bunch together, anytime anywhere with delicious Honey
 7         Bunches of Oats granola. With 3g of fiber and 34g whole grain per serving, it’s the
 8         perfect combination of wholesome goodness and honey-sweet crunch that everyone in
 9         your entire family will love.”
10                 d.    Whole Grains Council Stamp
11         19.     Granola – Raspberry & Cinnamon
12         202. The packaging of Post Honey Bunches of Oats Granola – Raspberry and
13   Cinnamon are depicted below.
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25         203. The packaging of Post Honey Bunches of Oats Granola – Raspberry and
26   Cinnamon has made at least the following labeling claim suggesting, both individually and
27   especially in the context of the label as a whole, that the products are healthy:
28                 a.    “Made with Natural Wildflower Honey”
                                                 85
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 1         20.     Protein Granola with Dark Chocolate
 2         204. The packaging of Post Honey Bunches of Oats Protein Granola with Dark
 3   Chocolate is depicted below.
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11         205. The packaging of Post Honey Bunches of Oats Protein Granola with Dark
12   Chocolate and Cinnamon has made at least the following labeling claims suggesting, both
13   individually and especially in the context of the label as a whole, that the product is healthy:
14                 a.    “PROTEIN GRANOLA”
15                 b.    “Made with Natural Wildflower Honey”
16   C.    Post Shredded Wheat Cereal
17         1.      Honey Nut
18         206. Several versions of the packaging of Post Shredded Wheat Honey Nut are
19   depicted below.
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 1         207. The packaging of Post Shredded Wheat Honey Nut has made at least the
 2   following labeling claims suggesting, both individually and especially in the context of the
 3   label as a whole, that the product is healthy:
 4                a.     “MADE WITH 100% NATURAL WHOLE GRAIN WHEAT WITH
 5         HONEY & ALMONDS BAKED IN”
 6                b.     “Fact #7: No High Fructose Corn Syrup Unlike Kellogg’s Frosted Mini-
 7         Wheats Bite Size Cereal.”
 8                c.     Whole Grains Council Stamp
 9                d.     “An ingredient list that is so good, we have nothing to hide. Wouldn’t it
10         be great if it were easy to understand what is in your food? With Post Shredded Wheat,
11         it’s easy to be confident with your breakfast choice. It is made with nothing but
12         goodness, so go ahead and enjoy a bowl.”
13                e.     “We make it easy to understand what is in your food—we start with the
14         goodness of whole grain wheat. No artificial flavors or colors added: Our flavor comes
15         from whole grain wheat, honey, almonds, molasses and real sugar. That means vitamin
16         and mineral fortified Post Shredded Wheat Honey Nut contains no High fructose corn
17         syrup or artificial ingredients.”
18                f.     “Instead of counting servings, enjoy one bowl of Post Shredded Wheat
19         Honey Nut. With 49 grams of whole grains per serving, you’ll get 100% of what you
20         need for the day in just one bowl!”
21                g.     “Simple things feel good each day. Post Shredded Wheat is one of the
22         simple things you can do to feel good each day.”
23         2.     Crunch!
24         208. The packaging of Post Shredded Wheat Crunch! is depicted below.
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17         209. The packaging of Post Shredded Wheat Crunch! has made at least the following
18   labeling claims suggesting, both individually and especially in the context of the label as a
19   whole, that the product is healthy:
20                a.    “100% NATURAL WHOLE GRAIN WHEAT”
21                b.    “Post Shredded Wheat CRUNCH combines bite sized 100% natural
22         whole grain wheat with granola cluster crunch for delicious heart healthy satisfaction.
23         GOODNESS YOU CAN TASTE!”
24                c.    Whole Grains Council Stamp
25         3.     Lightly Frosted
26         210. The packaging of Post Shredded Wheat Lightly Frosted is depicted below.
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16         211. The packaging of Post Shredded Wheat Lightly Frosted has made at least the
17   following labeling claims suggesting, both individually and especially in the context of the
18   label as a whole, that the product is healthy:
19                a.     “NATURAL ADVANTAGE”
20                b.     “Lightly Frosted”
21                c.     “nutrition benefits”
22                d.     “Fact #7: No High Fructose Corn Syrup Unlike Kellogg’s Frosted Mini-
23         Wheats Bite Size Cereal.”
24                e.     “made with 100% natural whole-grain wheat—a natural source of fiber—
25         sweetened with natural sugar and baked with a hint of brown sugar inside.”
26                f.     “unlike some other frosted wheat cereals, Post Shredded Wheat contains
27         no high fructose corn syrup.”
28                g.     “Simple goodness”
                                                 89
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 1   D.    Post Good Morenings Cereals
 2         1.     Cocoa Cinnamon Crunch
 3         212. Post introduced its “Good Morenings” line of cereal in around 2012. There have
 4   been six variations.
 5         213. The packaging of Post Good Morenings Cocoa Cinnamon Crunch is depicted
 6   below.
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21         214. The packaging of Post Good Morenings Cocoa Cinnamon Crunch has made at
22   least the following labeling claims suggesting, both individually and especially in the context
23   of the label as a whole, that the product is healthy:
24                a.     “no high fructose corn syrup”
25                b.     “Great days start with Good Morenings. Kick-start your breakfast routine
26         by beginning your day with these morning brightening activities. [. . . ] More
27         nourishment: fuel your day with a wholesome breakfast that includes Post Good
28         Morenings Cereal.”
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 1         2.     Strawberry and Crème, Berry Loops, Waffle Crunch, Vanilla O’s, & Frosted
 2                Flakes
 3         215. The packaging of Post Good Morenings Strawberry and Crème, Berry Loops,
 4   Waffle Crunch, Vanilla O’s, & Frosted Flakes are depicted below.
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12         216. The packaging of Post Good Morenings Strawberry and Crème, Berry Loops,
13   Waffle Crunch, Vanilla O’s, & Frosted Flakes has made at least the following labeling claim
14   suggesting, both individually and especially in the context of the label as a whole, that the
15   products are healthy:
16                a.    “no high fructose corn syrup”
17   E.    Post Single Cereals
18         1.     Raisin Bran
19         217. Several versions of the packaging of Post Raisin Bran are depicted below.
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 1         218. The packaging of Post Raisin Bran has made at least the following labeling
 2   claims suggesting, both individually and especially in the context of the label as a whole, that
 3   the product is healthy:
 4                 a.    “nutrition benefits”
 5                 b.    “contains NO HIGH FRUCTOSE Corn Syrup unlike Kellogg’s Raisin
 6         Bran”
 7                 c.    “contains NO HIGH FRUCTOSE Corn Syrup”
 8                 d.    “Where nutritious and delicious live in harmony”
 9                 e.    “Raisin Bran is a delicious way to boost your daily intake of whole grain
10         and fiber.”
11                 f.    MyPyramid.gov vignette & related information
12                 g.    Whole Grains Council Stamp
13         2.      Bran Flakes
14         219. The packaging of Post Bran Flakes is depicted below.
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26         220. The packaging of Post Bran Flakes has made at least the following labeling
27   claims suggesting, both individually and especially in the context of the label as a whole, that
28   the product is healthy:
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 1                 a.    “DIETARY FIBER TO HELP MAINTAIN DIGESTIVE HEALTH”
 2                 b.    “Contains no high fructose corn syrup”
 3                 c.    “Made from oven toasted, whole grain wheat and wheat bran”
 4                 d.    MyPyramid.gov vignette & related information
 5                 e.    Whole Grains Council Stamp
 6                 f.    “Bran Flakes are a delicious way to boost your daily intake of whole grain
 7         and fiber.”
 8                 g.    “THE IMPORTANCE OF WHOLE GRAIN AND FIBER”
 9                 h.    “WHOLE GRAINS FOR YOUR HEALTHY LIFESTYLE”
10                 i.    “Whole grains provide fiber and other important nutrients to help keep
11         you healthy.”
12                 j.    “Getting enough fiber in your diet helps naturally regulate your digestive
13         system. Choose a diet rich in a variety if fiber containing foods such as whole grain
14         cereals, breads, and pastas and fruits and vegetables.”
15                 k.    “FIBER TO HELP WITH WEIGHT MANAGEMENT”
16                 l.    “Experts recommend diets rich in fiber to help keep you satisfied while
17         you exercise and cut calories to lose weight. Diets rich in fiber are usually lower in
18         calories and larger in volume than low fiber diets, and require more chewing which
19         helps promote a feeling of fullness and satisfaction after eating.”
20         3.      Alpha-Bits
21         221. Post first introduced Alpha-Bits—cereal shaped like letters—in 1958.
22         222. In around July 2012, Post entered into a deal to use characters from a PBS Kids
23   show, “Super Why,” on the product’s packaging.
24         223. The packaging of Post Alpha-Bits is depicted below.
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22         224. The packaging of Post Alpha-Bits has made at least the following labeling claims
23   suggesting, both individually and especially in the context of the label as a whole, that the
24   product is healthy:
25                a.       “NO HIGH FRUCTOSE CORN SYRUP”
26                b.       “ALPHA-BITS IS A GOOD SOURCE OF NUTRIENTS THAT ARE
27         BUILDING BLOCKS FOR YOUR CHILD’S DEVELOPING BRAIN”
28                c.       Whole Grains Council Stamp
                                                   94
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 1         4.      Golden Crisp
 2         225. The packaging of Post Golden Crisp is depicted below.
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20         226. The packaging of Post Golden Crisp has made at least the following labeling
21   claims suggesting, both individually and especially in the context of the label as a whole, that
22   the product is healthy:
23                 a.    “Wholesome Sweetened Puffed Wheat Cereal”
24                 b.    “NO HIGH FRUCTOSE CORN SYRUP”
25                 c.    “Help the Body Release Energy from Food”
26         5.      Honeycomb
27         227. The packaging of Post Honeycomb is depicted below.
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15         228. The packaging of Post Honey-Comb has made at least the following labeling
16   claims suggesting, both individually and especially in the context of the label as a whole, that
17   the product is healthy:
18                 a.    “Nutritious Sweetened Corn Oat Cereal”
19                 b.    “Why Vitamin D? – Many kids are not getting enough Vitamin D; -
20         Important for a growing child’s health needs; - Promotes healthy bones and teeth by
21         helping the body absorb calcium”
22                 c.    “Each Serving Helps Start the Day in a HEALTHY Way”
23                 d.    Whole Grains Council Stamp
24                 e.    “Made with Real Honey!”
25         6.      Waffle Crisp
26         229. The packaging of Post Waffle Crisp is depicted below.
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24         230. The packaging of Post Waffle Crisp has made at least the following labeling
25   claims suggesting, both individually and especially in the context of the label as a whole, that
26   the product is healthy:
27                a.     “NO HIGH FRUCTOSE CORN SYRUP!”
28                b.     “Iron & Zinc for Growth”
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 1                         POST’S UNLAWFUL ACTS AND PRACTICES
 2   A.    Post Marketed and Continues to Market its Cereals with Health and Wellness
 3         Claims that are Deceptive in Light of the Cereals’ High Sugar Content
 4         1.      Post Affirmatively Misrepresents that Some High-Sugar Cereals are
 5                 “Healthy,” “Nutritious,” or “Wholesome”
 6         231. Consumers interpret the words “nutritious” and “wholesome” to mean the same
 7   thing as, or to be euphemisms for, “healthy.”
 8         232. In using these words in the manner described herein, Post also intends
 9   consumers to interpret “nutritious” and “wholesome” to mean healthy.
10         233. Although in some cases, Post’s labeling claims for its cereals are suggestive that
11   they are healthy, in other cases, Post directly represents this is true by calling at least the
12   following cereals “healthy,” “nutritious,” or “wholesome”:
13                 a.      Post Selects Blueberry Morning (“Nutrition Benefits” and “nutritious
14         multi grain flakes”)
15                 b.      Post Great Grains Blueberry Morning (“Less processed nutrition you can
16         see,” “nutritious Cranberries,” “nutritious fruits and nuts,” and “nutritious ingredients
17         in every bite!”)
18                 c.      Post Selects Cranberry Almond Crunch, Banana Nut Crunch, and Maple
19         Pecan Crunch (“Nutrition Benefits”)
20                 d.      Post Selects/Great Grains Cranberry Almond Crunch (“nutritious
21         CRANBERRIES,” and “wholesome ALMONDS”)
22                 e.      Post Great Grains Cranberry Almond Crunch (“Less processed nutrition
23         you can see,” “nutritious Blueberries,” “wholesome Almonds,” “nutritious fruits and
24         nuts,” and “nutritious ingredients in every bite!”)
25                 f.      Post Great Grains Cranberry Banana Nut Crunch (“Less processed
26         nutrition you can see,” “wholesome Walnuts,” “wholesome Almonds,” “nutritious
27         fruits and nuts,” “wholesome walnuts and almonds,” and “nutritious ingredients in
28         every bite!”)
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 1         g.     Post Selects/Great Grains Raisins, Dates & Pecans (“Nutrition Benefits,”
 2   “naturally nutritious RAISINS & DATES,” “wholesome PECANS,” “A Healthy Start
 3   to Your Day,” and “Tasty, healthy mornings call for a crunch breakfast.”)
 4         h.     Post Great Grains Raisins, Dates & Pecans (“Less processed nutrition
 5   you can see,” “wholesome Pecans,” “naturally nutritious Raisins & Dates,” “We gently
 6   steam, roll and bake our whole grains to help maintain the full flavor and nutrition of
 7   our flakes,” “nutritious fruits and nuts,” and “nutritious ingredients in every bite!”)
 8         i.     Post Selects/Great Grains Crunchy Pecans (“wholesome PECANS,”
 9   “wholesomely sweet pecans,” “contains several heart-healthy ingredients,” “make
10   yummy, wholesome snacks”)
11         j.     Post Great Grains Crunchy Pecans (“Less processed nutrition you can
12   see,” “wholesome Pecans,” “We gently steam, roll and bake our whole grains to help
13   maintain the full flavor and nutrition of our flakes,” “nutritious fruits and nuts,” and
14   “nutritious ingredients in every bite!”
15         k.     Post Great Grains Blueberry Pomegranate (“Less processed nutrition
16   you can see,” “nutritious Blueberries,” “We gently steam, roll and bake our whole
17   grains to help maintain the full flavor and nutrition of our flakes,” “nutritious fruits and
18   nuts,” and “nutritious ingredients in every bite!”)
19         l.     Post Great Grains Digestive Blend: Vanilla Graham and Berry Medley
20   (“nutritious Whole Grain Barley,” “SUPPORTS HEALTHY DIGESTION,” and “you
21   can support healthy digestion and reduce the risk of several chronic diseases like heart
22   disease and diabetes,” and “nutritious ingredients in every bite!”)
23         m.     Post Great Grains Protein Blend: Honey, Oats & Seeds (“HELPS
24   SUPPORT A HEALTHY METABOLISM,” “wholesome Almonds,” “nutritious
25   Pumpkin Seeds,” “nutritious ingredients in every bite!,” and “the less processed whole
26   grain nutrition of Great Grains Protein Blend”)
27         n.     Post Great Grains Protein Blend: Cinnamon Hazelnut (“HELPS
28   SUPPORT A HEALTHY METABOLISM,” “wholesome Almonds,” “nutritious
                                  99
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 1   Hazelnuts,” “nutritious nuts,” “wholesome hazelnuts, almonds, and multi grain
 2   clusters,” “nutritious ingredients in every bite!,” and “the less processed whole grain
 3   nutrition of Great Grains Protein Blend”)
 4         o.     Post Honey Bunches of Oats – Honey Roasted, Raisin Medley, With Real
 5   Strawberries (“4 Wholesome  Grains”)
 6         p.     Post Honey Bunches of Oats – With Almonds (“A delicious, wholesome
 7   start to your day!,” and “4 Wholesome  Grains”)
 8         q.     Post Honey Bunches of Oats – With Pecan Bunches (“nutrition benefits,”
 9   “Delicious . . . and Nutritious Too!,” and “4 Wholesome  Grains”)
10         r.     Post Honey Bunches of Oats – With Cinnamon Bunches (“A delicious,
11   wholesome start to your day!,” and “4 Wholesome  Grains”)
12         s.     Post Honey Bunches of Oats – With Real Peaches (“Delicious . . . and
13   Nutritious Too!”)
14         t.     Post Honey Bunches of Oats – Fruit Blends – Banana Blueberry, and
15   Peach Raspberry (“A delicious, wholesome start to your day!,” and “4 Wholesome 
16   Grains”)
17         u.     Post Honey Bunches of Oats – Tropical Blends – Mango Coconut (“4
18   Wholesome  Grains”)
19         v.     Post Honey Bunches of Oats – Greek Honey Crunch and Mixed Berry
20   (“WHOLESOME NUTRITION”)
21         w.     Post Honey Bunches of Oats Granola – Honey Roasted (“it’s the perfect
22   combination of wholesome goodness and honey-sweet crunch”)
23         x.     Post Shredded Wheat Crunch! (“delicious heart healthy satisfaction”)
24         y.     Post Shredded Wheat Lightly Frosted (“nutrition benefits”)
25         z.     Post Raisin Bran (“nutrition benefits,” and “Where nutritious and
26   delicious live in harmony”)
27         aa.    Post Bran Flakes (“FOR YOUR HEALHTY LIFESTYLE” and “help[s]
28   keep you healthy”)
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 1                bb.   Post Honey-Comb (“Each serving Helps Start the Day in a HEALTHY
 2         Way,” and “Nutritious Sweetened Corn Oat Cereal”)
 3         234. Statements that these cereals are “healthy,” “nutritious,” and “wholesome” are
 4   false, or at least highly misleading, because, due to their high sugar content, consumption of
 5   these cereals is decidedly unhealthy, and the consequences of consuming the products—
 6   increased risk for, and in some cases contraction of chronic disease—are incompatible with
 7   Post’s representations that the cereals are “healthy,” “nutritious,” and “wholesome.”
 8         235. For example, Post’s Selects/Great Grains cereals contain 8g - 16g of sugar per
 9   serving (averaging nearly 12g), accounting for between about 15% - 30% of the products’
10   calories (averaging nearly 22%), as demonstrated in the table below.
11                                                                 %          Contribution to
                                                      Sugar      Calories     AHA Maximum
12                      Product
                                                     Content      From        Recommended
13                                                                Sugar         Daily Intake
14                                                                           M: 42.1%
      Selects Blueberry Morning                         16g       29.1%      W: 64%
15                                                                           C: 106.7-133.3%
16                                                                           M: 42.1%
      Great Grains Blueberry Morning                    16g       29.1%      W: 64%
17                                                                           C: 106.7-133.3%
18                                                                           M: 36.8%
19    Selects Cranberry Almond Crunch                   14g        28%       W: 56%
                                                                             C: 93.3-116.7%
20                                                                           M: 34.2%
      Selects/Great Grains Cranberry Almond
21                                                      13g        26%       W: 52%
      Crunch
                                                                             C: 86.7-108.3%
22
                                                                             M: 31.6%
23    Great Grains Cranberry Almond Crunch              12g       22.9%      W: 48%
                                                                             C: 80-100%
24
                                                                             M: 31.6%
25    Selects Banana Nut Crunch                         12g        20%       W: 48%
26                                                                           C: 80-100%
                                                                             M: 26.3%
27    Great Grains Banana Nut Crunch                    10g       17.4%      W: 40%
28                                                                           C: 66.7-83.3%
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 1                                                               %          Contribution to
                                                     Sugar     Calories     AHA Maximum
 2                     Product
                                                    Content     From        Recommended
 3                                                              Sugar         Daily Intake
 4                                                                         M: 34.2%
      Selects/Great Grains Raisins, Dates &
                                                      13g         26%      W: 52%
 5    Pecans
                                                                           C: 86.7-108.3%
 6                                                                         M: 34.2%
      Great Grains Raisins, Dates & Pecans            13g        24.8%     W: 52%
 7                                                                         C: 86.7-108.3%
 8                                                                         M: 31.6%
 9    Selects Maple Pecan Crunch                      12g        21.8%     W: 48%
                                                                           C: 80-100%
10                                                                         M: 21.1%
11    Selects/Great Grains Crunchy Pecans              8g        15.2%     W: 32%
                                                                           C: 53.3-66.7%
12
                                                                           M: 21.1%
13    Great Grains Crunchy Pecans                      8g        15.2%     W: 32%
                                                                           C: 53.3-66.7%
14
                                                                           M: 34.2%
15    Great Grains Blueberry Pomegranate              13g        27.4%     W: 52%
16                                                                         C: 86.7-108.3%
                                                                           M: 21.1%
17    Great Grains Digestive Blend: Vanilla
                                                       8g         16%      W: 32%
      Graham
18                                                                         C: 53.3-66.7%
19                                                                         M: 23.7%
      Great Grains Digestive Blend: Berry
                                                       9g        17.1%     W: 36%
20    Medley
                                                                           C: 60-75%
21                                                                         M: 23.7%
      Great Grains Protein Blend: Honey, Oats &
                                                       9g        16.4%     W: 36%
22    Seeds
                                                                           C: 60-75%
23                                                                         M: 23.7%
      Great Grains Protein Blend: Cinnamon
                                                       9g        15.7%     W: 36%
24    Hazelnut
                                                                           C: 60-75%
25
                                   AVERAGES =         11.5g      21.7%
26
27         236. Post’s Honey Bunches of Oats cereals represented to be “healthy,” “nutritious,”
28   and “wholesome” also contain high levels of added sugar, with the average amount of calories
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 1   from the products’ sugar content about 22%, which is 440% of the AHA’s recommended
 2   maximum calories from sugar.
 3                                                          %         Contribution to
 4                                               Sugar    Calories    AHA Maximum
                     Product
                                                Content    From       Recommended
 5                                                         Sugar       Daily Intake
 6                                                                   M: 15.7%
 7   Honey Bunches of Oats - Honey Roasted        6g        20%      W: 24%
                                                                     C: 40-50%
 8
                                                                     M: 36.8%
 9   Honey Bunches of Oats - Raisin Medley        14g       28%      W: 56%
10                                                                   C: 93.3-116.7%
11                                                                   M: 15.7%
     Honey Bunches of Oats - With Almonds         6g       18.5%     W: 24%
12
                                                                     C: 40-50%
13
                                                                     M: 15.7%
14   Honey Bunches of Oats - With Pecan
                                                  6g        20%      W: 24%
     Bunches
15                                                                   C: 40-50%

16                                                                   M: 15.7%
     Honey Bunches of Oats - With Cinnamon
                                                  6g        20%      W: 24%
17   Bunches
                                                                     C: 40-50%
18
                                                                     M: 21.1%
     Honey Bunches of Oats - With Real
19                                                8g       26.7%     W: 32%
     Strawberries.
                                                                     C: 53.3-66.7%
20
21                                                                   M: 21.1%
     Honey Bunches of Oats - With Real
                                                  8g       26.7%     W: 32%
22   Peaches
                                                                     C: 53.3-66.7%
23                                                                   M: 15.7%
     Honey Bunches of Oats - Fruit Blends -
24                                                6g        20%      W: 24%
     Banana Blueberry
                                                                     C: 40-50%
25
                                                                     M: 15.7%
26   Honey Bunches of Oats - Fruit Blends -
                                                  6g        20%      W: 24%
     Peach Raspberry
27                                                                   C: 40-50%
28
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 1                                                               %          Contribution to
 2                                                   Sugar     Calories     AHA Maximum
                        Product
                                                    Content     From        Recommended
 3                                                              Sugar        Daily Intake
 4                                                                         M: 15.7%
      Honey Bunches of Oats - Tropical Blends -
 5                                                     6g         20%      W: 24%
      Mango Coconut
                                                                           C: 40-50%
 6
                                                                           M: 34.2%
 7    Honey Bunches of Oats - Greek Honey
                                                      13g        22.6%     W: 52%
      Crunch
 8                                                                         C: 86.7-108.3%
 9                                                                         M: 34.2%
      Honey Bunches of Oats - Greek Mixed
10                                                    13g        22.6%     W: 52%
      Berry
                                                                           C: 86.7-108.3%
11
                                                                           M: 31.6%
12    Honey Bunches of Oats Granola - Honey
                                                      12g        21.8%     W: 48%
      Roasted
13                                                                         C: 80-100%

14                                  AVERAGES =        8.5g       22.1%
15         237. Similarly, despite that Post represents its Shredded Wheat Crunch! Is “heart
16   healthy,” the product contains 12g of sugar per serving, accounting for 23% of its calories,
17   which is more than 450% great than the AHA’s recommendation of no more than 5% of
18   calories from sugar.
19         238. Likewise, one serving of Post Shredded Wheat Crunch! Accounts for more than
20   30% of men’s, and nearly 50% of women’s AHA-recommended daily maximum added sugar
21   intake. For these reasons, regular consumption of Post Shredded Wheat Crunch! is highly
22   likely to contribute to excess added sugar consumption, and thereby increased risk for, and
23   actual contraction of, chronic disease.
24         239. Post similarly represents that its Honey-Comb cereal “Helps Start the Day in a
25   HEALTHY Way,” but due to its 10g of sugar, accounting for more than 30% of the product’s
26   calories, consuming Honey-Comb cereal is a decidedly unhealthy food choice.
27
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 1         2.      Post Affirmatively Misrepresents that Consuming Some of its High-Sugar
 2                 Cereals Will Promote Bodily Health, Prevention of Disease, or Weight Loss
 3         240. In some cases, Post falsely represents that its high-sugar cereals are effective in
 4   promoting bodily health and preventing disease.
 5         241. Specifically, Post represents that Post Great Grains Digestive Blend: Vanilla
 6   Graham and Berry Medley cereals will “support healthy digestion and reduce the risk of
 7   several chronic diseases like heart disease and diabetes.”
 8         242. Similarly, Post’s statement that “diet” can “upset” the “balance” between “good”
 9   and “bad” bacteria, combined with its other statements that Great Grains Digestive Blend:
10   Vanilla Graham and Berry Medley cereals “support[] digestive health,” or is a “smart step
11   towards a healthy digestive system” suggest that consumption of the cereal benefits, rather
12   than detriments the digestive system.
13         243. This statement is false, or at least highly misleading, because Post Great Grains
14   Digestive Blend: Vanilla Graham and Berry Medley cereals contains 8g-9g of sugar per
15   serving, accounting for more than 16% of the products’ calories—which is more than 300%
16   the AHA’s recommended maximum of 5% of calories from added sugar.
17         244. Moreover, a single serving of Post Great Grains Digestive Blend: Vanilla
18   Graham or Berry Medley cereal accounts for more than 20% of men’s, and more than 30%
19   of women’s maximum AHA-recommended daily sugar intake.
20         245. For these reasons, regular consumption of Post Great Grains Digestive Blend:
21   Vanilla Graham and Berry Medley cereals is highly likely to contribute to excess added sugar
22   consumption, and thereby increased risk for, and actual contraction of, chronic disease,
23   substantially harming both the human digestive system and overall human health.
24         246. Post employs a similarly-misleading tactic with respect to its Post Great Grains
25   Protein Blend: Honey, Oats & Seeds and Cinnamon Hazelnut cereals. Citing the products’
26   protein and fiber content, Post expressly and affirmatively represents that consumption of the
27   cereals will promote weight loss. Specifically, Post states:
28
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 1         “The process of metabolism establishes the rate at which we burn our calories
           and, ultimately, how quickly we gain weight or how easily we lose it.
 2
           Although some factors affecting metabolic rate, like age and genetics can’t be
 3         changed, there are ways to maximize your metabolism.” Breakfast: Eat
           breakfast. . . . Start your day with the less processed whole grain nutrition of
 4
           Great Grains Protein Blend to help jumpstart your metabolism. Protein: Eat
 5         protein. Did you know that protein generally requires about 25% more energy
           to digest? Because protein takes longer to breakdown than fat and
 6
           carbohydrate, the body uses more energy to digest protein and this helps you
 7         burn more calories. As a good source of protein, Great Grains Blend can
           actually help enhance your metabolism! [ . . . ] Fiber: Consume fiber. Diets
 8
           rich in fiber help keep you fuller longer which is important for weight
 9         management. Great Grains Protein Blend can help keep you satisfied with the
           staying power of an excellent source of fiber.”
10
11         247. Post’s representation that consumption of Post Great Grains Protein Blend:
12   Honey, Oats & Seeds and Cinnamon Hazelnut cereals will promote weight loss is false, or at
13   least highly misleading because the cereals contain 9g of sugar per serving, accounting for
14   approximately 16% of the products’ calories—which is more than 300% the AHA’s
15   recommended maximum of 5% of calories from added sugar.
16         248. Moreover, a single serving of Post Great Grains Protein Blend: Honey, Oats &
17   Seeds or Cinnamon Hazelnut cereal accounts for more than 23% of men’s, and 36% of
18   women’s maximum AHA-recommended daily sugar intake.
19         249. For these reasons, regular consumption of Post Great Grains Protein Blend:
20   Honey, Oats & Seeds or Cinnamon Hazelnut cereals is highly likely to contribute to excess
21   added sugar consumption, and thereby increased risk for, and actual contraction of, chronic
22   disease, substantially harming both the human digestive system and overall human health.
23         250. Moreover, because of the products’ high added sugar content, their consumption
24   is likely to promote weight gain, not weight loss.
25         251. Post makes a similar misrepresentation with respect to its Bran Flakes cereal,
26   stating “FIBER TO HELP WITH WEIGHT MANAGEMENT,” and explaining that “Experts
27   recommend diets rich in fiber to help keep you satisfied while you exercise and cut calories
28   to lose weight.” Similar to Post’s Great Grain Protein Blend cereals, however, 20% of Bran
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 1   Flakes’ calories come from its added sugar, such that it is likely to contribute to weight gain,
 2   not weight loss.
 3         3.      Even When Not Stating So Expressly, Post Strongly Suggests Its High-
 4                 Sugar Cereals are Healthy
 5         252. Besides direct, express claims that some of its cereals are “healthy,” “nutritious,”
 6   and “wholesome,” Post also conveys this same idea through suggestion.
 7                 a.    Post Touts Its High-Sugar Cereals’ Whole Grain, Fiber, and “Real”
 8                       Ingredient Content to Distract From Their High Sugar Content
 9         253. A major strategy Post employs is “calling out” the supposedly beneficial aspects
10   of its cereals, and particularly their whole (or multi) grain, fiber, or “real” ingredient content
11   (such as “real bananas,” “real Pomegranate Juice,” “real fruit juice,” “real cinnamon,” “Real
12   Apple Slices,” “real Greek yogurt,” “real fruit,” “real honey,” and even “real sugar”).
13         254. In fact, the word “grain” appears over 200 times in the claims challenged in this
14   Complaint, and appears on virtually every product.
15         255. In emphasizing the supposedly beneficial nutrients or other aspects of its cereals,
16   Post necessarily and intentionally also de-emphasizes, hides, obscures, and otherwise omits
17   material information regarding the products’ detrimental nutrient content, and specifically
18   their high sugar content.
19                 b.    Post Leverages a Deceptive Industry “Certification” Program—the
20                       Whole Grains Council Stamp—to Make its High-Sugar Cereals Seem
21                       Healthy
22         256. Many of Post’s cereals bear a stamp of the Whole Grains Council like that
23   pictured below.
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 1           257. The Whole Grains Council was formed in 2003 and holds itself out as a
 2   purported “nonprofit consumer advocacy group.”91
 3           258. Its membership, however, is comprised not of consumers or their advocates, but
 4   primarily of hundreds of food manufacturers, like Cargill, ConAgra, Domino’s Pizza, Frito-
 5   Lay, General Mills, Heinz, Hostess, Kellogg, Kraft, McDonald’s, Nestle, Quaker, Smucker,
 6   and of course, Post.
 7           259. The Whole Grain’s Council stamp is frequently misused by food manufacturer-
 8   members—including by Post in this case—to bolster claims that foods are supposedly
 9   healthy, by suggesting that an independent, perhaps governmental authority has determined
10   a food is healthy or otherwise sanctioned its health and wellness claims.
11           260. In order to use a Whole Grains Council Stamp, though, a food need only contain
12   a minimum of 8g whole grain, and there are no disqualifying criteria. Accordingly, high-
13   sugar foods can, and frequently do display the Whole Grains Council Stamp.
14           261. This is true of many of Post’s cereals, and the use of the stamp is deceptive
15   because it implies independent verification that the cereals are healthy, despite that the Whole
16   Grains Council is an industry group, and that Post’s cereals contain such high amounts of
17   sugar that they remain unhealthy choices notwithstanding their whole grain content.
18                 c.    Post Deceptively Makes Health and Wellness Claims Based on the
19                       Use of Milk with its Cereals
20           262. Post has represented that some of its Great Grains cereals provide the amount of
21   protein that is actually provided only when the cereal is combined with a serving of milk,
22   using a disclaimer to explain that only some of the protein comes from the actual cereal
23   product. This disclaimer, however, is ineffective at least some of the time—and Post intends
24   it to be so—because the eye naturally catches only the large “Xg PROTEIN” representation
25   when viewing the packaging at a glance, as one would while traveling down the grocery aisle,
26   and in any event Post does not state how much of the “Xg” protein comes from the cereal.
27
28   91
          See http://wholegrainscouncil.org/about-us
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 9         263. These claims, individually but especially as presented in the context of the
10   cereals’ packaging as a whole, misleadingly suggest that the Post cereals make a more
11   significant contribution to a nutritious meal than is the case.
12         264. This marketing strategy is especially deceptive because the cereals—far from
13   contributing to good nutrition—contain high amounts of added sugar, the consumption of
14   which is likely to increase risk of chronic disease.
15                d.     In Representing that Many of Its High-Sugar Cereals Contain “No
16                       High Fructose Corn Syrup,” or “Natural Wildflower Honey,” Post
17                       Leverages Consumer Confusion to Obscure the Dangers of the Added
18                       Sugar in it Cereals
19         265. Post has capitalized on consumer aversion toward high fructose corn syrup by
20   touting the absence of that ingredient, deceptively suggesting that its cereals are healthier
21   because HFCS is absent.
22         266. Post has similarly capitalized on consumer preference for “natural” or less
23   processed sweeteners by touting that its Honey Bunches of Oats cereals are “Made with
24   Natural Wildflower Honey.”
25         267. This strategy leverages consumer confusion over the relative dangers of different
26   forms of sugar, inasmuch as many consumers incorrectly believe that HFCS is a substantially
27   more dangerous form of added sugar than other forms.
28         268. Some consumers also incorrectly believe there are “healthy” forms of added
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 1   sugar, for example honey, “cane sugar,” or “natural” sugars. Conversely, many consumers
 2   are not even aware that some more obscure ingredients are added sugars, such as Evaporated
 3   Cane Juice (the use of which the FDA has said is deceptive), Glycerin, and fruit and fruit
 4   juice “concentrates.” Many consumers also have no idea what invert sugar is, or that it is
 5   sucrose that has been broken into free glucose and free fructose, and thus is extremely similar
 6   to HFCS, despite that it is used in several Post cereals.
 7           269. In reality, added sugar in virtually any form contains toxic fructose, and thus has
 8   essentially the same detrimental health effects, with typically only minor differences in the
 9   ratio of fructose to glucose in a given form of added sugar. Thus, even if literally true, Post’s
10   “no high fructose corn syrup” and “Made with Natural Wildflower Honey” representations
11   are highly misleading.
12                 e.     Post Falsely Markets Some of Its High-Sugar Cereals as “Simple,”
13                        “Whole Foods” that Are “Less Processed”
14           270. To capitalize on increasing consumer preference for fresh, unprocessed, “whole”
15   foods, Post affirmatively misrepresents that several of its cereals have this characteristic.
16           271. Specifically, Post represents that its Great Grains Blueberry Morning,
17   Cranberry Almond Crunch, Banana Nut Crunch, Raisins, Dates & Pecans, Crunchy Pecans,
18   and Blueberry Pomegranate cereals are “Less processed nutrition you can see,” explaining,
19   “Why less processed? Quite simply, because it’s good for you!”
20           272. Post similarly represents its Great Grains Protein Blend: Honey, Oats & Seeds
21   cereal is “less processed whole grain nutrition,” while its Great Grains Protein Blend:
22   Cinnamon Hazelnut is both “less processed whole grain nutrition,” and “less processed whole
23   grain cereal,” with Post stating, “Why less processed? Quite simply because it’s good for
24   you!”
25           273. Most of these Great Grains cereals’ packaging also states, “It’s whole foods
26   from the field to your bowl.”
27           274. These statements are false or at least highly misleading. First, Post Great Grains
28   cereals containing blueberries are sweetened with invert sugar and glycerin, two highly-
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 1   processed forms of added sugar, while all Great Grains cereals are sweetened with sugar and
 2   brown sugar, and sometimes glycerin or juice concentrates, which are also highly-processed
 3   sweeteners.
 4         275. Second, because these statements suggest Post Selects/Great Grains cereals are
 5   healthy food options, the statements are false, or at least highly misleading, due to the cereals’
 6   high added sugar content.
 7                 f.    Post Deceptively Omits, Intentionally Distracts From, and Otherwise
 8                       Downplays the Cereals’ High Added Sugar Content
 9         276. In marketing its cereals with health and wellness claims, Post regularly and
10   intentionally omits material information regarding the amount and dangers of the added
11   sugars in its products. Post is under a duty to disclose this information to consumers because
12   (a) Post is revealing some information about its products—enough to suggest they are
13   healthy—without revealing additional material information, (b) Post’s deceptive omissions
14   concern human health, and specifically the detrimental health consequences of consuming its
15   products, (c) Post was, and is, in a superior position to know of the dangers presented by the
16   sugars in its cereals, as it is a global food company whose business depends upon food science
17   and policy, and (d) Post actively concealed material facts not known to plaintiff and the class.
18         277. Moreover, in marketing its cereals, Post regularly affirmatively uses certain
19   words and phrases to falsely suggest their sugar content is low.
20         278. For example, Post’s statement that Post Great Grains Digestive Blend: Vanilla
21   Graham is “sweetened with a hint of vanilla flavor,” suggests that the product is low in both
22   added sugar and “bad” forms of sugar.
23         279. Similarly, Post’s representation that many varieties of Honey Bunches of Oats
24   Cereal contain just “a Touch of Honey!” are false and misleading, where the products contain
25   as much as 12g of sugar per serving (Post Honey Bunches of Oats Cereal – With Vanilla
26   Bunches), and the added sugar generally accounts for 20% or more of the products’ calories.
27         280. Post similarly represents that Post Honey Bunches of Oats – With Real Peaches
28   is a “LIGHTLY SWEETENED CEREAL,” despite that more than 25% of the cereal by
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 1   weight is sugar, and that 26.7% of the product’s calories come from its added sugar.
 2         281. Post also represents that Post Shredded Wheat Lightly Frosted is only “lightly
 3   frosted”—or sweetened—despite that it contains 12g of sugar, which is more than 20% of the
 4   product’s weight, and accounts for nearly 25% of its calories.
 5         282. These claims are false and misleading because the products’ sugar content is
 6   high, not low. Such statements are likely to confuse even consumers aware of health issues
 7   regarding sugar, because they suggest any such health issues, in any event, do not pertain to
 8   these only “lightly sweetened” cereals.
 9         4.      Post Immorally Markets Some High-Sugar Cereals to Children, Who Are
10                 the Most Vulnerable to the Dangers of Excess Added Sugar Consumption
11         283. Post markets some of its cereals either directly to children, or to parents, as for
12   their children. In some cases, these cereals are among the highest in sugar that Post offers.
13         284. For example, Post markets Honey-Comb cereal by stating that “Many kids are
14   not getting enough Vitamin D,” and representing that the cereal’s Vitamin D content is
15   “Important for a grown child’s health needs,” and “Promotes healthy bones and teeth by
16   helping the body absorb calcium.” Post further claims eating Honey-Comb cereal “Helps Start
17   the Day in a HEALTHY Way.”
18         285. Similarly, Post markets Waffle Crisp using a cartoon waffle mascot, and by
19   representing that it contains “Iron & Zinc for Growth.”
20         286. Post markets Golden Crisp cereal using a cartoon bear.
21         287. Post markets Alpha-Bits using characters from a popular PBS Kids cartoon
22   show, and by representing that it contains “NUTRIENTS THAT ARE BUILDING BLOCKS
23   FOR YOUR CHILD’S DEVELOPING BRAIN.”
24         288. At 6g per serving, the added sugar in Alpha-Bits cereal accounts for 20% of the
25   product’s weight and calories, 400% of the AHA’s recommended maximum of 5% of calories
26   from sugar, and 40-50% of children’s AHA-recommended maximum daily added sugar
27   intake of 12-15g per day.
28         289. At 10g per serving, the added sugar in Honey-Comb cereal accounts for more
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 1   than 31% of the product by weight, more than 30% of its calories, and up to 83% of children’s
 2   AHA-recommended maximum daily added sugar intake.
 3         290. At 12g per serving, the added sugar in Waffle Crisp accounts for 40% of the
 4   product’s eight and calories, and up to 100% of children’s AHA-recommended maximum
 5   daily added sugar intake.
 6         291. At 14g per serving, the added sugar in Golden Crisp accounts for more than 50%
 7   of the product’s weight, and 56% of its calories, more than 1,100% of the AHA’s
 8   recommended maximum of 5% of calories from sugar, and contributes 93-116% of children’s
 9   AHA-recommended maximum daily added sugar intake. Perhaps this is why Golden Crisp
10   used to be called Sugar Crisp, labeled “Candy-Coated Puffed Wheat” and advertised with the
11   slogan, “AS A CEREAL IT’S DANDY - OR EAT IT LIKE CANDY!”
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23         292. These statements were malicious, immoral, and oppressive because there are
24   currently obesity and type 2 diabetes epidemics among American children, who are thus
25   among the most vulnerable to misleading health and wellness marketing that results in
26   substantially increased added sugar consumption.
27         293. Marketing high-sugar cereals to children, or for children’s consumption, is itself
28   an unfair and immoral business practice, but it is especially harmful when the marketing
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 1   suggests the high-sugar cereals are healthy options for children.
 2          294. Thus, marketing Honey-Comb cereal as a healthy option for children to promote
 3   bone and teeth health—even if true, which is dubious—while obscuring the detrimental effect
 4   of the cereal’s consumption in promoting obesity, metabolic disease, cardiovascular disease,
 5   and other morbidity, is immoral, malicious, and oppressive.
 6          295. Likewise, marketing other high-sugar children’s cereals, like Waffle Crisp, with
 7   false and misleading health and wellness claims, is immoral, malicious, and oppressive.
 8          5.      Post Egregiously Markets Some High-Sugar Cereals to Children Even
 9                  Though They Contain Artificial Trans Fat
10          296. In some cases, Post even markets high-sugar cereals to children despite that they
11   also contain artificial trans fat, a substance so deadly that the FDA has banned it with a phase-
12   out deadline of 2018.
13          297. These claims are false and misleading because, in addition to the health dangers
14   of consuming the products’ high sugar content, artificial trans fat is the single worst nutrient
15   (the only nutrient worse than sugar) in terms of its effect on bodily health, and particularly
16   heart health, and
17          298. Specifically, Post markets its Waffle Crisp cereal with a cartoon waffle mascot,
18   representing that it contains “Iron & Zinc for Growth.” But Waffle Crisp also contains 12g of
19   sugar, accounting for 40% of the cereal by weight, and 40% of its calories, and contributing
20   between 80% and 100% of children’s AHA-recommended daily maximum sugar intake. In
21   addition, Waffle Crisp is made with partially hydrogenated vegetable oil containing toxic
22   artificial trans fat.
23          299. As noted above, there are obesity and type 2 diabetes epidemics among
24   American children currently, rendering them most vulnerable to false advertising that has the
25   effect of promoting sugar and artificial trans fat consumption.
26          300. Marketing such an unhealthy food to children or for their consumption, and
27   especially through the use of claims that suggest the cereal is a healthy choice, is immoral,
28   malicious, oppressive, and egregious.
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 1            6.      Post Knows or Reasonably Should Know of the Strong Scientific Evidence
 2                    Demonstrating Its High-Sugar Cereals are Unhealthy to Consume But Fails
 3                    to Warn Consumers of the Known Dangers of Consuming Its High-Sugar
 4                    Cereals
 5            301. As a longtime and major national food manufacturer, Post is well-positioned to
 6   know the most current food science. Moreover, the issue of added sugar has gained increasing
 7   prominence over the past decade.
 8            302. Post maintains on its website a page titled “Post Nutrition Pledge,” in which it
 9   demonstrates it is aware of concerns regarding sugar, for example stating that it has “been
10   steadily decreasing the sugar in all our varieties of sweetened cereals for years now.”92 Even
11   if literally true, however, any such reduction has been minuscule.
12            303. For example, scientific evidence of the dangers of sugar was available to Post as
13   a result of its membership in the Whole Grains Council. For example, the Whole Grains
14   Counsel website notes Harvard research finding that replacing sugar with whole grains lowers
15   heart disease risk. 93
16            304. Despite knowing of the dangers of the added sugar in its cereals, Post failed to
17   adequately warn consumers, but instead induced them to consume the Post cereals through
18   affirmative health and wellness misrepresentations that also distracted consumers from the
19   dangers presented by the Post cereals.
20            7.      Post Violates FDA and State Food Labeling Regulations
21            305. Post’s statement that Post Great Grains Digestive Blend: Vanilla Graham and
22   Berry Medley will help “reduce the risk of several chronic diseases like heart disease and
23   diabetes,” which is made in connection with a statement about eating whole grain, is
24   unlawful, in violation of FDA and corresponding California food labeling regulations.
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26   92
          See http://postfoods.com/about-us/post-nutrition-pledge
27   93
         See http://wholegrainscouncil.org/replacing-butter-sugar-or-refined-grains-with-whole-
28   grains-cuts-heart-disease-risk
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 1         306. The claim that a food, because of its nutrient content, will help “reduce the risk
 2   of several chronic diseases like heart disease and diabetes” is a health claim because it
 3   “expressly or by implication . . . characterizes the relationship of any substance to a disease
 4   or health-related condition.” 21 C.F.R. § 101.14(a)(1).
 5         307. Foods may not contain such claims “unless: (1) The claim is specifically
 6   provided for in subpart E of this part; and (2) The claim conforms to all general provisions of
 7   this section as well as to all specific provisions in the appropriate section of subpart E of this
 8   part,” id. § 101.14(e).
 9         308. No such claim is provided for in Subpart E of the federal food labeling
10   regulations, which proscribes specific health claims. See 21 C.F.R. §§ 101.70-101.83,
11   including the regulation specific to health claims based on grain or fiber content, see id. §
12   101.76.
13         309. Accordingly, Post’s labeling of Post Great Grains Digestive Blend: Vanilla
14   Graham and Berry Medley violates 21 C.F.R. § 101.14, and corresponding California law,
15   rendering the product misbranded.
16         310. Post’s statement that Post Great Grains Protein Blend: Honey, Oats & Seeds
17   and Cinnamon Hazelnut will “help you burn more calories” and “enhance your metabolism,”
18   because “protein generally requires about 25% more energy to digest” (as well as related
19   statements suggesting eating the product will “increase your metabolism by 10%,” or
20   otherwise representing the product will promote weight loss) is also unlawful, in violation of
21   FDA and corresponding California food labeling regulations.
22         311. Because metabolism and weight are “disease or health-related conditions,” and
23   there is no protein-based health claim connected to weight loss or metabolism prescribed
24   under Subpart E of title 21 of the Code of Federal Regulations, Post’s labeling of Post Great
25   Grains Protein Blend: Honey, Oats & Seeds and Cinnamon Hazelnut violates 21 C.F.R. §
26   101.14, and corresponding California law, rendering the product misbranded.
27         312. Certain Post cereals also violate 21 C.F.R. § 101.13(i)(3) because they contain
28   express nutrient content claims, which do not in any way implicitly characterize the level of
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 1   the nutrient in the food, but are false and misleading in some respect. This violation pertains
 2   to any Post cereal in which the nutrient content claim “Xg PROTEIN” is made prominently
 3   on the cereal’s packaging, but where the “Xg” includes a contribution from milk. Such cereals
 4   include at least the following:
 5                a.       Post Great Grains Cranberry Almond Crunch
 6                b.       Post Great Grains Banana Nut Crunch
 7                c.       Post Great Grains Protein Blend: Honey, Oats & Seeds
 8   B.    Post Used its Website, as Referenced on Some Labels, and Other Online Fora, to
 9         Spread Misinformation about the Dangers of Consuming the Added Sugar in its
10         Cereals
11         313. The side panel of Post’s cereals invites consumers to “visit [Post] at:
12   postfoods.com” (the “Post Website”).
13         314. Post uses the Post Website to further its deceptive marketing of high-sugar
14   cereals as healthy.
15         315. For example, the Post Website states that one of Post’s “VALUE[S]” IS
16   “Nourishing Goodness,” which according to Post means, “[w]e craft our products with careful
17   attention to goodness. Start your day with us and nourish your body with whole, grains,
18   protein, vitamins and minerals.” This statement appears adjacent to a photograph of a woman
19   eating a bowl of Post Great Grains Crunchy Pecans.
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 1         316. Other “VALUE[S]” Post represents it has include:
 2                a.    VALUE # 2 - “Goodness on Purpose” with Post stating, “We take great
 3         care to use wholesome ingredients to help you take great care of your whole family.”
 4                b.    VALUE # 4 – “No HFCS, Ever”
 5                c.    VALUE # 6 – “Something for Everyone,” with Post stating, “there’s a
 6         Post cereal for every taste and nutritional need to keep everyone in your family happy
 7         and healthy.”
 8                d.    VALUE #7 – “The Best Nature has to Offer,” with Post stating, “We are
 9         committed to understanding and utilizing the highest quality of ingredients in order to
10         nourish you and your family.”
11         317. The Post Webpage includes a purported “Nutrition Pledge,” wherein Post states,
12   “We Pledge to Help you Start Each Day Right,” because “Post Foods was established on the
13   principle that good nutrition can change the way we feel, look, and perform.”
14         318. Post further claims that:
15         Helping you be healthy each day is rewarding for us and it’s in our roots. Post
           Foods was literally created to enhance health. . . . Over the years, we’ve learned
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           even more about the health benefits of a diet rich in grains. Eating grains –
17         particularly whole grains – can help you meet your daily nutrient needs and
           provides broad-reaching health benefits. Whole grains are an important source
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           of many nutrients, including dietary fiber, several B vitamins, minerals, and
19         natural antioxidants. Peer-reviewed scientific studies show major health
           problems, from heart disease and obesity to diabetes and cancer, occur less
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           frequently with a diet rich in whole grains. So, today, we know the benefits of
21         what C.W. Post created reach far beyond digestive health.
22         319.   Post further claims it “believe[s] whole grains are an essential component of a
23   healthy lifestyle,” but also “believe[s] that sugar in moderation brings fun to breakfast.”
24         320. These statements, both alone, and in combination with Post’s other advertising,
25   mislead consumers into believe that Post’s cereals are healthy and the supposed “moderate”
26   amount of sugar in them is not concerning.
27         321. The Post Website also includes a link to a page titled “Our Brands,” which
28   includes pictures of “Post’s Family of cereals,” and allows a browser to click on each cereal
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 1   for more information about it.
 2         322. Post uses each cereal’s dedicated webpage to further its false and misleading
 3   health and wellness messaging, as follows:
 4               a.     Post Alpha-Bits: Underneath the heading “Enriching from A to Z,” Post
 5         claims “Alpha-Bits is a trusted source of essential vitamins and minerals that your child
 6         needs, including vitamin A, iron and zinc!” Lower on the same page, Post claims, “It’s
 7         an excellent source of vitamin, and has added nutrients like iron and zinc that help
 8         support healthy brain development. Alpha-Bits also provides 20g of whole grain (per
 9         30g serving), and 12 essential vitamins and minerals that growing kids need!”
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22                      (i.)    After clicking the “VIEW NUTRITION INFO” link, Post makes
23               the following additional health and wellness claims:
24                              (A)   “Alpha-Bits is fortified with nutrients that growing kids
25                      need”
26                              (B)   “Did You Know? Alpha-Bits has:       ●   Iron and zinc help to
27                      support healthy brain development ● 20g whole grain per 30g serving* ●
28                      Excellent source of vitamin D and iron ● 12 essential vitamins and
                                                119
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 1            minerals   ●   No artificial flavors   ●   Contains nutrients that support healthy
 2            brain development”
 3                    (C)     “Post® Alpha-Bits® cereal is fortified with nutrients that
 4            help support healthy brain development in children. Iron helps deliver
 5            oxygen to the brain & body. Zinc helps brain & body cells grow and
 6            develop. Choline helps the brain send messages.”
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18            (ii.)   After clicking the “Our Story” link for Post Alpha-Bits, Post
19      continues its deceptive marketing strategy under the heading “The Alpha-Bit
20      Story: Wholesome From A to Z,” by claiming that “For decades, Post Alpha-
21      Bits has remained a trusted brand with its great-tasting, whole grain oat and corn
22      cereal pieces, nutrients to support healthy brain development and the alphabet
23      fun that kids and mom L-O-V-E.” “In fact, the Alpha-Bits on shelves today has
24      a more nutritious formula that the original cereal that launched more than 50
25      years ago. The cereal has 20 grams of whole grain, only 6 grams of sugar and
26      12 essential vitamins and minerals. Alpha Bits cereal is a great way for growing
27      children to start their day.”
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11         b.        Post Golden Crisp: After clicking the “VIEW NUTRITION INFO” link
12   on the Post Golden Crisp webpage, Post claims “Golden Crisp isn’t just sweet to eat.
13   It also has good stuff, like essential vitamins and minerals,” and asks “Did You Know?
14   Golden Crisp Has:      ●   10 essential vitamins and minerals   ●   Excellent source of six B
15   vitamins   ●   Excellent source of vitamin D ● Good source of iron and zinc ● Fat- and
16   cholesterol-free.”
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26         c.        Post Good Morenings: After clicking the “VIEW NUTRITION INFO”
27   link, the Post Good Morenings webpage asks the consumer, “Did You Know? Good
28   Morenings Waffle Crunch has:         ●
                                       10 vitamins and minerals ● No high-fructose corn
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 1   syrup ● Good source of vitamin A and iron ● Excellent source of six B vitamins.”
 2           d.   Post Great Grains: Prominently featured on the Post Great Grains
 3   webpage is a large banner depicting a bowl of the cereal, next to the claim, “Nutrition
 4   You Can See,” underneath which Post claims, “You can’t argue with nutrition you can
 5   see. Great Grains starts whole and stays whole, so you know you’re eating better
 6   nutrition,” with a clickable button inviting consumers to “See the Difference.” Clicking
 7   “See the Difference” sends the browser a page which furthers Post’s health and
 8   wellness messaging by touting Post Great Grains as “Less-Processed Nutrition,”
 9   “Quite simply because it’s good for you!,” and contains “nutritious fruit, nuts and/or
10   seeds” “balance[d] . . . with . .. grains,” for a “less processed whole grain cereal that’s
11   high in natural fiber.” At the bottom of this page is a variety of Post Great Grains
12   nutrition information. These “Nutrition” pages for each variety including further
13   claims; for example, on the “Nutrition” page for Post Great Grains Cranberry Almond
14   Crunch, Post asks “Did You Know? Great Grains Cranberry Almond Crunch has:               ●

15   35g of whole grain per serving** ●24% of your Daily Value for fiber (6g of fiber per
16   serving) ● 0g saturated fat, 0g trans fat and 0mg cholesterol per serving ● 14 vitamins
17   and minerals ● Excellent source of antioxidant vitamins C and E . . . ● 9g Protein with
18   milk”
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 1         e.       Post Honey Bunches of Oats: The Post Honey Bunches of Oats webpage
 2   similarly continues Post’s deceptive health and wellness messaging. Prominently
 3   displayed on the page is a large banner stating that “Honey Bunches of Oats Whole
 4   Grain Varieties” contain “2/3 of your day’s whole grain.”
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                    (i.)   Clicking on the “Our Story” link brings a browser to a video that
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           touts Post Honey Bunches of Oats as “WHOLESOME,” overlaid on a field of
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           grain.
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 1                (ii.)   The “Nutrition” links for each variety continue this messaging with,
 2         claims such as “ Heart Healthy (0g trans fat, 0g saturated fat, 0mg cholesterol
 3         per serving) ● 2/3 of your day’s whole grain (32g per serving); whole grains are
 4         an important part of a balanced diet, but on average, Americans eat less than 1
 5         serving of whole grains per day. ● Good source of fiber (5g per serving); fiber
 6         fills you up, helps keep you satisfied and is important to help maintain digestive
 7         health. ● 12 essential vitamins and minerals; including iron and folic acid which
 8         are important for moms-to-be and growing children.”
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20         f.     Post Honeycomb: The “Nutrition” link on the Post Honeycomb webpage
21   asks, “Did You Know? Honeycomb cereal has: 8g of whole grain per serving               ●

22   Excellent source of vitamin D ● Low in fat and cholesterol-free ● 10 essential vitamins
23   and minerals.”
24         g.     Post Bran Flakes: Prominently displayed on the Post Bran Flakes page
25   is a banner claiming the product will “Improve Your Digestive Health,” because “Post
26   Bran Flakes is an excellent source of fiber, which aids digestion. When you feel good
27   inside, you feel better all over.” Post further describes Post Bran Flakes as “a
28   wholesome breakfast choice for the whole family, made with whole grain wheat and
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 1   wheat bran. Each serving provides 16g of whole grain, 5g of fiber and 13 essential
 2   vitamin and minerals.” The “Nutrition” link on the Post Bran Flakes webpage
 3   continues this health messaging by claiming that “Post Bran Flakes is an excellent
 4   source of fiber, which is good for your digestive health,” and asking “Did You Know
 5   Post Bran Flakes has: 16g of whole grin per serving* ● 20% of your Daily Value for
 6   fiber (5f of fiber per serving)   ●   Low in fat and cholesterol-free   ●   13 vitamins and
 7   minerals.”
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20         h.     Post Raisin Bran: Prominently displayed on the Post Raisin Bran
21   webpage is a banner with the large claim, “No High-Fructose Corn Syrup” underneath
22   which is the further claim, that “As part of Post’s commitment to goodness, we don’t
23   use high-fructose corn syrup in Post Raisin Bran – or any of our products.” Below that
24   Post asks “Have you ever wondered: How is Raisin Bran Naturally Delicious?,”
25   answering, “Post Raisin Bran has hundreds of 100% Sun-Maid® California Raisins in
26   every box, and is made with whole grain wheat and wheat bran for delicious nutrition.
27   It provides 23g of whole grain (per serving), provides 13 essential vitamins and
28   minerals, and 32% of your Daily Value for fiber (8g per serving).”
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13         i.     Post Selects: Prominently displayed the Post Selects webpage is a large
14   banner showing a picture of a Post Selects, next to the following health messaging:
15   “Beyond the Bowl. A heart-healthy lifestyle is all about choices. Open up even more
16   choices with these recipes using heart-healthy Post Selects.” Below the banner Post
17   continues its health and wellness messaging by claiming that “Post Selects Blueberry
18   Morning is bursting with flavor from plump blueberries, crisp multi-grain flakes,
19   crunchy granola cluster and delicious almonds. With 17g of whole grain and 3g of fiber
20   per serving, it’s the satisfying sweet choice for starting your day the heart-healthy
21   way.” The “Nutrition” link on the Post Selects webpage makes further health and
22   wellness claims, including that “No matter which flavor is your favorite, you’ll find
23   heart-healthy* benefits in every serving of Post Selects cereals” and asking “Did You
24   Know? Post Selects Blueberry Morning has: 17g of whole grain per serving**        ●   3g
25   fiber per serving ● 0mg saturated fat, 0g trans fat and 0mg cholesterol per serving ● 9
26   essential vitamins and minerals.”
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23         j.    Post Shredded Wheat: Upon arriving at the Post Shredded Wheat

24   webpage, consumers are greeted by a large banner depicting a bowl of Post Shredded

25   Wheat next to the claim “Zero In On Your Health,” underneath which Post claims,

26   “The 100% whole grain goodness of Post Shredded Wheat has zero sodium, 0g sugar

27   and zero cholesterol per serving.” This is especially deceptive because Post does not

28   distinguish between Post Shredded Wheat and sweetened varieties, such as Post
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 1   Shredded Wheat Honey Nut, which contains 12g of sugar per serving. Each variety,
 2   including those sweetened varieties containing high amounts of added sugar, are
 3   pictured below the banner, and the “Nutrition” link on the same page takes a browser
 4   to information about all these varieties of shredded wheat.
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14                (i.)   Clicking on the “Learn More” link on the “Zero In On Your Health”
15         banner takes users to a page dedicated entirely to Post’s deceptive health and
16         wellness marketing strategy. Post claims “Making 100% whole grain Post
17         Shredded Wheat part of your regular diet, at breakfast or any other meal, is just
18         one way to choose a healthier lifestyle. Get even more expert nutrition and health
19         information by browsing the topics below,” which include “Fiber & Whole
20         Grains,” “Diet & Exercise” and “Heart Health,” and include the following 5
21         articles: “Whole Grains Shown to be Naturally Protective for Your Heart,”
22         “Inflammation, The Second Half of the Cardiovascular Heart Disease Puzzle,”
23         “Studies Show Eating Whole Grains Reduces Chronic Inflammation in
24         Diabetics,” “Whole Grains—A Natural Way to Fight Diabetes,” and
25         “Antioxidants in Whole Grains May Boost Immunity and Slow Aging.” Each of
26         these supposed “articles” is actually just a summary of information found
27         elsewhere, without identifying the author of any of the “articles.” Each “article”
28         concludes “With all this great news, why wait? Fill your bowl at least once a day
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 1      with whole‐grain Post cereal and be good to your heart! Our whole grains
 2      contain natural fiber and antioxidants — that’s the Post Natural Advantage.” All
 3      but one of these articles touts the health benefits of whole grains while omitting
 4      the negative health consequences of consuming the sugar in Post’s products. The
 5      one article that mentions sugar, “Inflammation, the Second Half of the Coronary
 6      Heart Disease Puzzle,” declares that “a diet rich in high calorie, processed, easily
 7      digestible, nutrient poor foods is an underlying cause of inflammation . . . . These
 8      types of meals lead to spikes in blood sugar and fat, including oxidative stress
 9      which among other things leads to inflammation,” demonstrating Post was and
10      is well aware of the deleterious effects of the processed sugar in its products, yet
11      leverages its whole grain messaging to convince consumers that its cereals are
12      nonetheless healthy.
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25            (ii.)   The “Zero In On Your Health” banner also scrolls to reveal other

26      health and wellness banners, such as “9 of 10 Doctors Agree! 94% of physicians

27      surveyed with over 15 years experience would recommend adding Post

28      Shredded Wheat to your diet to improve and maintain heart health.” The “Learn
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 1         More” link on the banner takes consumers to a page titled “The Right Choice
 2         for Your Heart” which makes further health and wellness claims.
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23         k.    Post Waffle Crisp: Post furthers its health and wellness messaging about
24   Post Waffle Crisp online, as well. For example, the webpage for Post Waffle Crisp
25   states that “Waffle Crist also provides 10 essential vitamins and minerals in every
26   serving.” The “Nutrition” link leads to a claim that “Each serving provides essential
27   nutrients that make eating waffle crisp just a little bit sweeter,” and asks “Did You
28   Know? Waffle Crisp has: Low in saturated fat and cholesterol-free       ●   10 essential
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 1         vitamins and minerals ● Excellent source of six B vitamins ● Good source of iron and
 2         zinc.”
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13   C.    Post Made Misleading Public Statements Concerning High-Sugar Cereals
14         323. Post has also periodically issued press releases furthering its misleading health
15   and wellness messaging of its cereals.
16         324. For example, Post issued a press release on January 17, 2013 titled “New Post
17   Great Grains Protein Blend Cereal Aims to Boost Americans’ Metabolisms in 2013,”
18   claiming that the “Combination Of Protein, Whole Grain And Fiber Helps Increase
19   Metabolic Rate.” Post further claims that “Americans’ top resolution for 2013 is to lose
20   weight. Post Foods, LLC, is doing their part to help these goals come to fruition with the
21   introduction of the new Great Grains Protein Blend cereal, which helps support a healthy
22   metabolism.” The press release continues to mislead consumers into thinking this high-sugar
23   cereal is “nutritious” and “wholesome” and “heart healthy.”
24         325. On February 5, 2014, Post issued another press release titled, “New Post Great
25   Grains Digestive Blend Cereals Help You Feel Balanced Inside and Out” because “Fiber,
26   Whole Grain and Active Cultures Help Support Healthy Digestion.” Post further claimed,
27   “All Great Grains cereals are made with less processed grains for more wholesome nutrition
28   in every bowl. Every recipe has at least 30g of whole grains per serving and is a heart healthy
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 1   way to start the day.”
 2   D.     The Foregoing Behaviors are Part of Post’s Longstanding Policy, Practice, and
 3          Strategy of Marketing its High-Sugar Cereals as Healthy in Order to Increase
 4          Sales and Profit
 5          326. The practices complained of herein, while specific to certain cereal lines, cereal
 6   flavors or varieties, and certain packaging claims, are exemplary of, and consistent with,
 7   Post’s longtime practice of intentionally and strategically marketing high-sugar cereals with
 8   health and wellness claims that both deceptively suggest the products are healthy, and
 9   deceptively omit the dangers of consuming the products.
10          327. These practices have been consistent notwithstanding Post’s occasional
11   discontinuation or introduction of new products or lines of cereal, reformulation of products,
12   or labeling or packaging changes.
13          328. This strategy is based on sophisticated consumer marketing research, and has
14   been undertaken by Post with the purpose of increasing the prices, sales, and market share of
15   its cereals.
16          329. Unless enjoined from using in the marketing of high-sugar cereals the health and
17   wellness marketing statements, representations, strategies, and tactics complained of herein,
18   Post will continue to employ this strategy, as the consumer preference for healthier-seeming
19   foods is strong.
20          330. In fact, Neilsen’s 2015 Global Health & Wellness Survey found “88% of those
21   polled are willing to pay more for healthier foods.”94
22   E.     Post’s Policy and Practice of Marketing High-Sugar Cereals as Healthy is
23          Especially Harmful Because Consumers Generally Eat More than One Serving of
24          Cereal at a Time, Which Post Knows or Reasonably Should Know
25          331. The serving size for Post’s cereals is generally either 1 cup or, less frequently,
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     94
27      Nancy Gagliardi, Forbes, Consumers Want Healthy Foods--And Will Pay More For Them,
     (Feb. 18, 2015) (citing Neilson, We are what we eat, Healthy eating trends around the world,
28   at 11 (Jan. 2015)).
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 1   3/4 cup. Depending on the type of cereal, this generally means either around 30g or 50g per
 2   serving.
 3         332. In 2014, the FDA analyzed food consumption data between 2003 and 2008, from
 4   the National Health and Nutrition Examination Survey (NHANES, discussed previously
 5   above), finding that at least 10% of Americans eat at one sitting, 2 to 2.6 times the amount of
 6   cereal as the labeled serving size.
 7         333. A study conducted by cereal giant General Mills found that children and
 8   adolescents 6 to 18 years old typically eat about twice as much cereal in a single meal
 9   compared to the suggested serving size.
10         334. Another study, by Yale University’s Rudd Center for Food Policy and Obesity,
11   found that children 5 to 12 years old ate an average of 35 grams of low-sugar cereals, but an
12   average of 61 grams of high-sugar cereals.95
13         335. As a result of consumers’ actual eating habits, Post’s high-sugar cereals in reality
14   contribute significantly more sugar to their consumers’ diets than even the high amount in a
15   single serving suggests.
16         336. For example, doubling a serving of most Post cereals would cause men, women,
17   and children all to exceed their AHA-recommended maximum daily sugar intake in just the
18   single breakfast serving—in some cases providing more than three times the daily maximum.
19         337. For this reason, the Post high-sugar cereals are especially dangerous to the health
20   of those who regularly consume them.
21                      PLAINTIFFS’ PURCHASES, RELIANCE, AND INJURY
22   A.    Plaintiff Debbie Krommenhock
23         338. Over the past approximately two years, plaintiff Debbie Krommenhock
24   purchased the following Post cereals and granolas.
25                 a.      Post Selects Cranberry Almond Crunch
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27   95
       Jennifer L. Harris, et al., “Effects of Serving High-Sugar Cereals on Children’s Breakfast-
28   Eating Behavior,” Pediatrics, Vol. 127, Issue 1 (Jan. 2011).
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 1                 b.    Post Honey Bunches of Oats Cereal – With Almonds
 2                 c.    Post Honey Bunches of Oats Granola – Honey Roasted
 3                 d.    Post Shredded Wheat Honey Nut
 4                 e.    Post Shredded Wheat Lightly Frosted
 5                 f.    Post Raisin Bran
 6         339. Ms. Krommenhock purchased the foregoing Post cereals and granolas at either
 7   the Lucky’s located at 21001 San Ramon Valley Boulevard, in San Ramon, California 94583,
 8   or the Wal-Mart located at 9100 Alcosta Boulevard, in San Ramon, California 94583.
 9         340. As best she can recall, Ms. Krommenhock purchased Post Selects Cranberry
10   Almond Crunch on multiple occasions over the past several years, purchasing the product
11   approximately once every three months, with her most recent purchase in approximately
12   March 2016.
13         341. As best she can recall, Ms. Krommenhock purchased Post Honey Bunches of
14   Oats – With Almonds multiple times, beginning approximately two years ago, with her most
15   recent purchase in approximately July 2016, purchasing the product approximately a few
16   times per year.
17         342. As best she can recall, Ms. Krommenhock purchased Post Honey Bunches of
18   Oats Granola – Honey Roasted one time during the past two years.
19         343. As best she can recall, Ms. Krommenhock purchased Post Shredded Wheat
20   Honey Nut approximately six times over the past several years, with her last purchase in
21   around June 2016.
22         344. As best she can recall, Ms. Krommenhock purchased Post Shredded Wheat
23   Lightly Frosted once or twice, in summer 2015.
24         345. As best she can recall, Ms. Krommenhock purchased Post Raisin Bran on a few
25   occasions, with the last time in or about summer 2015.
26         346. For each Post cereal and granola purchased, Ms. Krommenhock read and
27   decided to purchase the product in substantial part based upon Post’s health and wellness
28   labeling statements discussed herein and set forth above with respect to each cereal or granola
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 1   variety, which statements—individually, and especially in the context of the packaging as a
 2   whole—made the products seem like healthy food choices to Ms. Krommenhock.
 3                                      *            *             *
 4         347. When purchasing the Post cereals and granola, Ms. Krommenhock was seeking
 5   products that were healthy to consume, that is, of which consumption would not increase her
 6   risk of CHD, stroke, and other morbidity.
 7         348. The health and wellness representations on the Post cereals’ and granola’s
 8   labeling, however, was misleading, and had the capacity, tendency, and likelihood to confuse
 9   or confound Ms. Krommenhock and other consumers acting reasonably (including the
10   putative Class) because, as described in detail herein, the products are not healthy but instead
11   their consumption increases the risk of CHD, stroke, and other morbidity.
12         349. Ms. Krommenhock is not a nutritionist or food scientist, but rather a lay
13   consumer who did not have the specialized knowledge that Post had regarding the nutrients
14   present in the Post cereals and granolas. At the time of purchase, plaintiff was unaware of the
15   extent to which consuming high amounts of added sugar in any form adversely affects blood
16   cholesterol levels and increases risk of CHD, stroke, and other morbidity, or what amount of
17   sugar might have such an effect.
18         350. Ms. Krommenhock acted reasonably in relying on Post’s health and wellness
19   marketing, which Post intentionally placed on the products’ labels with the intent to induce
20   average consumers into purchasing the products.
21         351. Ms. Krommenhock would not have purchased Post cereals and granola if she
22   knew that their labeling claims were false and misleading in that the products were not as
23   healthy as represented.
24         352. The Post cereals and granolas cost more than similar products without
25   misleading labeling, and would have cost less absent the misleading health and wellness
26   claims. If Post were enjoined from making the misleading claims, the market demand and
27   price for its cereals and granola would drop, as it has been artificially and fraudulently inflated
28   due to Post’s use of deceptive health and wellness labeling.
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 1         353. Ms. Krommenhock paid more for the Post cereals and granola, and would only
 2   have been willing to pay less, or unwilling to purchase them at all, absent the misleading
 3   labeling statements complained of herein.
 4         354. For these reasons, the Post cereals and granola were worth less than what Ms.
 5   Krommenhock paid for them, and may have been worth nothing at all.
 6         355. Instead of receiving products that had actual healthful qualities, the products Ms.
 7   Krommenhock received were not healthy, but rather their consumption causes increased risk
 8   of CHD, stroke, and other morbidity.
 9         356. Ms. Krommenhock lost money as a result of Post’s deceptive claims and
10   practices in that she did not receive what she paid for when purchasing the Post cereals and
11   granola.
12         357. Ms. Krommenhock detrimentally altered her position and suffered damages in
13   an amount equal to the amount she paid for the products.
14         358. As a result of Post’s practices, Ms. Krommenhock has suffered bodily injury in
15   the form of increased risk of CHD, stroke, and other morbidity.
16   B.    Plaintiff Stephen Hadley
17         359. Plaintiff Stephen Hadley has been a frequent cereal eater for many years. Mr.
18   Hadley is relatively health-conscious. During the past several years and prior, in seeking out
19   cereals to eat, Mr. Hadley has generally tried to choose healthy options, and has been willing
20   to pay more for cereals he believes are healthy.
21         360. Over the past several years, Mr. Hadley has purchased Post cereals on multiple
22   occasions, including Post Selects/Great Grains cereals, Post Honey Bunches of Oats cereals
23   and granolas, Post Shredded Wheat cereals, and various Post single cereals.
24         361. Post Selects/Great Grains Cereals. Over the past several years, Mr. Hadley has
25   purchased the following varieties of Post Select/Great Grains cereals:
26                 a.   Post Selects Blueberry Morning
27                 b.   Post Great Grains Blueberry Morning:
28                 c.   Post Selects Cranberry Almond Crunch:
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 1               d.     Post Selects/Great Grains Cranberry Almond Crunch:
 2               e.     Post Great Grains Cranberry Almond Crunch:
 3               f.     Post Selects Banana Nut Crunch
 4               g.     Post Great Grains Banana Nut Crunch
 5               h.     Post Selects/Great Grains Raisins, Dates & Pecans
 6               i.     Post Great Grains Raisins, Dates & Pecans
 7               j.     Post Select/Great Grains Crunchy Pecans
 8               k.     Post Great Grains Crunchy Pecans
 9         362. Mr. Hadley believes he may also have purchased Post Selects Maple Pecan
10   Crunch, Post Great Grains Blueberry Pomegranate, and Post Great Grains Protein Blend:
11   Cinnamon Hazelnut cereals.
12         363. To the best of his recollection, Mr. Hadley has been purchasing Post
13   Selects/Great Grains cereals since early 2012. Given plaintiff’s habits, he believes he
14   purchased one variety or another with a frequency of approximately once every couple of
15   months. Plaintiff believes he purchased Post Selects/Great Grains cereals from locations
16   including: (a) the Nob Hill Foods located at 900 Lighthouse Avenue, in Monterey, California
17   93940, (b) the Trader Joe’s located at 570 Munras Avenue, in Monterey, California (c) the
18   Safeway located at 815 Canyon Del Rey Boulevard, in Del Rey Oaks, California 93940, (d)
19   the Grocery Outlet located at 1523 Freemont Boulevard, in Seaside, California 93955, (e) the
20   Wal-Mart located at 150 Beach Road, in Marina, California 93933, and (f) the Target located
21   at 2040 California Avenue, in Sand City, California 93955. Mr. Hadley believes he last
22   purchased a Post Great Grains cereal in approximately April or May 2016.
23         364. For each Post Selects/Great Grains cereal purchased, Mr. Hadley read and
24   decided to purchase the product in substantial part based upon Post’s health and wellness
25   labeling statements discussed herein and set forth above with respect to each variety, which
26   statements—individually, and especially in the context of the packaging as a whole—made
27   the products seem like healthy food choices to Mr. Hadley.
28         365. Post Honey Bunches of Oats Cereals & Granolas. Over the past several years,
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 1   Mr. Hadley has purchased the following varieties of Post Honey Bunches of Oats cereals and
 2   granolas:
 3                  a.   Post Honey Bunches of Oats Cereal – Honey Roasted
 4                  b.   Post Honey Bunches of Oats Cereal – Raisin Medley
 5                  c.   Post Honey Bunches of Oats Cereal – With Almonds
 6                  d.   Post Honey Bunches of Oats Cereal – With Pecan Bunches
 7                  e.   Post Honey Bunches of Oats Cereal – With Cinnamon Bunches
 8                  f.   Post Honey Bunches of Oats Cereal – With Vanilla Bunches
 9                  g.   Post Honey Bunches of Oats Cereal – With Real Strawberries
10                  h.   Post Honey Bunches of Oats Cereal – Whole Grain Honey Crunch
11                  i.   Post Honey Bunches of Oats Cereal – Greek Honey Crunch
12                  j.   Post Honey Bunches of Oats Granola – Honey Roasted
13                  k.   Post Honey Bunches of Oats Protein Granola – with Dark Chocolate
14         366. Mr. Hadley believes he may also have purchased Apples & Cinnamon Bunches,
15   and With Real Peaches varieties of Honey Bunches of Oats cereal, and Cinnamon granola.
16         367. To the best of his recollection, Mr. Hadley has been purchasing Post Honey
17   Bunches of Oats cereals since early 2012. Given plaintiff’s habits, he believes he purchased
18   one variety or another with a frequency of approximately once every two weeks. Plaintiff
19   believes he purchased Post Honey Bunches of Oats cereals from locations including: (a) the
20   Safeway located at 815 Canyon Del Rey Boulevard, in Del Rey Oaks, California 93940, (b)
21   the Wal-Mart located at 150 Beach Road, in Marina, California 93933, and (c) the Target
22   located at 2040 California Avenue, in Sand City, California 93955. Plaintiff believes he last
23   purchased a Post Honey Bunches of Oats cereal in July 2016.
24         368. To the best of his recollection, Mr. Hadley purchased Post Honey Bunches of
25   Oats granolas likely one time, in the spring of 2013, from the Nob Hill Foods located at 900
26   Lighthouse Avenue, in Monterey, California 93940.
27         369. For each Post Honey Bunches of Oats cereal purchased, Mr. Hadley read and
28   decided to purchase the product in substantial part based upon Post’s health and wellness
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 1   labeling statements discussed herein and set forth above with respect to each variety, which
 2   statements—individually, and especially in the context of the packaging as a whole—made
 3   the products seem like healthy food choices to Mr. Hadley.
 4         370. Post Shredded Wheat. Over the past several years, Mr. Hadley has purchased
 5   the following varieties of Post Shredded Wheat cereals:
 6                a.    Post Shredded Wheat Honey Nut
 7                b.    Post Shredded Wheat Lightly Frosted
 8         371. To the best of his recollection, Mr. Hadley has been purchasing Post Shredded
 9   Wheat cereals since fall (approximately August or September) of 2014. Given plaintiff’s
10   habits, he believes he purchased one variety or another with a frequency of approximately
11   once every four months. Plaintiff believes he purchased Post Shredded Wheat cereals from
12   the Grocery Outlet located at 1523 Freemont Boulevard, in Seaside, California 93955.
13   Plaintiff believes he last purchased a Post Shredded Wheat cereal in summer 2015.
14         372. For each Post Shredded Wheat cereal purchased, Mr. Hadley read and decided
15   to purchase the product in substantial part based upon Post’s health and wellness labeling
16   statements discussed herein and set forth above with respect to each variety, which
17   statements—individually, and especially in the context of the packaging as a whole—made
18   the products seem like healthy food choices to Mr. Hadley.
19         373. Post Singles Cereals. Over the past several years, Mr. Hadley has purchased the
20   following “single” varieties of Post cereals:
21                a.    Raisin Bran
22                b.    Bran Flakes
23                c.    Alpha Bits
24                d.    Golden Crisp
25                e.    Honey-Comb
26                f.    Waffle Crisp
27         374. To the best of his recollection, Mr. Hadley purchased Post Raisin Bran in or
28   around the summer of 2014, from the Nob Hill Foods located at 900 Lighthouse Avenue, in
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 1   Monterey, California 93940.
 2         375. For each of the foregoing Post cereals purchased, Mr. Hadley read and decided
 3   to purchase the product in substantial part based upon Post’s health and wellness labeling
 4   statements discussed herein and set forth above with respect to each variety, which
 5   statements—individually, and especially in the context of the packaging as a whole—made
 6   the products seem like healthy food choices to Mr. Hadley.
 7                                      *         *            *
 8         376. When purchasing the Post cereals and granola, Mr. Hadley was seeking products
 9   that were healthy to consume, that is, whose consumption would not increase his risk of CHD,
10   stroke, and other morbidity.
11         377. The health and wellness representations on the Post cereals’ and granolas’
12   labeling, however, was misleading, and had the capacity, tendency, and likelihood to confuse
13   or confound Mr. Hadley and other consumers acting reasonably (including the putative Class)
14   because, as described in detail herein, the products are not healthy but instead their
15   consumption increases the risk of CHD, stroke, and other morbidity.
16         378. Mr. Hadley is not a nutritionist or food scientist, but rather a lay consumer who
17   did not have the specialized knowledge that Post had regarding the nutrients present in the
18   Post cereals and granolas. At the time of purchase, plaintiff was unaware of the extent to
19   which consuming high amounts of added sugar in any form adversely affects blood
20   cholesterol levels and increases risk of CHD, stroke, and other morbidity, or what amount of
21   sugar might have such an effect.
22         379. Mr. Hadley acted reasonably in relying on Post’s health and wellness marketing,
23   which Post intentionally placed on the products’ labels with the intent to induce average
24   consumers into purchasing the products.
25         380. Mr. Hadley would not have purchased Post cereals and granolas if he knew that
26   their labeling claims were false and misleading in that the products were not as healthy as
27   represented.
28         381. The Post cereals and granolas cost more than similar products without
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 1   misleading labeling, and would have cost less absent the misleading health and wellness
 2   claims. If Post were enjoined from making the misleading claims, the market demand and
 3   price for its cereals and granolas would drop, as it has been artificially and fraudulently
 4   inflated due to Post’s use of deceptive health and wellness labeling.
 5         382. Mr. Hadley paid more for the Post cereals and granolas, and would only have
 6   been willing to pay less, or unwilling to purchase them at all, absent the misleading labeling
 7   statements complained of herein.
 8         383. For these reasons, the Post cereals and granolas were worth less than what Mr.
 9   Hadley paid for them, and may have been worth nothing at all.
10         384. Instead of receiving products that had actual healthful qualities, the products Mr.
11   Hadley received were not healthy, but rather their consumption causes increased risk of CHD,
12   stroke, and other morbidity.
13         385. Mr. Hadley lost money as a result of Post’s deceptive claims and practices in
14   that he did not receive what he paid for when purchasing the Post cereals and granolas.
15         386. Mr. Hadley detrimentally altered his position and suffered damages in an amount
16   equal to the amount he paid for the products.
17         387. As a result of Post’s practices, Mr. Hadley has suffered bodily injury in the form
18   of increased risk of CHD, stroke, and other morbidity.
19                                CLASS ACTION ALLEGATIONS
20         388. Pursuant to Fed. R. Civ. P. 23, plaintiffs seek to represent a class of all persons
21   in California who, at any time from four years preceding the date of this Complaint to the
22   time a class is notified, purchased high-sugar Post cereals bearing health and wellness claims
23   for their own personal, family, or household use and not for resale.
24         389. Plaintiff nevertheless reserves the right to divide into subclasses, expand,
25   narrow, more precisely define, or otherwise modify the class definition prior to (or as part of)
26   filing a motion for class certification.
27         390. The members in the proposed class and subclass are so numerous that individual
28   joinder of all members is impracticable, and the disposition of the claims of all class members
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 1   in a single action will provide substantial benefits to the parties and Court. Fed. R. Civ. P.
 2   23(a)(1).
 3         391. Questions of law and fact common to plaintiffs and the class (Fed. R. Civ. P.
 4   23(a)(2) include, without limitation:
 5                  a.   Whether certain Post cereals contain sufficient added sugar to contribute
                         substantially to the excessive consumption of added sugar;
 6
 7                  b.   Whether the excessive consumption of added sugar presents significant
                         health risks;
 8
                    c.   Whether, if the former questions of fact are answered in the affirmative,
 9                       this renders misleading to the reasonable consumer Post’s use of health
10                       and wellness claims on the packaging of high-sugar Post cereals;
11                  d.   Whether the challenged Post health and wellness claims were material;
12                  e.   Whether Post made any statement it knew or should have known was false
                         or misleading;
13
                    f.   Whether Post maintained a longstanding marketing policy, practice, and
14
                         strategy of selling high-sugar cereals with health and wellness claims;
15
                    g.   Whether Post’s practices were immoral, unethical, unscrupulous, or
16                       substantially injurious to consumers;
17                  h.   Whether the utility of any of Post’s practices, if any, outweighed the
18                       gravity of the harm to its victims;

19                  i.   Whether Post’s conduct violated public policy, including as declared by
                         specific constitutional, statutory or regulatory provisions;
20
                    j.   Whether the consumer injury caused by Post’s conduct was substantial,
21                       not outweighed by benefits to consumers or competition, and not one
22                       consumers themselves could reasonably have avoided;

23                  k.   Whether Post’s policies, acts, and practices with respect to the Post high-
                         sugar cereals were designed to, and did result in the purchase and use of
24                       the products by the class members primarily for personal, family, or
25                       household purposes;
26                  l.   Whether Post represented that Post high-sugar cereals have
                         characteristics, uses, or benefits which they do not have, within the
27                       meaning of Cal. Civ. Code § 1770(a)(5);
28
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 1                  m.   Whether Post represented Post high-sugar cereals are of a particular
                         standard, quality, or grade, when they were really of another, within the
 2
                         meaning of Cal. Civ. Code § 1770(a)(7);
 3
                    n.   Whether Post advertised Post high-sugar cereals with the intent not to sell
 4                       them as advertised, within the meaning of Cal. Civ. Code § 1770(a)(9);
 5                  o.   Whether Post represented that Post high-sugar cereals have been supplied
 6                       in accordance with previous representations when they have not, within
                         the meaning of Cal. Civ. Code § 1770(a)(16);
 7
                    p.   Whether Post’s conduct or any of its acts or practices violated the
 8                       California False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et
 9                       seq., the California Consumers Legal Remedies Act, Cal. Civ. Code §§
                         1750 et seq., the Federal Food, Drug, and Cosmetic Act, 28 U.S.C. §§ 301
10                       et seq., and its implementing regulations, 21 C.F.R. §§ 101 et seq., the
11                       California Sherman Food, Drug, and Cosmetic Law, Cal. Health & Safety
                         Code §§ 109875, et seq., or any other regulation, statute, or law;
12
                    q.   The proper equitable and injunctive relief;
13
                    r.   The proper amount of restitution or disgorgement; and
14
                    s.   The proper amount of reasonable litigation expenses and attorneys’ fees.
15
16         392. Plaintiffs’ claims are typical of class members’ claims in that they are based on
17   the same underlying facts, events, and circumstances relating to Post’s conduct. Fed. R. Civ.
18   P. 23(a)(3).
19         393. Plaintiffs will fairly and adequately represent and protect the interests of the
20   class, have no interests incompatible with the interests of the class, and have retained counsel
21   competent and experienced in class action, consumer protection, and false advertising
22   litigation, including within the food industry.
23         394. Class treatment is superior to other options for resolution of the controversy
24   because the relief sought for each class member is small such that, absent representative
25   litigation, it would be infeasible for class members to redress the wrongs done to them.
26         395. Questions of law and fact common to the class predominate over any questions
27   affecting only individual class members.
28         396. As a result of the foregoing, class treatment is appropriate under Fed. R. Civ. P.
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 1   23(a), (b)(2), and (b)(3), and may be appropriate for certification “with respect to particular
 2   issues” under Rule 23(b)(4).
 3                                      CAUSES OF ACTION
 4                                   FIRST CAUSE OF ACTION
 5           VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW,
 6                          CAL. BUS. & PROF. CODE §§ 17500 ET SEQ.
 7          397. Plaintiffs reallege and incorporate the allegations elsewhere in the Complaint as
 8   if fully set forth herein.
 9          398. The FAL prohibits any statement in connection with the sale of goods “which is
10   untrue or misleading,” Cal. Bus. & Prof. Code § 17500.
11          399. Post’s use of health and wellness advertising for Post Cereal products that
12   contain substantial amounts of added sugar is deceptive in light of the strong evidence that
13   excessive sugar consumption greatly increases risk of chronic disease.
14          400. Post knew, or reasonably should have known, that the challenged health and
15   wellness claims were untrue or misleading.
16                                  SECOND CAUSE OF ACTION
17    VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT,
18                                CAL. CIV. CODE §§ 1750 ET SEQ.
19          401. Plaintiffs reallege and incorporate the allegations elsewhere in the Complaint as
20   if fully set forth herein.
21          402. The CLRA prohibits deceptive practices in connection with the conduct of a
22   business that provides goods, property, or services primarily for personal, family, or
23   household purposes.
24          403. Post’s policies, acts, and practices were designed to, and did, result in the
25   purchase and use of the products primarily for personal, family, or household purposes, and
26   violated and continue to violate the following sections of the CLRA:
27                 a.     § 1770(a)(5): representing that goods have characteristics, uses,
28                        or benefits which they do not have;
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 1                 b.     § 1770(a)(7): representing that goods are of a particular standard,
                          quality, or grade if they are of another;
 2
 3                 c.     § 1770(a)(9): advertising goods with intent not to sell them as
                          advertised; and
 4
                   d.     § 1770(a)(16): representing the subject of a transaction has been
 5
                          supplied in accordance with a previous representation when it
 6                        has not.
 7          404. In compliance with Cal. Civ. Code § 1782, plaintiffs sent written notice to Post
 8   of their claims. Although plaintiffs do not currently seek damages for their claims under the
 9   CLRA, if Post refuses to remedy the violation within 30 days of receiving the notice letter,
10   plaintiffs may thereafter amend this Complaint to seek damages.
11          405. In compliance with Cal. Civ. Code § 1782(d), an affidavit of venue is filed
12   concurrently herewith.
13                                   THIRD CAUSE OF ACTION
14          VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW,
15                          CAL. BUS. & PROF. CODE §§ 17200 ET SEQ.
16          406. Plaintiffs reallege and incorporate the allegations elsewhere in the Complaint as
17   if fully set forth herein.
18          407. The UCL prohibits any “unlawful, unfair or fraudulent business act or practice,”
19   Cal. Bus. & Prof. Code § 17200.
20                                             Fraudulent
21          408. Post’s use of the challenged health and wellness claims on products containing
22   high amounts of added sugar are likely to deceive reasonable consumers.
23                                                Unfair
24          409. Post’s conduct with respect to the labeling, advertising, and sale of Post high-
25   sugar cereals was and is unfair because Post’s conduct was and is immoral, unethical,
26   unscrupulous, or substantially injurious to consumers and the utility of its conduct, if any,
27   does not outweigh the gravity of the harm to its victims.
28          410. Post’s conduct with respect to the labeling, advertising, and sale of Post high-
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 1   sugar cereals was also unfair because it violated public policy as declared by specific
 2   constitutional, statutory or regulatory provisions, including the False Advertising Law, the
 3   Federal Food, Drug, and Cosmetic Act, and the California Sherman Food, Drug, and
 4   Cosmetic Law.
 5         411. Post’s conduct with respect to the labeling, advertising, and sale of Post high-
 6   sugar cereals was also unfair because the consumer injury was substantial, not outweighed
 7   by benefits to consumers or competition, and not one consumers themselves could reasonably
 8   have avoided.
 9                                            Unlawful
10         412. The acts alleged herein are “unlawful” under the UCL in that they violate at least
11   the following laws:
12               a.     The False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq.;
13               b.     The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq.; and
14               c.     The Federal Food, Drug, and Cosmetic Act, 28 U.S.C. §§ 301 et seq., and
15                      its implementing regulations, 21 C.F.R. §§ 101 et seq.; and
16               d.     The California Sherman Food, Drug, and Cosmetic Law, Cal. Health &
17                      Safety Code §§ 109875, et seq.
18                                    PRAYER FOR RELIEF
19         413. Wherefore, plaintiffs, on behalf of themselves, all others similarly situated, and
20   the general public, pray for judgment against Post as to each and every cause of action, and
21   the following remedies:
22               a.     An Order certifying this as a class action, appointing plaintiffs and their
                        counsel to represent the class, and requiring Post to pay the cost of class
23
                        notice;
24
                 b.     An Order enjoining Post from labeling, advertising, or packaging the Post
25                      high-sugar cereals identified herein with the challenged health and
26                      wellness statements identified herein;

27               c.     An Order compelling Post to conduct a corrective advertising campaign
                        to inform the public that Post high-sugar cereals were deceptively
28
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 1                     marketed;
 2              d.     An Order enjoining Post’s longstanding policy, practice, and strategy of
 3                     marketing high-sugar cereals with misleading health and wellness claims;

 4              e.     An Order requiring Post to pay restitution to restore funds that may have
                       been acquired by means of any act or practice declared by this Court to be
 5
                       an unlawful, unfair, or fraudulent business act or practice, untrue or
 6                     misleading advertising, or a violation of the UCL, FAL, or CLRA,
 7              f.     Pre- and post-judgment interest;
 8
                g.     Costs, expenses, and reasonable attorneys’ fees; and
 9
                h.     Any other and further relief the Court deems necessary, just, or proper.
10
11                                       JURY DEMAND
12        414. Plaintiffs hereby demand a trial by jury on all issues so triable.
13
14   Dated: August 29, 2016         /s/ Jack Fitzgerald
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